EXHIBIT A

Corporate Organz'zational Chart

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT B

Collective Bargal'ning Agreements

Collective Bargain'mg Agreements

The Baltimore Suo Company

l. Agreement, dated as Ot`July 21, 2008, between The Baltirnore Sun Company and
the Washington-Baltimore Newspaper Guild

2. Agreement, dated as ofJanuary l, 2005, between The Baltirnore Sun Company
and the Baltimore Mailers' Union Local No. 888, Baltirnore, Maryland, affiliated with the
International Brotherhood of Teamsters

3. Agreement, dated as of April 21, 2006, by and between The Baltimore Sun
Company and the Graphics Comrnunications Conference of the International Brotherhood of
Tearnsters Local No. 582

4. Contract, dated as of May l, 2006, between The Baltimore Sun Company and the
Baltimore Newspaper Graphic Communications Union Local No. 31, a subordinate Union to the
Graphics Communications Conference of the International Brotherhood of Teamsters

5. Agreement, dated as of January l, 2008, between The Baltirnore Sun Company
and Truck Drivers, Helpers, Taxicab Drivers and Garage Employees and Airport Employees
Local Union No. 355 Baltimore, Maryland affiliated with the International Brotherhood of
Teamsters

Chicago Tribune Company

l, Agreement, dated as of October l, 2005, between the Chicago Tribune Company
and Progressive Lodge No. 126 ofthe lnternational Association of Machinists, AFL-CIO

2. Agreement, dated as of November, 2009, by and between the Chicago Tribune
Company and the Chicago Web Printing Pressmen's Union No. 7, a subordinate union of the
Graphics Communications lnternational Union

3. Agreement, dated as Of` September 18, 2008, between Chicago Tribune Company
and Newspaper, Magazine, Periodical Salesmen, Drivers, Pressrnen, Division Men, District
Managers, Checkers, Vendors, Handlers, and Electronic Media Workers Union Local No. 706
affiliated with I.B. ofT., C., W. and H. ofA.

KTLA, lnc.

1. Agreement, dated as of August l, 2007, between KTLA, Inc. and International
Alliance of Theatrical Stage Ernployees and Moving Picture Machine Operators of the United
States and Canada

2. Agreement, dated as of Septernber l, 2008, between American Federation of
Television and Radio Artists Los Angeles Loeal (AFTRA) and Television Station KTLA

3. Agreement, dated as of August l, 2004 between the Alliance of Motion Picture
and Television Producers, lnc. and International Brotherhood of Electrical Workers Local Union

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Los Angeles Times Communications LLC

l. Agreement, dated as of December l l, 2008, between Los Angeles Tirnes
Communications, LLC and Graphics Communications Conference, a subordinate of the
International Brotherhood of Tearnsters

The Morning Call, Inc.

l. Agreement, dated as of May 29, 2007, between The Morning Call and the
Graphic Comrnunications Conference of the International Brotherhood of Teamsters, Local 4C

WGN Contineutal Broadcasting Company

l. Agreement, dated as of April l, 2009, between Radio Station WGN and Radio
and Television Broadcast Engineers Local Union Nurnber 1220 of the International BrOtherhood
of Electrical Workers

2. Agreernent, dated as of July l, 2008, between WGN Television and Radio and
Television Broadcast Engineers Local Union Nurnber 1220 of the International Brotherhood of
Electrical Workers

2. Agreernent, dated as of July l, 2008, between WGN Television and Newswriters
Local Union Number 1220 of the lnternational Brotherhood of Electrical Workers

4. Agreement, dated as of April l, 2009, by and between the American Federation of
Television and Radio Artists ("AFTRA") and WGN-TV

5. Agreement, dated as of June l, 2008, between Television Station WGN and
Theatrical Stage Ernployees Union, Local No. 2 of Intemational Alliance of Theati‘ical Stage
Employees and Moving Picture Technicians, Artists and Allied Crafts of the United States and
Canada

6. Agreement, dated as of June 2, 2008, between WGN-TV and the International
Union ofOperating Engineers, Local 399, affiliated with A.F. of L. - C.I.O, and C.F. ofL.

Tribune Television Company

l. Agreement, dated as of January 1, 2010 by and between WPHL and Local Union
#98 of the International Brotherhood of Electrical Workers, AFL-CIO

WPIX, Inc.

l. Agreement, dated as of October 21 , 2005, between the Directors Guild of
Arnerica, Inc, and WPIX, lnc.

2. Agreernent, dated as of April 1, 2008, between WPlX, Inc. and Theatrical
Protective Union No. One, and the International Alliance of Theatrical Stage Employees and
Moving Picture Teehnicians, Artists and Allied Crafts of the United States, its Tern`tories and
Canada

3. Agreernent, dated as of Novernber 2005, between WPlX, lnc. and Local Union
1212 of the International Brotherhood of Electrical Workers, A,FL-CIO

4. Agreement, dated as of October 2005, between the American Federation of
Television and Radio Artists and WPlX, Inc,

5. Agreement, dated as of July 23, 2009, between the Newspaper Guild of New
York, a local (No. 31003) ofThe Newspaper Guild/C.W.A., (AFL-CIO) and WPlX, lnc.

EXHIBIT C

Exarniner 's Reporl

See Docket Nos. 5247, 5248, 5249, 5250, 5437, 5438, 5439, 5441,
5442, 5444, 5445, 5447, 5449, 5451, 5453, 5454, 5455, 5456,
5458, 5461, 5462, 5464, 5466, 5467, 5468, 5469, 5480 for a
complete copy of the Examiner’s Report

EXHIBIT D

Liquidation Analysis

TR|BUNE CO|\/lPANY AND |TS DEBTOR SUBS|D|AR|ES
L|QU|DAT|ON ANALYS|S

A. introduction

Under the ”best interests” of creditors test set forth in section 1129(a) (7) of the Bankruptcy Code, the
Bankruptcy Court may not confirm a plan of reorganization unless the plan provides each holder of a Claim
or |nterest who does not otherwise vote in favor of the plan with property of a value, as of the effective date
of the plan, that is not less than the amount that such holder would receive or retain if the debtor was
liquidated under chapter 7 of the Bankruptcy Code. Set forth herein is an analysis of the estimated
aggregate amount of liquidation proceeds available to holders of Claims against and |nterests in the Debtors
in a chapter 7 liquidation (the ”Liquidation Analysis" or ”Analysis”). The Liquidation Analysis is based upon
certain assumptions discussed in the General Disc|osure Statement, including Exhibit F thereto (Reorganized
Va|ue Analysis), and in the global notes accompanying the Liquidation Analysis (the ”Global Notes”).
Capitalized terms not defined in the Global Notes shall have the meanings ascribed to them in the General
Disc|osure Statement,

The Liquidation Analysis estimates potential cash distributions to holders of Allowed Claims and |nterests in
a hypothetical chapter 7 liquidation of the Debtors’ assets.l Asset values discussed in the Liquidation
Analysis may differ materially from reorganization or going concern values referred to in the Competing
Plans and the Joint Disc|osure Statement.

THE L|QU|DAT|ON ANALYS|S WAS PREPARED BY THE DEBTORS W|TH THE ASS|STANCE OF THE|R ADV|SORS.

PLEASE REV|EW EACH SPEC|F|C D|SCLOSURE STATE|V|ENT FOR |NFORMAT|ON CONCERN|NG THE
ALLOCAT|ON OF PROCEEDS TO HOLDERS OF Cl.A|l\/IS AGA|NST AND |NTERESTS |N THE DEBTORS UNDER A
PART|CULAR COMPET|NG PLAN AS WELL AS FOR lNFOR|\/‘|AT|ON CONCERN|NG HOW SUCH ALLOCAT|ONS
CO|\/lPARE TO RECOVER|ES THAT WOULD BE RECE|VED |N A CHAPTER 7 L|QU|DAT|ON.

B. Scope, lntent, and Purpose of Liquidation Analysis

The determination of the costs of, and hypothetical proceeds from, the liquidation of the Debtors’ assets is
an uncertain process involving the extensive use of estimates and assumptions that, although considered
reasonable by the Debtors based upon their business judgment and input from their advisors, are inherently
subject to significant business, economic, and competitive uncertainties and contingencies beyond the
control of the Debtors, their management, and their advisors. lnevitably, some assumptions in the
Liquidation Analysis would not materialize in an actual chapter 7 liquidation, and unanticipated events and
circumstances could affect the ultimate results in an actual chapter 7 liquidation, The Liquidation Analysis
was prepared for the sole purpose of generating a reasonable good-faith estimate of the proceeds that
would be generated if the Debtors’ assets were liquidated in accordance with chapter 7 of the Bankruptcy
Code. The Liquidation Analysis is not intended and should not be used for any other purpose. The underlying
financial information in the Liquidation Analysis was not compiled or examined by any independent
accountants. No independent appraisals were conducted in preparing the Liquidation Analysis. NE|THER THE
DEBTORS NOR THE|R ADV|SORS MAKE ANY REPRESENTAT|ON OR WARRANTY THAT THE ACTUAL RESULTS
WOULD OR WOULD NOT APPROX|l\/lATE THE ESTll\/lATES AND ASSUMPT|ONS REPRESENTED lN THE
LlQUlDAT|ON ANALYS|S. ACTUAL RESULTS COULD VARY MATER|ALLY.

 

1 ln the case of each Competing Plan, the term "/~\llowed" shall have the meaning ascribed to such term in the
Competing Plan.

l

ln preparing the Liquidation Analysis, the Debtors estimated Allowed Claims based upon a review of Claims
listed on the Debtors’ Schedules and Proofs of Claim Filed to date. ln addition, the Liquidation Analysis
includes estimates for Claims not currently asserted in the Chapter 11 Cases, but which could be asserted
and Allowed in a chapter 7 liquidation, including unpaid chapter 11 administrative expense Claims, and
chapter 7 administrative claims such as wind down costs, trustee fees, and tax liabilities. To date, the
Bankruptcy Court has not estimated or otherwise fixed the total amount of Allowed Claims used for
purposes of preparing this Liquidation Analysis. Therefore, the Debtors’ estimate of Allowed Claims set forth
in the Liquidation Analysis should not be relied on for any other purpose, including determining the value of
any distribution to be made on account of Allowed Claims and |nterests under the Competing Plans.
NOTH|NG CONTA|NED |N THE L|QU|DAT|ON ANALYS|S lS lNTENDED TO BE OR CONST|TUTES A CONCESS|ON
OR ADM|SS|ON OF THE DEBTORS. THE ACTUAL AMOUNT OF ALLOWED CLA||V|S |N THE CHAPTER 11 CASES
COULD l\/lATER|ALLY DlFFER FRO|\/‘l THE EST|MATED AMOUNTS SET FORTH lN THE LlQU|DAT|ON ANALYS|S.

Globa| Notes to Liguidation Analysis

1. Conversion Date and Appointment of a Chapter 7 Trustee

The Liquidation Analysis assumes conversion ofthe Debtors’ Chapter 11 Cases to chapter 7 liquidation cases
on December 31, 2010 (the ”Conversion Date"). On the Conversion Date, it is assumed that the Bankruptcy
Court would appoint a chapter 7 trustee (the "Trustee”) to oversee the liquidation of the Estates. ln
addition, it is assumed that all of Tribune’s direct or indirect non-debtor subsidiaries, excluding any foreign
subsidiaries would commence liquidation under chapter 7 on the Conversion Date, and the Debtors’
interests in various joint ventures and minority investments are assumed to be sold. Tribune Company, its
Debtor and non-Debtor direct and indirect subsidiaries are collectively referred to in the Liquidation Analysis
as the ”Tribune Entities”.

Except as noted herein, the Liquidation Analysis is based upon the unaudited balance sheets of the Tribune
Entities as of August 29, 2010 and those values, in total, are assumed to be representative of the Tribune
Entities' assets and liabilities at the Conversion Date.

2. individual Liquidations

The Liquidation Analysis assumes that the Debtors would be liquidated in a jointly administered, but not
substantively consolidated proceeding therefore the Liquidation Analysis considers an entity by entity
liquidation. The Analysis takes into account post~petition administrative priority Claims against any of the
Debtors held by another Debtor or a non-Debtor Affiliate (the ”Post-Petition lntercompany Claims”)z,
unsecured pre-petition Claims against any of the Debtors held by another Debtor or a non-Debtor Affiliate
(the ”Pre-Petition lntercompany Claims” and together with the Post-Petition lntercompany Claims, the
“lntercompany Claims"), and the equity interests of each parent - subsidiary relationship. ln an iterative
and sequential fashion, the Liquidation Analysis assumes that liquidation value is cycled among the Tribune
Entities to satisfy the lntercompany Claims and lnterests, which in turn adds to the liquidation value
available to satisfy third party Claims at each entity3. The results of the individual entity by entity analysis

 

2 Please refer to Note 18, below, for a further discussion of Post-Petition lntercompany Claims.
3 The value from liquidating the assets of each entity net of the costs of liquidation is used to pay out Post-Petition
lntercompany Claims resulting in an increase in value for those entities in a net receivable position and a decrease in
value for those entities in a net payable position. The resulting value (if any) is used to pay other administrative and
priority Claims, The residual value is allocated among the various unsecured Claims, including Pre-Petition
lntercompany Claims. Again, value flows to those entities in a net receivable position from those entities in a net
payable position Which results in more value to distribute among the entities other unsecured Claims. (See Notes to
lines 18, 19, 23, and 29 of the Liquidation Analysis for additional detail.)

2

have been incorporated into the results of Tribune Company, the combined subsidiaries (i.e. all 128 direct or
indirect subsidiaries and their interests), with consolidating adjustments, for a combined total liquidation
value (see Estirnated Liquidation Recoveries).

3. Liquidation I\/lethodology

The Tribune Entities are assumed to be liquidated either through a distressed sale on a going concern basis
or as part of a straight liquidation of the underlying assets depending on the best course for that entity:

0 Going Concern Disposition - Typically, upon conversion of a chapter 11 case to a chapter 7 case,
a business is shut down and ceases all operations. For (i) those Tribune Entities engaged in
broadcasting activities“, (ii) Tribune l\/|edia Servicess, and (iii) Forsalebyowner.com Corp., the
Liquidation Analysis assumes a sale of the business as a going concern in a "distressed sale".
The broadcast entities are assumed to be liquidated through a distressed sale rather than a
liquidation of the assets because the value of the broadcast licenses is most likely maximized by
keeping the stations operating during the sale process. Similar considerations exist for Tribune
l\/ledia Services and Forsalebyowner.com Corp, because both are service businesses with
minimal tangible assets.

The distressed sale process is assumed to be conducted over a six-month period to minimize the
disruptions to the operations of the businesses. While some entities may be sold in a shorter
timeframe, other entities may take longer, including the Debtors’ broadcast operations which
are subject to FCC regulation on the transfer of ownership. The Liquidation Analysis does not
take any FCC regulatory impediments into account. Due to a number of factors including (a) the
expedited nature of the sale process, (b) potential deterioration of the businesses during the
chapter 7 liquidation, (c) the ”as is" nature of the asset sales given the limited ability of the
Trustee to provide representations, warranties, and indemnifications, and (d) the number of
broadcast stations to be sold at a single time, management and their advisors believe that it is
appropriate to apply discounts of 15% (high recovery) to 30% (low recovery) to the assumed
going concern value of those entitiesG. lt is assumed that the buyer would acquire all assets of
the entity (excluding cash) and assume post-petition liabilities as well as key contracts. lt is
possible a buyer may seek to refrain from assuming all of the stations' broadcast rights contracts
or other liabilities resulting in additional Claims that would further reduce recoveries under a
chapter 7 liquidation,

lf the Debtors’ broadcast operations were shut down in their entirety, as may normally occur
upon conversion to chapter 7, the Debtors believe the liquidation recoveries on the broadcast
assets would be substantially lower than those reflected in the Liquidation Analysis.

~ Shut Down - The Liquidation Analysis assumes that all other Tribune Entities, including those
engaged in publishing activities, would cease operations immediately. l\/lost of their employees
would be severed and their assets liquidated piecemeal over a three to six month period.

 

4 The Tribune Entities engaged in broadcasting activities excludes inactive broadcast related legal entities which are
assumed to be liquidated

5 The Tribune Media Services (”TMS") business is comprised of Tribune l\/iedia Services, lnc., Tribune l\/ledia Services
B.V., TMS Entertainment Guides, lnc., TMS Entertainment Guides Canada Corp., Tribune Hong Kong Ltd', and Los
Angeles Times lnternational, Ltd.

6 The going concern value of these entities was determined by the Debtors’ investment banker as part of the valuation
analysis included as E)<hibit F to the General Disc|osure Statement.

3

The Gross Liquidation Proceeds assumed to be received as a result of the sale and liquidation of the assets
and operations of the Tribune Entities, as outlined above, less the Costs Associated with Liquidation as
detailed in Notes 10 to 15 below, is then used to satisfy the various Claims, including chapter 7 Claims,
chapter 11 administrative Expenses and Priority Non-Tax Claims, and pre-petition Claims. The Liquidation
Analysis assumes that the Trustee would resolve Claims and other matters involving the Debtors’ estates
and make distributions to creditors over an 18-month period,

4. Other Potential Recoveries and Other Potential Claims

The Liquidation Analysis does not consider recoveries from potential Claims arising from the Leveraged ESOP
Transactions described in Article Vl|.A ofthe General Disc|osure Statement. lt is assumed that the recoveries
from these claims would be substantially similar in either a reorganization or a liquidation and thus are not
included in this analysis.

Liquidation would likely result in additional Claims against the Estates, which unless specifically noted have
not been quantified. One example would be Claims related to the rejection of those executory contracts and
unexpired leases either not assumed by the buyer of those entities sold as a going concern or rejected as a
part of the liquidation of those entities whose operations are shut down upon conversion. These rejections
would create a larger number of unsecured Claims (and administrative priority Claims in the case of those
leases and contracts already assumed by the Debtors). These additional Claims would dilute any potential
recoveries to holders of other pre-petition unsecured Claims. No attempt has been made to estimate these
additional unsecured and/or administrative Claims that may occur in a chapter 7 liquidation,

Row ii

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Estimated Liquidation Recoveries

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

($ In 000'5) Tribune Company ($tand Alone) F L‘ ' * .=» (exdudes Tribune Company)
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Hook Va|ue Recovery Book Va|ue Recovery
Cash $ 386,941 $ 386,941 100.0% $ 386,941 100.0% $ 1,486,255 $ 1,486,255 100.0% $ 1,486,755 100.0%
Accounts Receivabie » - 5540% ~ 80.0% 213,095 117,200 55.0% 170,476 BD,O%
inventory ~ - 0.0% - 0.0% 20,769 10,385 50.0% 12,462 60.0%
Property, Plant & Equipment? 60,145 24,223 40.3% 37,446 62.3% 833, 138 268,791 ' 32,3% 365, 755 43.9%
GW & intangibles - ~ O.D% - 010% 40,638 - 0.0% ~ 0.0%
investments 17,557,008 83,475 U.O% 101,363 5.0% 7,745,491 1,217,825 15.7% 1,478,788 19.1%
C)ther Assets 170,904 - 0.0% 8,545 5,0% 24,831 - 0,0% 1,242 5.0%
Book Va|ue of Assets of Going Conoern 5a - - 0.0% ~ 0,0% 3,161/786 1,824,999 57.7% 2,216,070 70.1%
Gross liquidation proceeds $ 18,174,998 $ 494,639 2.7% $ 534,294 2.9% $ 13,526,003 $ 4,975,455 36.4% $ 5,731,048 42.4%
Less (Costs) Associated with quuidation
Professionai Fees (3,296) (4,029) (54,680) (67,493)
Taxes on Dispositions (64(264) (87,115) (764,189) (1,100,691)
Ch,7 Trustee (2, 154) (2,947) (68,784) (84,896)
Sa|e Period Frofit/(Loss) & Equity income - - 84,928 118,828
Wma Down com 11,116) (1,043) (1=,,335) (25,414)
Severance (14,277) (14,277) 151,121i 160,095
Totai Uqu|datlon Costs $ (85,107) $ (109,411) $ (979,181) $ (1,319,761i
Va|ue Befofe l/C & |nvestment Recovery $ 409,532 $ 424,884 $ 3,946,174 $ 4,411,287
Add Recoveries from l/C Reci & inv.
Admlr\ Priority i/C Receivables $ 716,611 $ 709,571 99.0% $ 710,695 99.2% $ 1,615,888 $ 1,613,439 99.8% $ 1,613,811 99.9%
l/C Receivab|es (Pre-Petltion) 4,030,389 129,051 3,2% 149,420 3.7% 26,439,391 94,123 0.4% 119, 223 0.5%
investments in Subsidlaries 17/526,159 36,515 0.2% 43,750 0.2% 9,037,102 17,177 0.2% 21,969 012%
Total Recoveries $ 22,273,158 $ 875, 137 $ 903,866 $ 374092,381 $ 1,724,744 $ 1,755,002
Va|ue Aftar Recoveries (Before Ch.11 Claims) $ 1,284,670 $ 1,328,750 $ 5,671,018 $ 6,166,289
i.ess Ch.ll Admln & Priority Claims (Pald)
Adm`ln Priority i/C Pavables (355,015) (555,015) 100,0% (85$,015) 100.0% (1,477,484) (1,467,995) 9914% (1,469,491) 99.5%
Admin Claims - Ch.ll Tr`ade & Other (132,029) (132,029) IOOD% (132,029) 100.0% (214,069) (182,816) 85.4% (195,267) 9142%
Admln Claims - Ch,ll Unpaid Prof Fees (21,000) (1,974) 9.4% (1,845) 8.8% (21,000) (19,025) BOiG% (19,155) 91.2%
Priority Ta>< claims (144,000) 113,539) 9.4% (12,651) a.s% (144,000) tiso,aei) 90.6% (131,349) 91,2%
Total Ch.].l Claims (Paldi $ (l, 152,045) $ (1,002,558) $ (1,001,541) $ (1,856,553) $ (1,800,298) $ (1,815,261)
Va|ue AfterCh.ll Admin & Priority Claims Pald $ 182,112 $ 327,209 $ 3,870,721 $ 4,351,027
Less Pre- Petition Claims (Paid) Est. Claim Est, Ciaim
|/C Claims $ (16,478,401) $ (157,973) 1.0% $ (183,384) 1,1% $ (13,9911379) $ (175,170) 143% $ (212,911) 1.5%
loint & Several Pension Termination C (560,600) (1,415) 0.3% (1,360) 0.2% (560,600) (559,185) 99.7% (559,240) 99.8%
senior mem (3,638.069) (82,310) 1.0% (96,131) 1.1% (8,739,017) (2,601,474) 29.6% (2,964,305) 33.7%
Bridge (1,619,507) (15,526) 1,0% (18,023) 1.1% (1,619,507) (479,360) 29.6% (546,309) 33,7%
sands (1,283,056) (12,300) 1,0% (14,279i 1,1% ~ ~ 0.0% ~ 0.0%
Other General Unsecured Claims (264,742) (2,538) 1.0% (2,946) 1,1% (120,000) (1,837) 145% (2,041) 147%
subordinated Debc (996,131) (9,550) 1.0% (11,086) 1.1% - - 0.0% ~ 0.0%
total Pre-Peuuon claims / (ciaims Pai s (29,340,556) $ (282,112) s (327,209) s (25,080,503\ $ (3,817,027) s (4,285,306\
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Eiiminations - Ad]ustments

Consoiidated Tribune & Subsldiarles

 

 

Cash

Accounts Receivabie

inventory

Property, Plant & Equipment:

GW& intangibles

investments

Other Assets

Book Vaiue of Assets of Going Concern Saie
Gross liquidation Proceeds

Less (Costs) Associated with liquidation
Professionai Fees
Taxes on Dispositions
Ch.7Trustee

Saie period Profit/ iLoss) & Equity income

Wind Down Costs
Severance
Towi Liquidation Costs

Vaiue Before i/C & investment Recovery

Add Recoveries from i/C Rec. & Inv.
Admln Priority i/C Receivabies
l/C Receivables (Pre-Petition)
investments in $ubsidiaries
Total Recoveries

Vaiue Af‘ter Recoveries (Before Ch.11 Ciaims)

Less Ch,ll Admln & Priority Claims (Faid)
Admln Priority i/C Payab|es
Admin Claims - Ch.11 Trade & Other
Admin Claims - Ch.11 Unpaid Prof Fees
Priority Tax Claims
Totai Ch.11 Claims (Paid)

Vaiue After Ch.11 Admln & Priority Claims P

Less pre- Petition Claims iPaid)
i/C Claims
Joint & Severai Pension Termination Ciai
Senior Debt
Bndge
Bonds
Other General Unsecured Claims
Subordinated Debt
Tota| Pre-Petition Claims /(Claims Pald)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Equity Vaiue

 

 

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213,095 117,200 55.0% 170,476 80.0%
20,769 10,385 50.0% 12,462 60.0%
893, 284 293,014 32,8% 403, 201 45'1%
40,638 - 0,0% - 0.0%
124,853,481) 449,017 1,301,300 289.8% 11580,150 351.9%
195, 735 - 0.0% 9,787 5.0%
(1,709, 780) 1,452,006 1,824,999 125. 7% 2, 216, 070 152.6%
$ (26,563,261) $ 5,137,740 $ 5,420,094 105.5% $ 6,265,342 1219%
157,976) 171,522)
(828,453) 11,187,805)
(70,938) 187,843)
84/928 118,828
126,451) (26,456)
(155,393) (174,372)
$ 11,064,288) $ il,429,171)
$ 4,355,806 $ 4,836,170
s 12,332,499) $ iz,sza,oioi $ (2,324,506) $ - $ - 0.0% s » 0.0%
(30,469,780) (223,180) (268,643) - - D,O% 0.0%
(26,563,261) (53,592) (65,719) - - oio% - 0.0%
$ (59,365,540) $ (2,599/882) $ 12,658,868) $ - $ - $ ~
$ 4,355,806 $ 4,836,170
$ 2,332,499 $ 2,323,010 $ 2,324,506 - - 0.0% - 0.0%
(346,098) (314,845) 91.0% 1327,296) 94,6%
121,000) (21,000) 100.0% 121,000) 100.0%
(144,000) 1144,000) 100.0% 1144,000) iooo%
$ 2,332,499 $ 2,323,010 $ 2,324,506 $ (511,098) $ (479,845) $ (492,296)
aid $ (Z76,871i $ (334,362) $ 3,875,961 $ 4,343,874
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$ 30,469,780 $ 333,143 $ 396,295 $ - $ ~ 010% $ - 0.0%
ms (560,600) (560,600) 100,0% (560,600) 100.0%
$ (596,312) $ (682,074) (8,789,017) (3,280,597) 3743% (3,743,009) 42.6%
$ 478,050 $ 54-4,788 (1,619,507) (16,836) 1.0% 119,544) 142%
$ 11,038) $ 11,205) (1,283,056) 113,338) 1.0% (15,484) 1.2%
$ 1214) $ 1249) (384,742) (4,589) 1.2% 15,236) 1.4%
$ 9,550 $ 11,086 (996,181) - o.o% - 0.0%
$ 30,469,780 $ 223,179 $ 268,642 $ (13,633,103) $ (3,875,961) $ (4,343,874)
153,693) 165,720) - -

 

5.

Note on Eliminations / Adjustments

The Eliminations / Adjustments column is used to show (a) the elimination of lntercompany Claim activity
and (b) the reallocation of value among pre-petition Claims due to contractual subordination.

($0005|

Eilmlnatioris/ Adjustments

Admln Priority i/C Recei'vab|es
l/C Receivables (Pre-Petltion)
investments in Subsidiaries
Totai Recoveries

Admln Priority i/C Claims
Totai Ch.11 Claims (Paid)

i/C Claims

Senior Debt

Bridge

Bonds

Other General Unsecured Claims
Subordinated Debt

Total Pre-Petitinn Ciaims/ (C|alms paid|

Totai Eiiminations / Adjustments

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Contractual Sudordinatlon
Tribune intercompany Er|dge Guarantee Subordlnated Debt
intercomean! Eilmination Subordlnation Subordina!ion Adjustment TOTAL
Book Vaiue $ Low$ High $ Low $ H§gh § tow Hng § Low High § Book Vaiue § Low $ Hi h

(2,332,499) (2,323,010) (2,324,506) (2,332,499) (2,323,010) (2,324,506)
(30,469,780) (223,180) (268,643) (30,469,780) (223,180) (2681643)
153 692) (65,719) - (53 692) (6$,719)

(32,302,219) (z,sss,ssz) izjsss,oss) iaz,soz 779) (z,ssa,ssz) (z,ssa,asa)
2332 499 2323 010 2,324,506 2332 499 2,323 010 2324 506
2,332,499 2 123 010 1,324,506 2,332,499 2,323,010 2,324,506
30,469/780 223,180 268,643 109,964 127,652 30,469,780 333,144 396,295
(109,964) (127,652) (479,360) (546,309) (s,saia) (8,112) ~ (596,312) (682,074)

479,360 546,309 (1,310) (1,521) 478,050 544,788

(1,038) (1,205) (1,038) (1,205)

(214) (249) (214) (249)

9550 11086 ~ 9550 11,086

30,469,780 223,180 268,643 - - 30,469,780 223,180 268,643
(53,693) (65,720) (53,693) (65,720)

 

 

The lntercompany Elimination nets the offsetting payable and receivable balances to zero for presentation
purposes to show a total combined liquidation analysis for all ofthe Tribune Entities.

The Contractual Subordination section details the following adjustments specified under the associated
credit agreements:

Any value that would be distributed to Guarantor Subsidiaries that are Debtors on the account
of lntercompany Claims against Tribune Company is redistributed to the holders of Claims
arising under the Guarantee Agreement, dated as of June 4, 2007, among Tribune, each of the
subsidiaries of Tribune listed on Annex l thereto, and JP l\/iorgan Chase Bank, N.A., as
administrative agent, as amended, restated, supplemented or otherwise modified from time to
time (the ”Senior Loan Guaranty Claims”);

Any value that would be distributed to the holders of Claims arising under the Guarantee
Agreement, dated as of December 20, 2007, among Tribune, each of the subsidiaries of Tribune
listed on Annex l thereto, and Wells Fargo Bank, N.A., as administrative agent, as amended,
restated, supplemented or otherwise modified from time to time (the "Bridge Loan Guaranty
Claims”) is redistributed to the Senior Loan Guaranty Claims; and

Any value that would be distributed to (i) the holders of the EGl-TRB LLC Notes on account of
Claims arising pursuant to the EGl-TRB LLC Notes (the “EGi-TRB LLC Notes Claims”) or (ii) holders
of Claims arising under or evidenced by the PHONES Notes indenture and related documents,
except any claim made by Wilmington Trust Company, as successor indenture trustee, for
reasonable compensation for services under the PHONES Notes indenture or for the
reimbursement of reasonable expenses, disbursements, and advances incurred or made by
Wilmington Trust Company in accordance with any provision of the PHONES Notes indenture
(the "Pi-|ONES Notes Claims”) is redistributed to the holders of (a) Claims arising under the
Senior Loan Agreement (other than accrued and unpaid amounts for the reasonable and
documented fees, costs and expenses of the Senior Lender Professionals incurred in connection
with the Chapter 11 Cases) and any Claim of the Senior Lenders or the Senior Loan Agent arising
under the Pledge Agreement (the "Senior Loan Claims"), (b) Claims arising under the Bridge
Loan Agreement (the "Bridge Loan Claims"), (c) Claims arising under or evidenced by the Senior

7

Notes lndentures and related documents and any Claim of the Senior Noteholders arising under
the Pledge Agreement (the "Noteholder Claims”), and (d) other general unsecured claims at
Tribune Company on a pro rata basis.

Notes to Specified Lines items of Liquidation Analysis

Asset Liquidation Vaiues

 

 

1. Cash - 100% recovery of projected available cash balances as of the Conversion Date. Cash recovery
excludes restricted cash related to (a) approximately 52 million in a segregated utility adequate
assurance account and (b) approximately $16.275 million collateralizing a letter of credit. Tribune
Company cash includes $368 million of cash as described in Exhibit F to the General Disc|osure
Statement.

2. Trade Accounts Receivable -The majority of the receivables consist of advertising trade receivables
They also include a smaller amount of single copy newspaper sales, home circulation, commercial
printing and delivery and other miscellaneous receivables. The Liquidation Analysis assumes an
estimated recovery range of between 55% and 80% of the net book value of accounts receivable
consistent with the assumptions that were used in the now expired DiP Facility for the calculation of
eligible trade accounts receivable.

3. inventory - inventories are comprised mainly of newsprint, ink and other supplies. Due to the costs
associated with transport and handling, and possible shrinkage, the Liquidation Analysis assumes a
recovery range of between 50% - 60% of net book value.

4. Property, Plant & Equipment includes the following:

$000$

Book Vaiue Low $ Low % High $ High %

Land & Buildings $ 433,569 $ 271,587 63% $ 360,346 83%

i\/lachinery & Equipment 428,543 21,427 5% 42,854 10%

Construction in Process 31,172 - Q% - Q%

Totai Property, Plant & Equipment $ 893,284 $ 293,014 §§% $ 403,201 Q§%

 

o Land, Buildings & Leasehoid improvements - The liquidation value for land and buildings is
based upon a review conducted by the Debtors’ management, which assumes a discount to
prior appraisal information based on (a) current market factors, (b) a forced liquidation ofempty
buildings in a six-month period, and (c) maintaining the property and removing equipment.

The majority of the liquidation value relates to properties held by Chicago Tribune Company
(including Tribune Tower in downtown Chicago and the Freedom Center printing and
distribution complex near downtown Chicago), Los Angeles Times Communications LLC
(including the Times i\/iirror Square office building, printing and distribution center in downtown
Los Angeles) and Tribune Company (two properties used for office, printing and distribution by
The Baltimore Sun Company). Leasehoid improvements are assumed to have no value.

0 Niachinery & Equipment - Primarily consists of printing presses and related equipment. Given
the over-capacity in the industry and the limited universe of potential buyers (who may exist in
other geographic areas & some of whom might be experiencing financial distress), it is likely that
these assets would not command significant value. Therefore the expected recovery range is 5%
- 10% of net book value.

o Construction in Progress - Primarily relates to software development and web width reduction
projects which are assumed to have no recovery value given the need for additional funding to
complete any outstanding projects.

Goodwiii & intangibles - As part of the Analysis, the Debtors’ investment banker surveyed the current
publishing marketplace for comparable transactions and was not able to find any recent transactions or
public comparables that would lend support to significant value for intangible publishing assets. in
addition, any goodwill is assumed to have no value.

investments - investments are assumed to be liquidated through a distressed sale at a 15% to 30%
discount to the going concern values determined in the valuation contained in Exhibit F to the General
Disc|osure Statement. The primary investments include Television Food Network, G.P. (31.3% held by
non-debtor Tribune (FN) Cable Ventures, |nc.), CareerBuilder, LLC (30.8% held by non-debtor Tribune
National l\/iarketing Company), Classified Ventures (27.8% ownership between Tribune Company and
non-debtor Tribune National i\/larketing Company), Legacy.com, |nc. (49.1% owned by Tribune
Company), and Chicago Baseball Holdings, LLC (5% held by Tribune Sports Network Holdings, LLC,
Tribune CNLBC, LLC, Tribune DQ, LLC, and Tribune WFPT, LLC).

Other Assets -lncludes prepaid, deposits, tax refunds receivable and other sundry assets which are
assumed to have minimal value in a liquidation,

Assets Sold as a Going Concern -The Liquidation Analysis separates out the book value of assets of
entities that are sold as a going concern. See Global Note #3 above for explanation of how the going
concern value was discounted to obtain the liquidation value. The following are the entities assumed to
be sold as going concerns under a distressed sale:

 

 

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Legal Entity Name Legal Entity Name
1 Chicago|and Television News, |nc. 14 l<SWB inc.
2 Oak Brook Productions, lnc. 15 Forsa|ebyowner.com Corp.
3 KlAH inc. 16 Forsa|ebyowner.com Referra| Services, LLC
4 KPLR, |nc. 17 Tribune Te|evision Company
5 KTLA inc. 18 Tribune Te|evision New Or|eans, |nc.
6 Channe| 40, |nc. 19 Tribune Teievision Holdings, lnc.
7 KWGN, lnc. 20 Tribune Television Northwest, lnc.
8 Tribune |\/iedia Services, |nc. 21 WDCW Broadcasting, inc.
9 Tribune l\/iedia Services B.V. 22 Tower Distribution Company
Tl\/iS Entertainment Guides, inc. 23 WGN Continenta| Broadcasting Company
T|\/iS Entertainment Guides Canada Corp 24 WPlX, inc.
Tribune Hong i<ong Ltd. 25 Channel 39, inc.
Tribune Broadcast Holdings, |nc, 26 Los Angeles Times |nternational, Ltd

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Costs Associated with Liquidation

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Professionai Fees - includes estimates for investment banking fees (1.0% of Gross Liquidation Proceeds,
excluding cash, from the sale of Going Concern Disposition entities and investments) real estate
brokerage fees (2.0% of net proceeds from property dispositions), and chapter 7 professional fees (0.6%
of Gross Liquidation proceeds excluding cash).

Taxes on Disposition - l\/ianagement and its advisors have estimated the taxes that would be paid on the
net gains on the disposition of the assets of the Tribune Entities, at an assumed tax rate of41%.

Chapter 7 Trustee Fees -Although section 326 of the Bankruptcy Code provides for statutory Trustee
fees of 3.0% for liquidation proceeds in excess of $1,000,000, the Liquidation Analysis assumes that the
Bankruptcy Court will only authorize Trustee fees of 2.0% of Gross Liquidation Proceeds excluding cash.
Should the Bankruptcy Court authorize Trustee fees in excess of 2.0%, the liquidation proceeds available
for distribution would be reduced

Saie Period Profit / (Loss) -For those Tribune Entities that are assumed to be sold as a going concern,
the Liquidation Analysis assumes that those entities will continue to operate during a six month sale
period Therefore the Liquidation Analysis includes an estimated Saie Period Profit / (Loss) equal to the
actual operating profit (excluding depreciation and amortization) for the six month period from January
through June 2010, discounted by 30% (High) to 50% (Low). The discount factors in reduced
performance and potential additional employee retention costs during a distressed sale.

Wind Down Costs -For those entities to be Shut Down, the Liquidation Analysis assumes that operations
would immediately cease upon filing of chapter 7, (e.g.; publishing entities would stop printing
newspapers), and the majority of the staff would be severed (see Note 15), with minimal staff remaining
to assist in the shutdown of operations and assist the chapter 7 Trustee in the wind down and sale of
individual assets.

Costs associated with the limited operation of corporate functions during the liquidation (including
finance, technology, human resource and property service centers) are allocated to all the Tribune
Entities on a pro rata basis, based upon Gross Liquidation Proceeds. These functions will support the
collection of accounts receivable, the termination of employees, the management of payroll
remittances, the ongoing operations of Tribune Entities to be sold, the maintenance and closing of
accounting records, the preparation of estate tax returns and the management of asset sales during the
liquidation period These costs assume that the current corporate and service center head count of
approximately 840 is immediately reduced to approximately 165 upon filing for chapter 7, and by the
end of the 6 month liquidation period has been reduced to 66 full time employees The Liquidation
Analysis assumes that employees retained beyond the start of the liquidation process are paid stay
bonuses equal to three months of their base salary.

Empioyee Severance Costs - Empioyee severance is based upon the Bankruptcy Court approved
severance policy. The Liquidation Analysis assumes that for any entity sold as a going concern, the
buyer(s) would offer employment to all current employees and therefore the estate would not incur any
severance related costs for these entities. Pursuant to the Bankruptcy Court approved severance policy,
the Analysis assumes lump sum payments without benefits continuation for all employees of entities
that are liquidated in certain instances there is insufficient value to satisfy the severance Claims in full
resulting in less than 100% recovery on these Claims.

Recoveries from intercompany Baiances and investments in Subsidiaries

11

18. Administrative Priority intercompany Receivables _These are net intercompany receivable and payable

balances that have arisen since the commencement of the Chapter 11 Cases.7 Per the Final 0rder (i)
Approving Cash i\/ianagement Systems, (|l) Authorizing Use of Pre Petition Bank Accounts and Business
Forms, and (iii) Granting Superpriority Expense Status to Post Petition intercompany Transactions (the
”Final Cash l\/ianagement 0rder”), these intercompany balances have super priority status and as such
are satisfied in advance of all other chapter 11 Claims, Also in accordance with the Final Cash
|\/ianagement 0rder, the administrative priority intercompany receivables & payables among Tribune
Company, Tribune Finance Service Center, lnc., and Tribune Publishing Company are consolidated

The Liquidation Analysis assumes that intercompany Claims are satisfied from the Va|ue After
Recoveries and each subsidiary receives value on account of its respective priority intercompany
receivables, which in turn is value used to satisfy priority intercompany payables.

19. Pre-Petition intercompany Receivables - Represents the total intercompany amounts owning among

the Tribune Entities at the time of the chapter 11 filings. Consistent with the treatment of such Claims
under the Final Cash i\/lanagement 0rder, Pre-Petition lntercompany Claims and payables among
Tribune Company, Tribune Finance Service Center, lnc., and Tribune Publishing Company are likewise
consolidated in accordance with the Final Cash i\/ianagement 0rder. The pre-petition intercompany
recoveries are adjusted in accordance with the contractual obligations under the various credit and
guarantee agreements (see Global Notes 2 & 5).

The Liquidation Analysis assumes all intercompany balances are valid at the amounts reflected in the
books and records of the Tribune Entities without giving effect to any potential challenges to their
validity.

20. investments in Subsidiaries -Represents the equity value in direct subsidiaries For most entities the

Claims exceed the value so there is no equity value to distribute to its parent.

Chapter 11 Administrative Claims

23. Administrative Priority lntercompany Claims (See Note 18 Above)

24. Chapter 11 Trade Claims -Administrative Claims arising from operation of the Debtors’ businesses post

petition and prior to the Conversion Date,8

25. Chapter 11 Unpaid Professionai Fees -Administrative Claims for unpaid professional fees as of the

Conversion Date are paid pro rata by all of the Debtors.

26. Priority Tax Claims -lncludes an estimated Allowed amount for existing tax Claims that would occur in

liquidation, Certain existing tax Claims are joint and several liabilities of all of the Debtors and the
estimated Allowed amounts are consistent with the assumptions with regard to resolving outstanding
tax disputes incorporated into the Debtors’ business plan. These Claims are assumed to be satisfied in
full pro rata across all of the Debtors.

 

7 For all Debtors, the lntercompany Priority Claims are the balances that have arisen since December 8, 2008, except
for Tribune CNLBC LLC, Where the balances have arisen since it filed for chapter 11 on October 12, 2009.

8

An estimate for 503(b)(9) Claims is not included as most 503(b)(9) Claims have already been satisfied pursuant to an

order of the Bankruptcy Court.

12

To the extent that there is insufficient value at a given subsidiary to satisfy its proportionate share of the
tax claim, the Liquidation Analysis assumes that value is used pro rata from other Tribune Entities to
satisfy the tax claim in full,

Pre-Petition Claims

After the deduction of chapter 11 administrative priority Claims, as outlined, the Net Liquidation Va|ue at
the Tribune Entities is allocated Pro Rata to the pre-petition unsecured Claims at each entity.

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Pre-Petition intercompany Claims (See Note 19 Above)

Joint and Severai Pension Termination Claims -The Liquidation Analysis assumes that the Tribune
Entities would terminate their various pension plans and therefore the Pension Benefit Guarantee
Corporation (”PBGC”) would have a claim for the unfunded portion of the pension plans This is a joint
and several liability among all entities and has been estimated with assistance from the Debtors’
actuarial consultants. lt does not include potential additional Claims related to any withdrawal from
multi-employer plans

Senior Debt -|ncludes the estimated Allowed amounts for the Senior Loan Claims and Senior Loan
Guaranty Claims. The Senior Loan Guaranty Claims include Claims asserted under that certain 1992 |SDA
|\/iaster Agreement, dated as of iuly 2, 2007, between Barclays Bank PLC and Tribune. The Senior Loan
Claims and the Senior Loan Guaranty Claims assume that all undrawn pre-petition letters of credit,
which primarily backstop the self insured portion of the Tribune Entities' workers compensation liability,
are drawn at the time of the liquidation,

Bridge Debt -|ncludes the Bridge Loan Claims and the Bridge Loan Guaranty Claims. As the Bridge Loan
Guaranty Claims are subordinated to the Senior Loan Guaranty Claims, the value initially recovered on
account of the Bridge Loan Guaranty is reallocated to the Senior Debt Claims (see Global Note 5).

Bond Debt - The Noteholder Claims are unsecured Claims at Tribune Company, pari-passu with the
Senior Debt and Bridge Debt Claims The Noteholder Claims are also beneficiaries of certain stock
pledges; however as there is no equity value in the related entities, these are not reflected in the
Liquidation Analysis

Other General Unsecured Claims - includes an estimate of Allowed Claims, including pre-petition trade
Claims Numerous Litigation Claims have been asserted against the Tribune Entities, which the Tribune
Entities generally do not believe have validity and are likely to be disallowed Accordingly these
Litigation Claims are not included in the estimate of General Unsecured Claims Other General
Unsecured Claims at Tribune includes Claims asserted under that certain 1992 |SDA |\/iaster Agreement,
dated as ofiuly 2, 2007, between Barclays Bank PLC and Tribune.

Subordinated Debt Claims - includes (i) the ”PHONES Notes (both the unredeemed notes at face value
and the unfunded redemptions at redemption value), and (ii) the “EGl-TRB LLC Notes" (see Global Note
5).

Equity Vaiue - To the extent that a legal entity has sufficient Va|ue After Chapter 11 Administrative and
Priority Claims and its Pre-Petition Claims have been repaid in full, the Liquidation Analyses assumes any
excess equity value is then available for its respective parent to repay Administrative and Pre-Petition
Claims (see Note 20). There is no equity value at Tribune Company.

13

EXHIBIT E

Financial Projectz'ons

The Financial Projections should be read in conjunction with the significant assumptions
qualifications and notes set forth below, as well as the assumptions qualifications and
explanations set forth in the General Disclosure Statement. §§ Article XII - Risks Related to
the Debtors’ Businesses.

THE DEBTORS DID NOT PREPARE THE FINANCIAL PROJECTIONS TO
COMPLY WITH THE GUIDELINES FOR PR()SPECTIVE STATEMENTS PUBLISHED BY
THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS AND THE
RULES AND REGULATIONS OF THE UNITED STATES SECURITIES AND EXCHANGE
COMl\/IISSION. THE DEBTORS’ INDEPENDENT AUDITORS HAVE NEITHER
EXAMINED NOR COMPILED THE FINANCIAL PROJECTIONS THAT ACCOMPANY
THE GENERAL DISCLOSURE STATEMENT AND, ACCORDINGLY, DO NOT EXPRESS
AN OPINION OR ANY OTHER FORM OF ASSURANCE WITH RESPECT TO THE
FINANCIAL PROJECTIONS, ASSUME NO RESPONSIBILITY FOR THE FINANCIAL
PROJECTIONS, AND DISCLAIM ANY ASSOCIATION WITH THE FINANCIAL
PROJECTIONS. EXCEPT FOR THE PURPOSES OF THE GENERAL DISCLOSURE
STATEMENT, THE DEBTORS DO NOT, AS A MATTER OF COURSE, PUBLISH, OR
OTHERWISE PUBLICLY DISCLOSE, FINANCIAL PROJECTIONS OF THEIR
ANTICIPATED FINANCIAL POSITION OR RESULTS OF OPERATIONS.

MOREOVER, THE FINANCIAL PROJECTIONS CONTAIN CERTAIN
STATEMENTS THAT ARE “FORWARD-LOOKING” WITHIN THE MEANING OF THE
PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995. THESE STATEMENTS
ARE SUBJECT TO A NUMBER OF ASSUMPTI()NS, RISKS AND UNCERTAINTIES,
MANY OF WHICH ARE BEYOND THE CONTROL OF THE DEBTORS, INCLUDING THE
IMPLEMENTATION OF A PLAN OF REORGANIZATION, THE CONTINUING
AVAILABILITY OF SUFFICIENT BORROWING CAPACITY OR OTHER FINANCING TO
FUND OPERATIONS, ACHIEVING OPERATING EFFICIENCIES, MAINTAINING GOOD
EMPLOYEE RELATIONS, EXISTING AND FUTURE GOVERNMENTAL REGULATIONS
AND ACTIONS OF GOVERNMENT BODIES, NATURAL DISASTERS AND UNUSUAL
WEATHER CONDITIONS, ACTS OF TERRORISM OR WAR, INDUSTRY-SPECIFIC RISK
FACTORS (AS DETAILED IN ARTICLE XII.B ()F THE GENERAL DISCLOSURE
STATEMENT ENTITLED “RISK RELATED TO THE DEBTORS’ BUSINESSES”), AND
OTHER MARKET AND COMPETITIVE CONDITIONS. HOLDERS OF CLAIMS AND
INTERESTS ARE CAUTIONED THAT THE FORWARD-LOOKING STATEMENTS
SPEAK AS OF THE DATE MADE AND ARE NOT GUARANTEES OF FUTURE
PERFORMANCE. ACTUAL RESULTS OR DEVELOPMENTS MAY DIFFER
l\/IATERIALLY FROM THE EXPECTATIONS EXPRESSED OR IMPLIED IN THE
FORWARD-L()OKING STATEMENTS, AND THE DEBTORS UNDERTAKE NO
OBLIGATION TO UPDATE ANY SUCH STATEMENTS,

THE FINANCIAL PROJECTIONS, WHILE PRESENTED WITH NUMERICAL
SPECIFICITY, ARE NECESSARILY BASED ON A VARIETY OF ESTIMATES AND
ASSUMPTIONS WHICH, THOUGH CONSIDERED REASONABLE BY THE DEBTORS
AND THEIR PROFESSIONALS, MAY NOT BE REALIZED AND ARE INHERENTLY
SUBJECT TO SIGNIFICANT BUSINESS, ECONOMIC, COMPETITIVE, INDUSTRY,

REGULATORY, MARKET AND FINANCIAL UNCERTAINTIES AND CONTINGENCIES,
MANY OF WHICH ARE BEYOND THE DEBTORS’ CONTROL AND WILL BE BEYOND
THE REORGANIZED DEBTORS’ CONTROL. THE DEBTORS CAUTION THAT NO
REPRESENTATIONS CAN BE MADE OR ARE MADE AS TO THE ACCURACY OF THE
FINANCIAL PROJECTIONS OR THE REORGANIZED DEBTORS’ ABILITY TO ACHIEVE
THE PROJECTED RESULTS. SOME ASSUMPTIONS INEVITABLY WILL BE
INACCURATE. MOREOVER, EVENTS AND CIRCUMSTANCES OCCURRING
SUBSEQUENT TO THE DATE ON WHICH THE DEBTORS PREPARED THESE
FINANCIAL PROJECTIONS MAY BE DIFFERENT FROM THOSE ASSUMED, OR,
ALTERNATIVELY MAY HAVE BEEN UNANTICIPATED, AND THUS THE
OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS lN A
MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. EXCEPT AS
OTHERWISE PROVIDED IN THE GENERAL DISCLOSURE STATEMENT, THE
DEBTORS AND REORGANIZED DEBTORS, AS APPLICABLE, DO NOT INTEND AND
UNDERTAKE NO OBLIGATION TO UPDATE OR OTHERWISE REVISE THE
FINANCIAL PROJECTIONS TO REFLECT EVENTS OR CIRCUMSTANCES EXISTING
OR ARISING AFTER THE DATE THE GENERAL DISCLOSURE STATEMENT lS
INITIALLY FILED OR TO REFLECT THE OCCURRENCE OF UNANTICIPATED
EVENTS. THEREFORE, THE FINANCIAL PROJECTIONS MAY NOT BE RELIED UPON
AS A GUARANTY OR OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL
OCCUR. IN DECIDING WHETHER TO VOTE TO ACCEPT OR REJECT A PARTICULAR
COMPETING PLAN, HOLDERS OF CLAIMS MUST MAKE THEIR OWN
DETERMINATIONS AS TO THE REASONABLENESS OF SUCH ASSUMPTIONS AND
THE RELIABILITY OF THE FINANCIAL PROJECTIONS AND SHOULD CONSULT
WITH THEIR OWN ADVISORS.

Accounrz'ng Polz`cies

The Financial Projections have been prepared using accounting policies that are generally
consistent with those applied in the Debtors’ historical financial statements.

Upon emergence from chapter l l, the Reorganized Debtors will implement “fresh start”
reporting pursuant to Statement of Position 90-7, “Financial Reporting by Entities in
Reorganization Under the Bankruptcy Code,” as codified in Accounting Standards Codification
(“M”) Topic 852, “Reorganization.” The main principles of fresh start reporting require that
the reorganization value of the emerging entity be allocated to all of the entity’s assets in
conformity with the procedures specified by Statement of Financial Accounting Standards
(“SFAS”) No. 141 R, “Business Combinations,” as codified in ASC Topic 805, “Business
Combinations” and any portion of the reorganization value that cannot be attributed to specific
tangible or identifiable intangible assets of the emerging entity is required to be reported as
goodwill.

Summary Osz'gnifz`canr Assumptions

The Debtors with the assistance of various professionals including their financial advisors
prepared the Financial Projections for the fiscal years 2010 to 2013. The Financial Projections

are based on a number of assumptions with respect to the future performance of the Reorganized
Debtors’ operations Although these Financial Projections have been prepared in good faith and
are believed to be reasonable, it is important to note that the Debtors can provide no assurance
that such assumptions will be realized Additionally, the Debtors are in the early stages of their
annual budgeting process for 2011. While the Debtors have utilized the latest information
available to prepare the Financial Projections, additional information could become available
during the budgeting process which could impact expected future performance As described in
detail in Article XII of the General Disclosure Statement, a variety of risk factors could affect the
Reorganized Debtors’ financial results and should be considered The Financial Projections
should be reviewed in conjunction with a review of these assumptions including the
qualifications and footnotes set forth herein.

General Assumprions

The Financial Projections assume that the Effective Date will be December 27, 2010 (start of the
Debtors’ 201 1 fiscal year) and that the Reorganized Debtors will continue to conduct operations
substantially similar to their businesses currently. In addition, the Financial Projections take into
account the current market environment in which the Debtors compete including many
economic and financial forces that are beyond the control of the Debtors and management, The
Debtors operate in the newspaper, broadcasting and interactive markets throughout the United
States Economic growth or slowdowns on a national or regional basis may impact the
Reorganized Debtors’ revenues and expenses In addition, general trends and changes within the
media industries may impact performance

Projected Statemenrs of Operations

The Debtors use cash operating expenses and operating cash flow in the Projected Consolidated
Statements of Operations as these are the metrics the Debtors use to evaluate internal
performance “Cash operating expenses” are defined as operating expenses before depreciation
and amortization, write-downs of intangible assets and properties stock-based compensation,
certain special items (including severance), non-operating items and reorganization items
“Operating cash flow” is defined as earnings before interest income, interest expense, equity
income and losses, depreciation and amortization, write-downs of intangible assets and
properties stock-based compensation, certain special items (including severance), non-operating
items and reorganization items “Adjusted operating cash flow” is defined as operating cash
flow plus cash distributions from equity investments Cash operating expenses operating cash
flow and adjusted operating cash flow are not measures of financial performance under
Generally Accepted Accounting Principles (“GAAP”) and should not be considered as a
substitute for measures of financial performance prepared in accordance with GAAP.

The Projected Consolidated Statements of Operations do not reflect potential impacts from the
implementation of fresh start accounting

Tribune Company and Subsidiaries
Projected Consolidated Statements of Operations

 

 

 

($ in millions) Pro Forma
2010 (a.) 2011 2012 2013
Revenues
Publishing
Advenemg $ 1,353 $ 1,256 $ 1,193 $ 1,133
Circulation 400 389 378 366
Other 343 345 345 345
Totai Publishing 2,096 1,990 1,915 1,844
Broadcasting 1,091 1,061 1,088 1,082
Totai Revenues 3,187 3,051 3,003 2,926

Cash Operating Expenses (b.)

 

 

 

 

 

Publishing 1,800 1,744 1,704 1,663
Broadcasting 720 728 747 752
Corporate 51 51 50 51
Totai Cash Operating Expenses 2,570 2,522 2,501 2,467
Operating Cash Fiow (b.)

Publishing 296 246 211 181
Broadcasting 371 3 33 341 330
Corporate (51) (51) (50) (51)
Totai Operating Cash Flow 617 529 502 460
Depreciation and amortization 185 159 163 165
Operating Profit (b.) 432 370 339 295
income on equity investments net 171 153 168 184
lnterest income 1 3 1 11
interest expense (81) (80) (79) (82)
Income Before Income Taxes 522 446 430 407
Income taxes (214) (183) (176) (167)
Net Income (b.) $ 308 $ 263 $ 254 $ 240

 

Adjusted Operating Cash Fiow (b.)

 

 

Operating Cash Flow $ 617 $ 529 $ 502 $ 460
Cash distnbutions &om equity investments 109 79 92 133
Adjusted Operating Cash Flow $ 725 $ 608 $ 595 $ 592

 

Note: ihe Projected Consolidated Statements of()perations do not reliect potential impacts from the
implementation of fresh start accounting

(a.) Pro forum 2010 was prepared to present the anticipated impact of a plan of reorganization as if the
consumation ofsuch plan had occurred at the beginning ofiiscal year 2010.

(b.) Excludes stock-based compensation, certain special itenB (including severance), non-operating items
and reorganization items

Tribune Company and Subsidiaries
Projected Pro Forma Consolidated Balance Sheet ~ December 27, 2010

 

 

 

 

 

 

 

 

 

 

 

 

 

Estimated
/$ in mi//i`ons) Pre-Ei’i`ective Reorganization Fresh Start Pro Forma
Date Adjustments Adjustments Reorganized
Assets
Current Assets
Cash and cash equivalents 5 1,147 $ (822) (a.) $ - $ 325
Accounis receivable net 510 - - 510
inventories 22 - - 22
Broadcast rights 180 - - 1 80
Prepaid experses and other 199 - - 199
Totai curnent assets 2,057 (822) - 1,235
Property, plant and equipment, net 1,033 - - 1,033
Other Assets
Broadcast rights 151 - - 1 51
Goodwiii and other intangible assets net 791 - 2,545 ('L) 3,336
Restncted cznsh 726 (726) (a.) - -
investments 538 - 1,299 (j.) 1,837
Other 86 20 (b,) - 106
Totai other assets 2,292 (706) 3,844 5,43()
Totai assets $ 5,382 $ (1,528) $ 3,844 $ 7,698
liabilities and Shareholdets' Equity (Deiicit)
Current Liabiiities
Cunem portion ofnew senior secuned tenn loan $ - $ ll (c.) $ - $ 1 1
Capital lease obligatiors 2 - - 2
Commcts payable for bmadcasi ngias 128 59 (d.) - 187
Deferrcd income 71 - - 71
Accounts payable accrued experses and other current liabilities 371 (38) (d.) ~ 333
Totai current liabilities 572 32 - 604
Long-Term Debt (iess portions due within one year)
New senior secured term ban ~ 1 ,089 (c.) - 1 ,089
Capital lease obligater 8 - - 8
Totai long-term debt 8 1,089 - 1,097
Other Non-Cun‘e nt Liabiiities
Defeni:d income taxes 49 529 (e.) 533 (k.) 1,1 1 1
Contracts payable for broadcast rights 69 102 (d) - 171
Pemion obligations net 181 - - 181
Other obligations 151 83 (d.) - 234
Totai other non-current liabilities 450 714 533 1,697
liabilities Subject to Compromise 13,149 (13,149) (f) - v
Common Shares Heid by ESOP, net of Uneamed Compensation 22 ('22) (g) - -
Sharehoiders' Equjty (Deiicit) (8,819) 9,807 (h.) 3,312 (1.) 4,300
Totai liabilities and sharehokiers’ equ`ty (deficit) $ 5,382 $ (1,528) $ 3,844 $ 7,698

 

Notes to Projected Pro Forma Consolidated Balance Sheet

The pro forma balance sheet adjustments contained herein account for (i) the reorganization and
estimated related adjustments pursuant to a plan of reorganization and (ii) the estimated impact
from the implementation of fresh start accounting pursuant to ASC Topic 852, “Reorganization.”

The Debtors have not yet completed their fresh start reporting analysis However, for purposes
of preliminary fresh start reporting, the Financial Projections incorporate estimates of the effect
of fresh start reporting which are based upon an estimated Equity Vaiue of approximately $4.3
billion. The reorganized value ultimately used by the Debtors in implementing fresh start
reporting may differ from this estimate. Likewise, the Debtors’ allocation of the reorganized
value to individual assets and liabilities is based upon preliminary estimates that are subject to
change upon the formal implementation of fresh start reporting and could result in material
differences to the allocated values included in these Financial Projections. For purposes of
estimating the impact of fresh start accounting, the Debtors’ have assumed that the book value of
ali of their assets except for goodwill and other intangible assets and investments approximates
fair market value. Investments are adjusted to estimated market value and the balance of
reorganization value in excess of liabilities and tangible assets is shown as an increase in
goodwill and other intangible assets.

(a.) Retlects estimated cash distributions in accordance with the terms of a plan of reorganization,
including estimated administrative and priority claims paid in connection with emergence.

(b.)Reflects a delayed draw term loan of 320 million to fund a litigation trust assumed to be
funded at emergence

(c.) Represents the current and long-term portions of a new senior secured term loan that is
assumed to be issued pursuant to a plan of reorganization, which is assumed to be in an
aggregate principal amount of$ l.l billion.

(d.)Represents the reclassification of amounts previously included in liabilities subject to
compromise that the Company anticipates will be assumed in accordance with the terms of a
plan of reorganization

(e.) Prior to the bankruptcy restructuring, the Company was a subchapter S corporation and
nearly all of its subsidiaries were qualified subchapter S subsidiaries under the Internal
Revenue Code. Subject to certain limitations as an S corporation, the Company was not
subject to federal income taxes. As a result of the bankruptcy restructuring, the Company
will no longer qualify for S corporation status, and accordingly will record federal and state
deferred income taxes on all estimated book versus tax basis differences The deferred
income tax adjustment primarily relates to deferred tax liabilities that resulted from the
contribution of assets to the Chicago Baseball Holdings, LLC and Newsday Holdings, LLC
partnerships

(f) All liabilities subject to compromise will be settled in accordance with the terms of a plan of
reorganization

(g.)The ESOP is assumed to be terminated in accordance with the terms of a plan of
reorganization.

(h.)Represents the net gain from completion of the reorganization

(i.) The book value of goodwill and other intangible assets will increase as part of the
implementation of fresh start accounting

(j.) Represents an adjustment to reflect investments at estimated fair value.

(k.)Represents an adjustment to record deferred income taxes on the fresh start accounting
adjustment to record investments at estimated fair value.

(l.) Adjustment to reflect the value for the new equity of the Reorganized Debtors.

Tribune Company and Subsidiaries
Projected Consolidated Balance Sheets

 

 

 

 

 

 

 

 

 

 

 

 

 

($ in millions) 2011 2012 2013
Assets
Current Assets
C ash and cash equivalents $ 582 718 865
Accounts receivable, net 497 491 479
lnventories 20 1 9 18
Broadcast rights 190 179 190
Prepaid expenses and other 133 135 98
Totai current assets 1,423 1,541 1,650
Property, plant and equipment, net 973 908 843
Other Assets
Broadcast rights 145 80 87
Goodwiii and other intangible assets, net 3,322 3,309 3,294
Investments 1,911 1,987 2,03 8
Other 106 106 106
Totai other assets 5,485 5,482 5,525
Totai assets $ 7,880 7,932 8,018
Liabilities and Sharehoiders' Equity
Current Liabilities
Current portion of new senior secured term loan $ 1 1 1 1 1 l
Capitai lease obligations 2 2 2
Contracts payable for broadcast rights 191 175 229
Deferred income 71 71 71
Accounts payable, accrued expenses and other current liabilities 322 309 292
Totai current liabilities 597 569 605
Long-Term Debt (iess portions due within one year)
New senior secured term loan 1,078 1,067 1,056
Capital lease obligations 5 3 3
Totai long-term debt 1,083 1,070 1,059
Other Non-Current liabilities
Deferred income taxes 1,106 1,121 1,117
Contracts payable for broadcast rights 163 101 63
Pension obligations, net 184 126 59
Other obligations 190 140 77
Totai other non-current liabilities 1,643 1,488 1,316
Sharehoiders' Equity 4,557 4,804 5,038
Totai liabilities and shareholders equity $ 7,880 7,932 8,018

 

Tribune Company and Subsidiaries
Projected Consolidated Statements of Cash Flows

($ in millions)

 

 

 

 

 

 

 

 

2011 2012 20 13

Ope rating Activitie s
Net income $ 263 $ 254 $ 240
Depreciation and amortization 159 163 165
Incorne on equity investments net (153) (168) (184)
Distnbutions from equity investments 79 92 13 3
Pension costs, net of contributions 3 (58) (68)
Changes in working capital items

Accounts receivable 12 7 12

inventories, prepaid expenses and other current assets 68 (1) 38

Accounts payable, accrued expenses and other current liabilities (11) (12) (18)
Change in broadcast rights, net of liabilities (9) (1) (3)
Deferred income taxes (5) 15 (4)
Other obligations (44) (50) (63)
Other (6) (6) (6)
Net cash provided by operating activities 356 234 243
Investng Activities
Capitai expenditures (85) (85) (8 5)
Cash used for investing activities (85) (85) (85)
Financing Activities
Repayments of new senior secured term loan (1 1) (1 1) (1 1)
Payments on capital leases (2) (2) (0)
Cash used for financing activities (13) (13) (1 1)
Net Increase in Cash 257 136 147
Cash1 beginning ofpen`od 325 582 718
Cash, end ofyear $ 582 $ 718 8 865

 

Summarjy of Signifz`cant Assumprions
Revenues

The Financial Projections assume that total consolidated revenue is flat in 2010 and declines 4%
in 2011, 2% in 2012 and 3% in 2013.

Publishing

The Company assumes there will be continued industry-wide pressure on both advertising and
circulation revenue throughout the projection period resulting in total revenue declines of 7% in
2010, 5% in 2011, and 4% in both 2012 and 2013. Totai advertising revenue is expected to
decline 9% in 2010, 7% in 201 1 and 5% in both 2012 and 2013 driven by the continued pressure
in all categories of print advertising Circulation revenue is expected to decline 5% in 2010 and
3% in 2011, 2012 and 2013. Other revenue is forecasted to increase 1% in both 2010 and 2011
and to be flat in 2012 and 2013. Other revenue primarily includes the operations of TMS and
third~party commercial printing and delivery operations

Broadcasting

Based in part on recent trends and industry estimates the Company assumes broadcasting
revenue increases 16% in 2010, declines 3% in 201 l, increases 3% in 2012 and declines l% in
2013. Television station revenue is projected to increase 16% in 2010, decline 4% in 201 1,
increase 1% in 2012 and decline 2% in 2013. This variability is primarily due to the year-to-year
swings in political television advertising Cable television revenue, primarily from WGN
America, is expected to increase 21% in 2010, 3% in 2011, 10% in 2012, and 7% in 2013 driven
by enhanced programming Radio revenue is forecasted to decline 1% in 2010, increase 1% in
both 2012 and 2013 and be flat in 2013.

Operating Expenses

The Financial Projections assume that total consolidated cash operating expenses decline 4% in
2010, 2% in 2011 and 1% in both 2012 and 2013.

Publishing

The Financial Projections assume that total Publishing expenses decline 6% in 2010, 3% in 201 1
and 2% in both 2012 and 2013 in conjunction with the forecasted decline in revenue

All categories of expenses are projected to decline with the most significant percentage decline
being in newsprint and ink expense Newsprint and ink expense is projected to decline 17% in
2010, 1% in 2011, 4% in 2012 and 6% in 2013 primarily driven by lower projected newsprint
consumption, partially offset by continued newsprint price increases The Financial Projections
assume modest declines in compensation expense as a result of realizing increased efficiencies in
operations

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Other cash expenses are expected to decline 7% in 2010, 4% in 2011, and 3% in both 2012 and
2013, driven by, among other items, decreases in distribution costs.

Broadcasting

The Financial Projections assume that total Broadcasting cash operating expenses increase 1% in
both 2010 and 2011, 3% in 2012 and 1% in 2013 due to higher programming expense and
inflationary compensation increases

Co@orate

The Financial Projections assume that total Corporate expenses decline 15% in 2010 and 1% in
both 2011 and 2012 followed by an increase of 2% in 2013. The significant decline in expense
for 2010 is primarily due to one-time incentive plan compensation expense recorded in 2009.

Depreciation and Amortization

Depreciation and amortization was estimated based on current book values and useful lives for
existing property, plant and equipment and intangible assets subject to amortization, and includes
estimated depreciation on future capital expenditures

Income on Equitv Investments Net

Income on equity investments is expected to be in line with recent trends and is based on
information provided from the companies in which the Debtors hold equity investments

Interest Expense

The Financial Projections include interest expense and fees associated with both an exit facility
and a new senior secured term loan, which are assumed to be entered into by the Reorganized
Debtors in connection with a plan of reorganization The exit facility is assumed to be an
aggregate revolving commitment amount of up to $3 00 million including a letter of credit sub-
facility of up to 5100 million The exit facility is assumed to be undrawn at emergence, but the
sub-facility is assumed to have letters of credit issued. The new senior Secured term loan is
assumed to be in an aggregate principal amount of $1.1 billion and is assumed to be amortized at
a rate of 1% per annum.

The Financial Proj ections assume the Reorganized Debtors will incur interest expense of 380
million in 201 1, $79 million in 2012 and 382 million in 2013. These projections reflect interest
expense incurred related to borrowings under the facilities described above and based on terms
that reflect the current interest rate and market conditions and do not assume any interest rate
hedging during the Financial Projection Period. The effective interest rate on the new senior
secured term loan is assumed to be 6.75% in both 2011 and 2012 and 7.2% in 2013.

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lncome Taxes

The Financial Projections reflect income tax expense at an effective tax rate of 41 %.
Projected Statements OfCash Flows

Distributions from Equitv Investments

The Financial Projections only assume continued distributions from the Company’s investment
in TV Food Network, On August 27, 2010, Scripps Networks, LLC contributed the equity of
Cooking Channel, LLC, the entity which operates the Cooking Channel, to TV Food Network.
The Financial Projections assume that the Debtors’ wholly owned subsidiary Tribune (FN) Cable
Ventures, Inc. maintains its current ownership interest in TV Food Network through making a
capital contribution in 2010 of approximately $53 million, resulting in Tribune (FN) Cable
Ventures, lnc. receiving lower excess cash distributions until disparities in the capital accounts of
the partners are fully accounted for.

Pension Costs, Net of Contributions

The Financial Projections assume the Reorganized Debtors make cash contributions to their
defined benefit pension plans during the Financial Projection Period. The Debtors have
estimated these payments based on the work of the Debtors’ actuary and current interest rate and
market conditions

Working Capital

The Financial Projections assume the Reorganized Debtors’ working capital accounts including
accounts receivables, inventories, prepaid expenses and accounts payables, continue to perform
according to the historical relationships with respect to revenue and expense activity.

Other Obligations

The Financial Projections assume certain payments related to estimated Allowed Priority Tax
Claims from emergence through 2013.

Capital Expenditures

The Financial Projections assume annual capital expenditures of 385 million in 2011 through
2013 based on the Debtors’ recent levels of capital spending adjusted downward to reflect
completion of web width reduction projects and digital television conversions

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EXHIBIT F

Reorganized Vaiue Analysis

B. Reorganization Value.

The Debtors’ investment banker and financial adviser, Lazard, has undertaken a valuation analysis
to (i) determine the value available for distribution to holders of Allowed Claims pursuant to a plan of
reorganization for the Debtors and any of Tribune’s subsidiaries for which commencement of chapter l l
cases becomes necessary or appropriate (the “Blap_”) and (ii) analyze the relative recoveries to such
holders thereunder.] The valuation analysis set forth herein supersedes Lazard’s valuation analysis
included in the Tribune Disclosure Statement.

l . Overview.

Lazard has estimated the value of the Reorganized Debtors as of December 27, 2010. Lazard has
undertaken this valuation analysis to determine the value available for distribution to holders of Allowed
Claims pursuant to a Plan and to analyze the relative recoveries to such holders thereunder.2 The
estimated total value available for distribution to holders of Allowed Claims, exclusive of Allowed Claims
held by Tribune and by direct or indirect subsidiaries of Tribune (the “Distributable Value”) was derived
based on (i) a sum»of-the-parts approach of the estimated value of the Reorganized Debtors’ publishing,
broadcasting and corporate operations on a going concern basis (the “Enterprise Value”), plus (ii) the
estimated cash balance at the Assumed Effective Date, and (iii) the value of minority equity investments
(the “Other Assets”). The valuation analysis assumes that the Effective Date is December 27, 2010 (the
“Assurned Effective Date”) and is based on projections developed and provided by the Debtors’
management (“Pro]`ections”) for 2010-2015 (the “Projection Perio ”).

Based on these Projections and solely for purposes of analyzing the value available for
distribution pursuant to a Plan, Lazard estimates that the Enterprise Value of the Reorganized Debtors
falls within a range from approximately $2.9 to $3.5 billion, with an approximate mid-point estimate of
$3.2 billion as of the Assumed Effective Date, Adding the value of the Other Assets of approximately
31.7 to $2.0 billion (with an approximate mid-point value of$l.9 billion) and the estimated cash balance
at the Assumed Effective Date of approximately $1.7 billion to the Enterprise Value range yields a range
ofDistributable Value for the Reorganized Debtors from $6.3 billion to 357.1 billion with an approximate
mid-point of $6.75 billion Approximately $564 million of the $6.75 billion estimate of Distributable
Value is attributable to the value of Tribune, representing the Distributable Value to be allocated to
Holders of Allowed Claims against Tribune,3 The $6.75 billion estimate of Distributable Value also
includes approximately $1.7 billion attributable to the value of the following subsidiaries of Tribune:
Tribune (FN) Cable Ventures, Inc.; Tribune Interactive, Inc.; Tribune ND, Inc.; and Tribune National
Marketing Company,

Based on total estimated gross debt of §§ l .l billion projected as ofthe Assumed Effective Date,
Lazard’s mid-point estimate of Distributable Value reduced by approximately $1 .4 billion of cash, assumed
to be distributed pursuant to a Plan implies a value for the new equity of the Reorganized Debtors (the
“Eguity Value”) of approximately $4.3 billion

 

l ln the case of each Competing Plan, the term “Allowed” shall have the meaning ascribed to such term in the
Competing Plan

2 The estimated value ofthe Reorganized Debtors includes the value ofthe Debtors’ wholly~owned subsidiaries as
well as the value of minority equity interests held by the Debtors and their subsidiaries The Debtors’ minority
equity interests are generally described in Section lo] ofthis General Disclosure Statement.

§ The estimate of Distributable Value attributable to Tribune includes the recovery by Tribune of approximately
5369 million transferred to certain of Tribune’s subsidiaries just prior to the Petition Date and gives effect to the
Debtors’ proposed settlement of intercompany claims

THE ENTERPRISE VALUE RANGE, AS OF THE ASSUMED EFFECTIVE DATE,
REFLECTS WORK PERFORMED BY LAZARD ON THE BASIS OF INFORMATION AVAILABLE
TO LAZARD AS OF THE DATE OF THIS GENERAL DISCLOSURE STATEMENT.
ALTHOUGH SUBSEQUENT DEVELOPMENTS MAY AFFECT LAZARD’S CONCLUSIONS,
NEITHER LAZARD NOR ANY OF THE DEBTORS HAS ANY OBLIGATION TO UPDATE,
REVISE OR REAFFIRM ITS ESTIMATES.

Lazard assumed that the Projections were reasonably prepared in good faith and on a basis
reflecting the Debtors’ most accurate currently available estimates and judgments as to the future operating
and financial performance of the Reorganized Debtors. Lazard’s estimated Enterprise Value range
assumes the Reorganized Debtors will achieve their Projections in all material respects, including revenue
EBITDA margins, earnings and cash flow as projected If the business performs at levels below those
set forth in the Projections, such performance may have a materially negative impact on the Enterprise
Value Conversely, if the business performs at levels above those set forth in the Projections, such
performance may have a materially positive impact on the Enterprise Value.

In estimating the range of Enterprise Value and the Equity Value of the Reorganized Debtors,
Lazard: (i) reviewed certain historical financial information of the Debtors for recent years and interim
periods; (ii) reviewed certain internal financial and operating data of the Debtors, which data were
prepared and provided to Lazard by the Debtors’ management and which relate to the Reorganized
Debtors’ business and its prospects; (iii) met with and discussed the Debtors’ operations and future
prospects with the Debtors’ senior management team; (iv) reviewed certain publicly available financial
data for, and considered the market value of, public companies that Lazard deemed generally comparable to
the operating business of the Reorganized Debtors; (v) considered certain economic and industry information
relevant to the operating business; and (vi) conducted such other studies, analyses, inquiries and
investigations as it deemed appropriate Although Lazard conducted a review and analysis of the
Reorganized Debtors’ business, operating assets and liabilities and the Reorganized Debtors’ business plan, it
assumed and relied on the accuracy and completeness of all financial and other information furnished to it
by the Debtors’ management as well as publicly available information

In addition, Lazard did not independently verify the Projections in connection with preparing the
estimated Enterprise Value range, and no independent valuations or appraisals of the Debtors were
sought or obtained in connection herewith. The estimated Enterprise Value range was developed solely
for purposes of the formulation and negotiation of a Plan and the analysis of implied relative recoveries
to Holders of Allowed Claims thereunder

Lazard has not been asked to and does not express any view as to what the trading value of the
Reorganized Debtors’ securities would be when issued pursuant to a Plan or the prices at which they may
trade in the future The estimated Enterprise Value range of the Reorganized Debtors set forth herein does
not constitute an opinion as to fairness from a financial point of view to any person of the consideration to
be received by such person under a Plan or of the terms and provisions of a Plan

Lazard’s estimate of Enterprise Value reflects the application of standard valuation techniques and
does not purport to reflect or constitute appraisals, liquidation values or estimates of the actual market
value that may be realized through the sale of any securities to be issued pursuant to a Plan, which may
be significantly different than the amounts set forth herein The value of an operating business is subject
to numerous uncertainties and contingencies which are difficult to predict and will fluctuate with
changes in factors affecting the financial condition and prospects of such a business As a result, the
estimated Enterprise Value range of the Reorganized Debtors set forth herein is not necessarily
indicative of actual outcomes, which may be significantly more or less favorable than those set forth

herein None of the Debtors, Reorganized Debtors, Lazard, nor any other person assumes responsibility
for any differences between the estimated Enterprise Value range and such actual outcomes Actual market
prices of such securities at issuance will depend upon, among other things, the operating performance of
the Reorganized Debtors, prevailing interest rates, conditions in the financial markets, the anticipated
holding period of securities received by Holders of Claims (some of whom may prefer to liquidate their
investment rather than hold it on a long-term basis), developments in the Reorganized Debtors’ industry and
economic conditions generally, and other factors which generally influence the prices of securities

2. Valuation Methodology.

The following is a brief summary of certain financial analyses performed by Lazard to arrive at
its range of estimated Distributable Value for the Reorganized Debtors. In performing the financial
analyses described below and certain other relevant procedures Lazard reviewed all significant
assumptions with the Debtors’ management Lazard’s valuation analysis must be considered as a whole.
Reliance on only one of the methodologies used or portions ofthe analysis performed could create a
misleading or incomplete conclusion as to Enterprise Value

Under the sum-of-the-parts approach and the valuation methodologies summarized below, Lazard
derived a range of estimated Distributable Value based on valuation estimates for each of the Reorganized
Debtors’ publishing operations (principally newspaper businesses plus Tribune Media Services),
broadcasting operations (television, cable and radio businesses), corporate operations and Other Assets
(principally minority equity investments in TV Food Network, CareerBuilder and Classified Ventures).
Lazard has assumed that the Reorganized Debtors will be subject to federal and state corporate income
taxation

a. Comparable Company Analysis

The comparable company valuation analysis estimates the value ofa company based on a
relative comparison with other publicly traded companies with similar operating and financial characteristics
Under this methodology, the enterprise value for each selected public company was determined by
examining the trading prices for the equity securities of such company in the public markets and adding
the aggregate amount of outstanding net debt for such company (Lazard considered debt at book value
and at current market values but relied primarily on book value given current trading levels), and
subsequently adding minority interests, and subtracting unconsolidated investments Those enterprise
values are commonly expressed as multiples of various measures of operating statistics, most
commonly sales and earnings before interest, taxes, depreciation and amortization (“EBITDA”). In
addition, each of the selected public company’s operating performance operating margins,
profitability, leverage and business trends were examined Based on these analyses financial multiples
and ratios were calculated to apply to the Reorganized Debtors’ actual and projected operating
performance Lazard focused primarily on EBITDA multiples of the selected comparable companies to
value the Reorganized Debtors but also gave consideration to multiples derived by measuring enterprise
value against revenue

A key factor to this approach is the selection of companies With relatively similar business and
operational characteristics to the Reorganized Debtors. Common criteria for selecting comparable
companies for the analysis include, among other relevant characteristics similar lines ofbusiness,
business risks, growth prospects maturity of business, location, market presence and size and scale of
operations Lazard selected comparable companies in both the publishing and broadcasting sectors. The
selection of appropriate comparable companies is often difficult, a matter of judgment, and subject to
limitations due to sample size and the availability of meaningful market-based information

Lazard selected the following publicly traded publishing companies (the “Publishing Peer
Group”) on the basis of general comparability to the Reorganized Debtors in one or more of the factors
described above: The New York Times Company, The McClatchy Company, Lee Enterprises lnc., A.H.
Belo Corporation, Washington Post Co., Gannett Co., lnc., Media General, lnc., Journal
Communications lnc., and The E.W. Scripps Company,

Lazard selected the following publicly traded broadcasting companies (the “Broadcasting Peer
Group,” and together with the Publishing Peer Group, the “Peer Group”) on the basis of general
comparability to the Reorganized Debtors in one or more of the factors described above: Nexstar
Broadcasting Group lnc., Sinclair Broadcast Group lnc., Gray Television lnc., Belo Corp., LlN TV Corp.,
Media General, lnc., The E.W. Scripps Company, Entravision Communications Corp., Discovery
Communications, lnc., Scripps Networks Interactive, lnc., and Viacom, lnc.

Lazard calculated market multiples for the Peer Group by dividing the enterprise value of each
comparable company by the mean projected 2010 EBITDA and 201 l EBITDA as estimated by equity
research analysts. For purposes of valuing the majority of the Debtors’ television stations, Lazard
calculated a blended 2010 / 201 l EBITDA multiple based on relevant television comparables In
determining the applicable EBITDA multiple ranges Lazard considered a variety of factors, including
both qualitative attributes and quantitative measures such as historical and projected revenue, EBITDA
and capital expenditure amounts, historical enterprise value/EBITDA trading multiples, EBITDA margins,
financial distress impacting trading values, size, growth and similarity in business lines. Based on this
analysis, Lazard’s implied EBITDA multiple ranges are set forth in the table below.

Enterprise Value / 2010E EBITDA

 

 

Segment Low High
Publishing“ 4.2x 4_7X
Broadcasting5 7.2x 8.2x

b. Discounted Cash Flow Analysis

The discounted cash flow (“DQI;`”) analysis is a forward-looking enterprise valuation
methodology that estimates the value of an asset or business by calculating the present value of expected
future cash flows to be generated by that asset or business, Under this methodology, projected future cash
flows are discounted by the business’ weighted average cost of capital (the “Discount Rate”). The Discount
Rate reflects the estimated blended rate of retum that would be required by debt and equity investors to
invest in the business based on its capital structure The enterprise value of the Reorganized Debtors’
business is determined by calculating the present value of the Reorganized Debtors’ unlevered after-tax free
cash flows included in the Proj ections plus an estimate for the value of the business beyond the
Projection Period known as the terminal value. The terminal value is derived by applying a multiple to
the Reorganized Debtors’ projected EBITDA in the final year ofthe Projection Period or capitalizing
projected unlevered after-tax free cash flow in the same period using the Discount Rate and an
assumed perpetual growth rate, discounted back to the assumed Effective Date using the Discount Rate.

 

4 Does not include Tribune Media Services or Forsalebyowner.com.

5 Implied blended 2010E EBITDA multiple for the station group, cable, and group allocations within the
broadcasting segment The majority ofthe television stations were, however, valued using a blended 2010E/201 l E
EBITDA multiple.

To estimate the Discount Rate for the Publishing and Broadcasting segments Lazard used the
cost of equity and the after-tax cost of debt for the Reorganized Debtors based on a range of targeted
debt-to-total capitalization ratios Lazard calculated the cost of equity utilizing estimates derived from the
Peer Group and the “Capital Asset Pricing Model,” which assumes that the required equity return is a
function of the risk-free cost of capital and the correlation of a publicly traded stock’s performance to the
return on the broader market. To estimate the cost of debt, Lazard evaluated current capital market
conditions and the spreads of companies with similar capital structures and operations and relied upon
estimates for the Reorganized Debtors’ debt financing cost as obtained by the Debtors from institutional
lenders In determining an EBITDA exit multiple, Lazard utilized a range reflecting current EBITDA
multiples Although formulaic methods are used to derive the key estimates for the DCF methodology, their
application and interpretation still involve complex considerations and judgments concerning potential
variances in the projected financial and operating characteristics of the Reorganized Debtors which in turn
affect its cost of capital and terminal multiples Lazard calculated its DCF valuation using the
following assumptions

 

 

Publishing Segment Broadcasting Segment
Perpetual Growth Terminal
Discount Rate Rate Discount Rate Multiple
11.0% - 13.0% (3.0)% - 3.0% 9.0% - 110% 7.0x ~ 8.0x

In applying the above methodology, Lazard utilized management’s Projections for the period
beginning January l, 201 l, and ending December 31, 2015, to derive unlevered after-tax free cash flows
Free cash flow includes sources and uses of cash not reflected in the income statement, such as changes in
working capital and capital expenditures For purposes of the DCF, the Reorganized Debtors are
assumed to be full taxpayers (the effective tax rate is assumed to be 41%). These cash flows, along with the
terminal value, are discounted back to the Assumed Effective Date using the range of Discount Rates
described above to arrive at a range of Enterprise Value

c. Precedent Transactions Analysis.

The precedent transactions valuation analysis is based on the enterprise values of companies
involved in public merger and acquisition transactions that have operating and financial characteristics
similar to the Reorganized Debtors Under this methodology, the enterprise value of such companies is
determined by an analysis of the consideration paid and the debt assumed in the merger or acquisition
transaction As in a comparable company valuation analysis those enterprise values are commonly
expressed as multiples of various measures of operating statistics such as revenue, EBITDA, and
earnings before interest and taxes (“_E__B_E”). Lazard reviewed industry-wide valuation multiples
considering prices paid as a multiple of the last 12 months (“LI_M”) EBITDA, for companies in similar
lines of business to the Broadcasting segment of the Reorganized Debtors The derived multiples were
then applied to the Reorganized Debtors’ operating statistics to determine the Enterprise Value or
value to a potential strategic buyer. Similar to the comparable company analysis Lazard focused
mainly on EBITDA multiples in comparing the valuations of the Reorganized Debtors and the selected
broadcasting companies involved in relevant precedent transactions

Unlike the comparable company analysis the enterprise valuation derived using this
methodology reflects a “control" premium (i.e., a premium paid to purchase a majority or controlling
position in the assets of a company). Thus, this methodology generally produces higher valuations
than the comparable public company analysis ln addition, other factors not directly related to a company’s
business operations can affect a valuation based on precedent transactions including: (i) the market
environment is not identical for transactions occurring at different periods of time, and (ii) circumstances

pertaining to the financial position of the company may have an impact on the resulting purchase
price (e.g., a company in financial distress may receive a lower price due to perceived weakness in its
bargaining leverage).

As with the comparable company analysis because no precedent merger or acquisition used in
any analysis will be identical to the target transaction, valuation conclusions cannot be based solely on
quantitative results The reasons for and circumstances surrounding each acquisition transaction are specific
to such transaction, and there are inherent differences between the businesses operations and prospects of
each target. Therefore, qualitativejudgments must be made concerning the differences between the
characteristics of these transactions and other factors and issues that could affect the price an acquirer is
willing to pay in an acquisition The number of completed transactions for which public data is available
also limits this analysis Furthermore, the data available for all the precedent transactions may have
discrepancies due to varying sources of information

Lazard evaluated various merger and acquisition transactions that have occurred in the publishing
and broadcasting industries over the last five years Many of the publishing industry transactions in
this sample were executed under drastically different fundamental, credit and other market conditions
from those prevailing in the current marketplace which factored into the determination of the relevance of
this methodology and appropriate multiple range As a result, Lazard did not give weight to the precedent
transactions valuation methodology with respect to the Publishing Segment With respect to the
Broadcasting Segment, Lazard reviewed the implied premiums paid in comparable transactions relative to
the then trading multiples and applied such premiums to the current trading multiples The resulting
enterprise value range implies a blended 2010E EBITDA multiple range of 9. lx to lO.lx. However the
comparability and availability ofthis data is limited which was taken into consideration in Lazard’s
derivation of its overall selected valuation range for the Broadcasting Segment.

d Other Assets and Corporate Operations Valuation

Lazard estimated the value of Other Assets to be approximately $l.7 to $2.0 billion (with an
approximate mid-point value of $1 .9 billion). The material investments included in this category are
minority interests in TV Food Network, CareerBuilder, LLC and Classified Ventures, LLC. Lazard
utilized standard valuation methodologies to value the minority equity investments In addition to these
assets, Lazard included an estimated cash balance of $1.7 billion at the Assumed Effective Date to derive
the estimated range for Distributable Value This cash balance includes the proceeds from the completed
transaction involving the Chicago Cubs and certain related assets and includes the cash held by wholly-
owned non-debtors

Corporate activities (which represent a cost center) were valued by capitalizing an assumed run
rate expense base by an assumed 10.7% blended Discount Rate Additional calculations were performed
to incorporate the present value of other cash outflows that are not reflected in corporate EBITDA. The
estimated value of corporate activities was added to the cumulative segment enterprise value range to
arrive at the estimated range for Enterprise Value

THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A CGMPLETE
DESCRIPTION OF THE ANALYSES PERFORMED BY LAZARD. THE PREPARATION OF A
VALUATION ESTIMATE INVOLVES VARIOUS DETERMINATIONS AS TO THE MOST
APPROPR[ATE AND RELEVANT METHODS OF FlNANCIAL ANALYSIS AND THE
APPLICATION OF THESE METHODS IN PARTICULAR CIRCUMSTANCES AND,”IHEREFORE SUCH
ANESflMATEISNOTREADILYSUITABLE'I`OSUl\A]\/MRYDESCRIPTION. IN PERFORMING
THESE ANALYSES, LAZARD AND THE DEBTORS MADE NUMEROUS ASSUMPTIONS

WITH RESPECT TO lNDUSTRY PERF()RMANCE, BUSINESS AND ECONGMIC CONDITIONS AND
OTHER MATTERS. THE ANALYSES PERFORMED BY LAZARD ARE NOT NECESSARILY
INDICATIVE OF ACTUAL VALUES OR FUTURE RESULTS, WHICH MAY BE SIGNIFICANTLY
MORE OR LESS FAVORABLE THAN SUGGESTED BY SUCH ANALYSES.

EXHIBIT G

Selected Hislorical Financl`al Informatl'on

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lO-Q l trbfonn|0q3q2008.htm TRIBUNE COMPANY FORM lO-Q - THIRD QUARTER 2008 - DATED SEPTEMBER 28, 2008

 

UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
wAsHiNGToN, 1).C. 20549

FoRM io-Q

QUARTERLY REPORT PURSUANT TO SECTION 13 OR |S(d)
OF THE SECUR|TIES EXCHANGE ACT OF 1934

FOR THE QUARTERLY PERIOD ENDED SEPTEMBER 28, 2008

Commission file number 1-8572

TRIBUNE COMPANY
(Exact name of registrant as specified in its charter)
Delaware XX-XXXXXXX
(State or otherjurisdiction of (I.R.S. Employer
incorporation or organization) Identifrcation No.)
435 North Michigan Avenue, Chlcago, lllinols 606||
(Address ot` principal executive ot`tices) (Zip code)

Registrant’s telephone number, including area code: (3|2) 222-9100

No Changes
(Former name, former address and fenner fiscal year. if changed since last report)

lndicate by check mark whether the registrant (l) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934
during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing
requirements for the past 90 days
Yes /// No/ /

lndicate by check mark whether the registrant is a large accelerated frler, an accelerated tiler, a non-accelerated filer, or a smaller reporting
company See the definitions of “large accelerated Hler," “accelerated tiler,” and “smaller reporting company” in Rule le-Z of the Exchange Act
(Check One):
Large accelerated tiler / / Accelerated filer / / Non-accelerated frler /\// Smaller Reporting Company / /

lndicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).
Yes / / No /~//

At November 10, 2008, there were 56,521,739 shares of the Company’s Common Stock ($.Ol par value per share) outstanding all of which were
held by the Tribune Employee Stock Ownership Plan,

 

 

TRlBUNE COMPANY
lNDEX TO 2008 THIRD QUARTER FORM l0-Q

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PART 1. FlNANClAL lNFORMATlON

1. Financial Statements (Unaudited)

Condensed Consolidated Statements of Operations for the Third Quarters

and First Three Quarters Ended Sept. 28, 2008 and Sept. 30, 2007
Condensed Consolidated Balance Sheets at Sept. 28, 2008 and Dec. 30, 2007
Condensed Consolidated Statements of Cash F laws for the Fixst Three Qua.rters Ended

Sept. 28, 2008 and Sept. 30, 2007
Notes to Condensed Consolidated Financial Statements

Note l: Basis of Preparation

Note 2: Discontinued Operations and Assets and Liabilities Held for Disposition
Note 3: Income Taxes

Note 4: Stock-Based Compensation

Note 5: Employee Stock Ownership Plan

Note 6: Pension and Other Postretirement Benefits

Note 7: Changea in Operations and Non-Operating Items

Note 8; lnventories

Note 9: Goodwill and Other lntangible Assets

Note 10: Debt
Note 11: Fair Value of Financial [nsm\ments

Note 122 Comprehensive lncome (Loss)
Note 13; Other Matters
Note 14: Segment lnforrnation

2, Ma.nagement’s Discussion and Analysis of Financial Condition and Results of Operations

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4. Controls and Frocedures

Quantitative and Qualitative Disclosures About Market Risk

PART ll. OTHER INFORMATlON

1. Legal Proceedings
lA. Risk F actors
6. Exhibits

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I’ART l. FINANCIAL lNFORMATlON

lTEM 1. FINANC|AL STATEMENTS.

TRIBUNE COMPANY AND SUBSIDIARIES
CONDENSED CONSOL|DATED STATEMENTS OF OPERATIONS
(In thousands of dollars)

(Unaudited)

Thlrd Quarter Ended

Firs¢ Three Quarten

 

 

 

 

 

Sept. 28, 2008 Sepr. 30, 2007 Sept. 28, 2008 Sept. 30, 2007

Operodng Revenuu $ 1,036,946 $ 1,158,553 3,|52,534 3,422,787
Operating Expenses

Cost of sales ('exclusive of items shown below) 594,|61 592,804 1,742,692 1,744,988
Selling, general and administrative 353,220 298,043 902,652 964,435
Deprcciation 47,857 46,250 142.774 140,089
Amortization of intangible assets 4,645 4,621 13,965 13,976
Write-downs of intangible assets (Note 9) ~ _ 3,843,1 l l _-
Tom[ operating expem 999,883 941 ,723 6,645,194 2,863,488
Operating Profit (Losl) 37,063 216.830 (3,492,660) 559,299
Net income on equity investments 23.201 26,559 58,130 67,953

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|nterest and dividend income 2,6|0 4,923 9.736 l 1,902
interest expense (231.803) (l 7$,003) (694,807) (370,66|)
Gain (loss) on change in fair values of PHONES and related investment (8,360) (84,969) 97,960 1182,144)
Stracegic transaction expenses ~~- (3,160) - (38,$57)
Gain on sales of investments net 78,675 --» 617,375 516
Gaio on TMCT transactions -- 8,329 - 8,329
Other non-operating gain, net 372 1»936 527 22»934
lncome (Losa) from Contlnulng Operations
Be[ore lncome Taxes 193.2421 (4,555) (3,953,739) 79,57|
lncome taxes tNote 3) (25.919) 88,106 1,836,833 44.914
lncome (Loss) from Cont|nuln¢ Operntlons (124,161 ) 83.55| (Z,l 16,906) 124,485
income (Loss) from Dlscontlnued Operatlons,
net of til tNote 21 2,585 69,214 (7| 5.1571 41,261
Net lncome (Loss) $ (121,5761 $ 152,765 $ (2.832,()63) $ 165,746
See Notes to Condensed Consolidated Financial Statements.
l
TR\BUNE COMPANY AND SUBSID[ARIES
CONDENSED CONSOLIDATED BALANCE SHEETS
(ln thousands of dollars)
(Unaudited)
Sept. 28, 2008 Dec. 30, 2007
Assets
Cumn¢ Assets
Cash and cash equivalents $ 259,900 $ 233,284
Accounta receivable net 591,922 732,853
lnventorics 31 ,792 40,675
Broadcast rights 256,696 287,045
Prepaid expenses and other 109,383 91,|66
Assets held for disposition 59,797 -
Total current assets 1-3()9,490 1.335.023
____________ ___________
Propertles
Property, plant and equipment 3,405,742 3,564,436
Accumulated depreciation (1.927,896) (1,993.741)
Net pmpa-tia 1,477,846 1,565,695
__________ ______
Other Assets
Broadcast rights 259,700 301 ,263
Goodwill (Note 9) 1,742,295 5,579,926
Other intangible assets net (Note 91 1,431,389 2,663,|52
Timc Wamer stock related to PHONES debt 227,360 266,400
Other investments 398,365 508,205
Prepaid pension com 410,251 514,429
Assets held for disposition 92,585 33,780
Other 254,914 331,846
_____________ _____________
Total other assets 4,315.359 10.199,001
Tom As““ $ 7,604,195 3 13,149,719

 

 

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See Notes to Condensed Consolidated Financial Statements.

 

TRIBUNE COMPANY AND SUBSIDIAR\ES
CONDENSED CONSOL|DATED BALANCE SHEETS
(In thousands ofdollars)

 

 

 

 

 

 

(Unaudited)
Sept. 28, 2008 Dec. 30, 2007
Llabllltles and Shorehold¢n’ Equlty (Detlclt)
Current Llnbllitles
PHONES debt related to lime Wamer stock (`Note 101 $ 215,991 S ` 253,080
Other debt due within one year 619,793 750,239
Contracts payable for broadcast rights 343,552 339,909
Deferred income taxes 7,598 100,324
Deferred income 79,659 121,239
Accounts payablc. accrued expenses and other current liabilities 605,935 625,175
liabilities held for disposition 92,995 _-
Total current liabilities l,965,523 2.189,966
l.ong-Tertn Debt
PHONES debt related to Time Wamet' stock (Note 10) 64,008 343.960
Other long-term debt (less portions due within one year) 10»927-.221 l |,496.146
’L`otat loog~term debt l0,986,229 11,840.206
Other Non-C\imlt liabilities
Dcferred income taxes 92,289 1,771,845
Contracts payable for broadcad rights 357,067 432.393
Defcn'ed compensation and benefits 241,359 264,480
Liabilities held for disposition 5,858 -
Other obligations 221'592 164,769
Common Shuu Held by ESO!’, net ot Umroed ,
Compcnndol (Nnt¢ 5) 31,860 -~
Skzreholden’ Eqnhy (Det!dt)
Stock purchase wammts 255,000 255,000
Rctained nmingz (deflct't) (6,209,594) (3,474,311)
Accumulsted other comprehensive income (loss) (342,988) (294,629)
Totai sbareholderx’ equity (deficit) (6,297,582) (3,513,940)
nut Ltahtitu¢, and sharehotdm' Equt¢y (t)¢n¢ti) $ 7,604,|95 $ l3,l49.7 19

 

 

 

See Notes to Condensed Consolidated Financial Statements.

 

TRIBUNE COMPANY AND SUBSlDlARlES
CONDENSED CONSOLIDATED STATEMENTS OF CASH FLOWS
(ln thousands of dollars)
(Unaudited)
Flnt Tliree Qttarten
Sept. 28, 2008 Sept. 30, 2007

Operating Aetlvitles

Net income (loss) $ (2,832,063) S 165,746

L~..,/l ....... lA_..\_:_.-..l._in--/,i.._l~w»\/ri~i/nnnr\~nrr¢-w~nnrv\n n\l. - » in -. ~r.- t r-i.~,-.~. .` .,. <,. -,. _. ..

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Adjustments to reconcile net income (loss) to net cash provided by operating activities:

 

 

 

 

 

 

Stock-based compensation related to equity-classilied awards ~ ]3,561
ESOP compensation 3 l ,8()0 ¢»~
Pension eosts. net of contributions 63.655 (8.023)
Gain on sale of studio production lot (782,37|) *~
Gain on sales of other real estate (24,328} ~~
Write~ot`i` of capitalized sotiware application costs 24,804 *_
Writc~ot't` of Lu.i Angeles Times plant equipment '-- 24»2|6
Depreciation 152,229 157,194
Amortization ot' intangible assets 14`689 l5,500
Write~downs of intangible assets (Note 9) 3,843,| l l »_
Net income on equity investments (58.\30) (67,953)
Distributions from equity investments 34,469 77,848
Amortizntion ot' debt issuance cosu 58.95| l7,33l
((}ain) loss on change in fair values ot` PHONES and related investment (97,960) 182,144
Gain on sales of investments, net (67.375) (516)
Gain on TMCT transactions ~~~ (3.329)
Subcbapter S corporation election deferred income taxes adjusment (Notu 3) (1.859,358] "
Matthcw Bender and Mosby income tax settlement .~ (90,704)
Non~cash lms on dispositiom of discontinued operation 68| ,055 20,025
Changes in working capital items, excluding effects from acquisitions and dispositions
Accounts receivable ' 49,085 14,003
lnvcntories, prepaid expenses and other current assets l0,599 (12,423)
Deferred income, accounts payable accrued expenses and other current liabilities (19,944) 83,720
lncome taxes 72,256 (48,083)
Dei`em:d compensation (18.693) (49,03!)
Deferrcd income taxes, excluding subchapter S corporation election adjustment (l,184) (99,|9|)
Tax benefit on stock options exercised »- ll,933
Prepaid rent from Newsday LLC (Note 2) 18,000 _
Other, net 42‘006 32‘597
Net cash provided by operating activities 85,363 451 ,565
investing Activltiel
Purchase of TMCT, LLC real estate (Note 13) (l75,l4l) '-
Other capital expenditures (6$.0}2) (85,132)
Acquisitions and investments (l4,104) (21,942)
Discn'but:ion from Ncwsday LLC (Note 2) 612,000 -~
Proceeds from sales of subsidiaries, intangiblec, investments and real estate 313.05| 95.848
Net cash provided by (used for) investing activities 675.794 (11,2_2§)
Flnonclng Actlvlties
Long»term borrowings 25.000 7,015,000
issuance of cxchangeable promissory note -~ 200,000
Bormwingz under fenner bridge credit facility »- lOG.OOU
Other borrowings l,978 _
chaymeim under former bridge credit facility '- (1,410,000)
Repayments of long'term debt (979,563) (1,633,655)
Repaymencs of commercial paP¢!. 121 -~ (97,019)
Borrowirigs under trade receivables securitization facility (Note lO) 225'()()() _
Long-term debt issuance costs (6,956) (134,085)
Sales of common stock to employees, net ~ 73,354
Sale of common stock do Zel! Entity - 50,000
Purchases of Tribune common stock ~~ (4,289,|92)
Dividend¢ - (43£3
Net cash used for financing activities (734,54|) (168,844)
Net braun h Cash and Cash Eq¢tvnlenu 26,5;6 271_495
Cash and cash equivalents, beginning of year 233,234 l74.636
cash and cash eqm'vai¢nm, end or quarter $_._____.ZM §=_…__M

See Notes to Condensed Consolidated Financial Statements.

 

TR]BUNE COMPANY AND SUBSlDIARIES
NOTES TO CONDENSED CONSOLIDATED FlNANClAL STATEMENTS
(Unaudited)

NOTE l: BAS|S OF PREPARAT|ON

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ln the opinion of management, the accompanying unaudited condensed consolidated financial statements contain all adjustments necessary for a fair
statement of the financial position of Tribune Company and its subsidiaries (the "Company” or `“l`ribune") as of Sept. 28, 2008 and the results of their
operations for the third quarters and first three quarters ended Sept, 28, 2008 and Septr 30. 2007 and cash flows for the first three quarters ended Sept.
28, 2008 and Sept. 30, 2007, All adjustments reflected in the accompanying unaudited condensed consolidated financial statements are of a normal
recurring nature. Results of operations for interim periods are not necessarily indicative of the results to be expected for the full year. Certain prior year
amounts have been reclassified to conform to the 2008 presentation

On Apnl l, 2007, the Company’s board of directors (the “Board"), based on the recommendation of a special committee of the Board comprised entirely
of independent directors, approved a series of transactions (collectively, the "Leveraged ESOP Transactions”) with a newly formed Tribune Employee
Stock Ownership Plan (the "ESOP"), EGl-TRB, L.L.C., a Delaware limited liability company majority~owned by Sam investment Trust (a trust
established for the benth of Samuel Zell and his family), and Samuel Zell. On Dec. 20, 2007, the Company completed the Leveraged ESOP
Transactions which culminated in the cancellation of all issued and outstanding shares of the Company’s common stock as of that date, other than shares
held by the Company or the ESOP, and the Company becoming wholly-owned by the ESOP. The Company has significant continuing public debt and
has accounted for these transactions as a leveraged recapitalization and, accordingly, has maintained a historical cost presentation in its consolidated
financial statements

On May l l, 2008, the Company entered into an agreement (the "Formation Agreement”) with CSC Holdings, lnc. ("CSC") and NMG Holdings, lnc.,
each a wholly‘owncd subsidiary of Cablevision Systems Corporation (“Cablevision"), to form a new limited liability company ("Newsday LLC"). On
July 29, 2008, the Company consummated the closing of the transactions contemplated by the Formation Agreement, Under the terms of the Formation
Agreement, the Company, through Newsday, lnc. and other subsidiaries of the Company, contributed certain assets and related liabilities of the Newsday
Media Group business ("NMG") to Newsday LLC, and CSC contributed cash of $35 million and newly issued senior notes of Cablevision with a fair
market value of $650 million to the parent company of Newsday LLC. Concurrent with the closing of this transaction, Newsday LLC and its parent
company borrowed $650 million under a new secured credit facility, and the Company received a special distribution of $612 million from Newsday
LLC in cash as well as $l8 million of prepaid rent under leases for certain facilities used by NMG and located in Melville, New York with an initial
term ending in 2018. As a result of these transactions CSC, through NMG Holdings, lnc,, owns approximately 97% and the Company owns
approximately 3% of the equity of the parent company of Newsday LLC. CSC has operational control of Newsday LLC. These transactions are liirther
described in Note 2. NMG’s operations consist of Newsday, a daily newspaper circulated primarily in Nassau and Suffolk counties on Long lsland, New
York, and in the borough of Queens in New York City; four specialty magazines circulated primarily on Long Island; several shopper guides; amNY, a
free daily newspaper in New York City; and several websites including newsday.com and amny.com.

On Feb. 12, 2007, the Company announced an agreement to sell the New York edition of Hoy, the Company’s Spanish-language daily newspaper
("Hoy, New York"). The Company completed the sale of`Hoy, New York on May 15, 2007, ln March 2007, the Company announced its intentions to
sell its Southem Connecticut Newspapcra-The Advocale (Stamford) and Greenwich T ime (collectively “SCN|"). The sale of SCNl closed on Nov. l,
2007, and excluded the SCNl real estate in Stamford and Greenwich, Connecticut, which was sold in a separate transaction that closed on April 22,
2008. During the third quarter of 2007, the Company began actively pursuing the sale of the stock of one of its subsidiaries, EZ Buy & EZ Sell Recycler
Corporation (“Recycler”). The sale of Recyclcr closed on Oct. l7, 2007. The accompanying unaudited condensed consolidated financial statements
reflect these businesses, including the NMG business as described above, as

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discontinued operations for all periods presented The prior year condensed consolidated statements of operations have been reclassified to conform
to the presentation of these businesses as discontinued operations See Note 2 for further discussion.

As described in the Company’s Annual Report on Form lO-K for the fiscal year ended Dec. 30, 2007, the Company reviews goodwill and certain
intangible assets no longer being amortized for impairment annually, or more frequently if events or changes in circumstances indicate that an asset may
be impaired, in accordance with Financial Accounting Standards Board (“FASB") No, 142 (“FAS No. 142"), “Goodwill and Other lntangible

Assets." During 2008, each of the Company’s major newspapers has experienced significant continuing declines in advertising revenues due to a variety
of factors, including weak national and local economic conditions, which has reduced advertising demand, and increased competition, particularly from
on~line media. ln the second quarter of 2008, the Company performed an impairment review of goodwill attributable to its newspaper reporting unit and
newspaper masthead intangible assets due to the continuing decline in newspaper advertising revenues The review was conducted alier $830 million of
newspaper reporting unit goodwill and $380 million of newspaper masthead assets were allocated to the NMG transaction (see Note 2), As a result of
the impairment review, the Company recorded non-cash pretax impairment charges in the second quarter of 2008 totaling $3,843 million ($3,832 million
after taxes) to write down its newspaper reporting unit goodwill by $3,007 million ($3,006 million afier taxes) and four newspaper mastheads by a total
of$836 million ($826 million after taxes). These non-cash impairment charges are reflected as write-downs of`intangible assets in the accompanying
unaudited condensed consolidated statements of operations The impairment charges do not affect the Company’s operating cash flows or its compliance
with its Hnancial debt covenants See Note 9 for a further discussion of the methodology the Company utilized to perform this impairment review in the
second quarter of 2008.

As of Sept. 28, 2008, the Company‘s significant accounting policies and estimates, which are detailed in the Company’s Annual Report on Form lO-K
for the fiscal year ended Dec. 30, 2007, have not changed from Dec. 30, 2007, except for the adoption of FASB Statement No. l57, “Fair Value
Measurements” (“FAS No. 157") and FASB Statement No. 159, “The F air Value Option for Financial Assets and Financial Liabilities“ (“FAS No.
159"), both of which were adopted effective Dec. 3l, 2007. The Company has elected to account for its PHONES debt utilizing the fair value option
under FAS No. 159. The effects of this election were recorded as of Dec. 31, 2007, and included a 3177 million decrease in PHONES debt related to

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Time Wamer stock, a 362 million increase in deferred income tax liabilities, an 518 million decrease in other assets, and a $97 million increase in
retained earnings ln accordance with FAS No. 159, the $97 million retained earnings increase was not included in the Company’s unaudited condensed
consolidated statement ot`operations for the first three quarters ended Sept. 28, 2008, See Note 10 for additional information regarding the Company’s
adoption ol'FAS No. 159, The adoption of FAS No. 157 had no impact on the Company’s consolidated financial statements See Note l l for additional
disclosures related to the fair value of financial instruments included in the Company’s unaudited condensed consolidated balance sheet at Sept. 28,
2008,

NOTE 2: DISCONT|NUED OPERAT{ONS AND ASSETS AND LIABILITIES HELD FOR
DlSPOSlTlON

Discontinued Operations_~As discussed in Note l, on May l 1, 2008. the Company entered into the Formation Agreement with CSC and NMG
Holdings, lnc. to form Newsday LLC. ()n July 29, 2008, the Company consummated the closing ofthe transactions contemplated by the Formation
Agreement. Under the terms of the Formation Agreement, the Company, through Newsday, lnc, and other subsidiaries of the Company, contributed
certain assets and related liabilities ofNMG to Newsday LLC, and CSC contributed $35 million ofcash and newly issued senior notes ofCablevision
with a fair market value of $650 million to the parent company of Newsday LLC. Concurrent with the closing ofthis transaction, Newsday LLC and its
parent company borrowed $650 million under a new secured credit facility, and the Company received a special distribution of $61 2 million from
Newsday LLC in cash as well as 518 million iri prepaid rent under leases for certain facilities used by NMG and located in Melville, New York with an
initial term ending in 2018. The Company retained ownership ofthese facilities following the transaction Annual lease payments

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due under the terms of the leases total $1.5 million in each ofthe first five years of the lease terms and $6 million thereafter.

As a result of these transactions CSC, through NMG Holdings, lnc., owns approximately 97% and the Company owns approximately 3% ofthe equity
of the parent company ol"Newsday LLC. CSC has operational control over Newsday LLC. Borrowings by Newsday LLC and its parent company under
the secured credit facility are guaranteed by CSC and NMG Holdings, lnc. and secured by a lien on the assets of Newsday LLC and the assets of its
parent company, including the senior notes of Cablevision contributed by CSC. The Company agreed to indemnify CSC and NMG Holdings, lnc. with
respect to any payments that CSC or NMG Holdings, Inc, makes under their guarantee of the $650 million of borrowings by Newsday LLC and its
parent company under the secured credit facility. ln the event the Company is required to perform under this indemnity, the Company will be
subrogated to and acquire all rights of CSC and NMG Holdings, Inc. against Newsday LLC and its parent company to the extent ot` the payments made
pursuant to the indemnity. From the closing date ofluly 29, 2008 through the third anniversary of the closing date, the maximum amount of potential
indemnification payments (the "Maximum Indemnification Amount") is $650 million. After the third year, the Maximum Indemnification Amount is
reduced by 3120 million, and each year thereatier by $35 million until january l, 2018, at which point the Maximum lndemnification Amount is reduced
to $0. Following the transaction, the Company used $589 million of the net cash proceeds to pay down borrowings under the Company’s Tranche X
facility (see Note 10). The Company accounts for its remaining $20 million equity interest in the parent company ot`Newsday LLC as a cost method
investment.

The fair market value of the contributed NMG net assets exceeded their tax basis due to the Company’s low tax basis in the contributed intangible
assets However, the transaction did not result in an immediate taxable gain because the transaction was structured to comply with the partnership
provisions of the United States lntemal Revenue Code and related regulations

During the second quarter of 2008, the Company recorded a pretax loss of $692 million ($693 million after taxes) to write down the net assets of NMG
to estimated fair value. NMG’s net assets included, before the write~down, allocated newspaper reporting unit goodwill and a newspaper masthead
intangible asset 0f$830 million and $380 million, respectively. ln the third quarter of 2008, the Company recorded a favorable $l million after-tax
adjustment to the loss on this transaction.

The Company announced an agreement to sell Hoy, New York on Feb. 12, 2007. The Company completed the sale of Hoy, New York on May 15, 2007
and recorded a preta.x gain on the sale ot`$2,5 million ($.l million after taxes) in the second quarter of 2007. ln March 2007, the Company announced its
intentions to sell SCNI. The sale of SCNl closed on Nov. 1, 2007, and excluded the SCNI real estate in Stamford and Greenwich, Connecticut, which
was sold in a separate transaction that closed on April 22, 2008 (see “Assets and Liabilities Held for Disposition" section below). ln the first quarter of
2007, the Company recorded a pretax loss of $ l 9 million ($33 million after taxcs) to write down the net assets of SCNl to estimated fair value, less costs
to sell. ln the third quarter of 2007, the Company recorded a favorable $2.8 million alter~tax adjustment to the expected loss on the sale of SCNl. ln the
first quarter of 2008, the Company recorded an additional $.5 million aher~tax loss on the sale of SCNl. During the third quarter of 2007, the Company
began actively pursuing the sale of the stock of Recycler. The sale of Recycler closed on Oct. l7, 2007. The Company recorded a pretax loss on the
sale of Recycler of $l million in the third quarter of 2007. Due to the Company’s high tax basis in the Recycler stock, the sale generated a significantly
higher capital loss t`or income tax purposes As a result, the Company recorded a $65 million income tax benefit in the third quarter of 2007, resulting iri
an aher-tax gain 0f$64 million.

These businesses were considered components of the Company’s publishing segment as their operations and cash flows could be clearly distinguished,
operationally and for financial reporting putposes, from the rest of the Company. The operations and cash flows of these businesses have been
eliminated from the ongoing operations of the Company as a result of these transactions, and the Company will not have any significant continuing
involvement in their operations Accordingly, the results of operations for each of these businesses

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are reported as discontinued operations in the accompanying unaudited condensed consolidated statements of operations.

Selectcd financial information related to discontinued operations is summarized as follows (in thousands):

 

 

 

 

 

 

 

Third Quarter First Three Ouarters
2008 2007 2008 2007

Operatng revenues $ 32,260 132,187 $ 258,362 $ 416,925
Operating profit (loss) $ 4,441 l2,390 $ (410) $ 46,256
Interest income * 3 2 7
Interest expense (2,454) (11,810) (22,186) (15,264)
Non-operating loss, net(l) * ~- -~ (15,000)
Gain (loss) on dispositions of discontinued

operations 852 (3,067) (69 l ,623) (20,025)
lncome (loss) from discontinued operations

before income taxes 2,839 (2,484) (7|4,217) (4,026)
Income taxes(l) (254) 71,698 (940) 45,287
lncome (loss) from discontinued operations

net oftax $ 2,585 69,214 $ (715,157) $ 41,261

 

 

(l) Discontinued operations for the first three quarters of 2007 included a pretax non-operating charge of$l$ million for a civil forfeiture

payment related to the inquiry by the United States Attomey’s Off`lce for the Eastem District of New Y
Newsday and Hoy, New York. See Note 5 to the consolidated financial statements in the

fiscal year ended Dcc, 30, 2007, for further information

ork into the circulation practices of
Company’s Annual Report on Form lO-K for the

(2) lncome taxes for the first three quarters ot` 2008 included tax expense of$l million related to the $691 million pretax loss on the NMG

transaction NMG's net assets included, before the write-down of these assets to fair value in connection with the transaction,
newspaper reporting unit goodwill of $830 million and a newspaper masthead intangible asset of $380 million,

allocated
most of which are not

deductible for income tax purposes The Company recorded an income tax benefit of$72 million related to a pretax loss 0f$2 million in
the third quarter of 2007 and an income tax benefit of$45 million related to a pretax loss of $4 million in the first three quarters of

2007, Due to the Company’s high tax basis in the Recycler stock, the sale of Recycler generated a significantly higher capital loss for
income tax purposes As a result, the Company recorded a $65 million income tax benefit in the third quarter of 2007, resulting in an after-
tax gain of $64 million on the sale of Recycler. The pretax loss in the first three quarters of 2007 also included $48 million of allocated
newspaper group goodwill, most of which is not deductible for income tax purposes.

The Company allocated corporate interest expense of 32.5 million and $11.8 million in the third quarters of 2008 and 2007, respectively, and $22.2
million and 315.3 million in the first three quarters of 2008 and 2007, respectively, to discontinued operations ln accordance with Emerging lssues
Task Force Issue No. 87-24, “Allocation of Interest to Discontinued Operations", the amount of corporate interest allocated to discontinued operations
was based on the amount of the net proceeds from the NMG transaction that were used to pay down borrowings under the Company’s Tranche X facility
and applying the interest rate applicable to the Tranche X facility for the periods irl which these borrowings under the Tranche X facility were
outstanding

 

Assets and Liabilities He|d for Dlsposition-Assets and liabilities held for disposition at Sept. 28, 2008 and Dec, 30, 2007 are summarized as follows
(in thousands):

Sept. 28, 2008 Dec. 30, 2007

 

 

 

Assets Liabilities Assets Liabilities
Chicago Cubs and Wrigley Field $ 136,903 $ 98,853 $ ~ S -
Studio production lot, Ho|lywood, Califomia - - 23,322 -
SCNl real estate - - 5,485 ~
Other real estate 15,479 _~ 4,973 _~
real assets and liabilities held for disposition §___L`°'HZ $____.._9.§@ ________$ 33»73° § __ . _ __

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The Company is in the process ol`disposing ofaii interest iii its Chicago Cubs operations which include the baseball team, Wrigley Field and the
Company’s 25% investment in Comcast SpoitsNet Cliicagov The Company expects to complete the transaction within the next year, Accordingly, the
net book value of`the baseball team and Wrigley Field is included in assets and liabilities held for disposition at Sept, 28, 2008. The Company’s
investment in Comcast SpoitsNet Chicago continues to be included in other investments in the accompanying unaudited condensed consolidated balance
sheets The disposition of an interest in the Cliicago Cubs baseball team is subject to the approval of`Major League Baseball.

During the third quarter of 2007, the Company commenced a process to sell the real estate and related assets of its studio production lot located in
Hollywood, Calit`omia. Accordingly, the $23 million carrying value ofthe land, building and equipment ofthe studio production lot was included in
assets held for disposition at Dec. 30. 2007. The sale ofthe studio production lot closed on Jan. 30, 2008, and the Company received net proceeds of
$l22 million, of which $l l9 million was placed into an escrow fund immediately following the closing ofthe sale. Simiiltaneous with the closing ofthe
sale, the Company entered into a live~year operating lease for a portion of the studio production lot utilized by the Company’s KTLA-TV station. Tlie
sale resulted in a total pretax gain of 399 million. The pretax gain related to the portion ofthe studio production lot currently utilized by the Company’s
KTLA~TV station was $16 million and represented more than a minor portion of the fair value of thc studio production lot. Accordingly, this gain was
deferred and will be amortized as reduced rent expense over the five-year life of the related operating lease. The remaining pretax gain of $83 million
recorded in the first quarter of 2008 was included as a reduction of selling, general and administrative expenses

As noted above, the Company sold the SCNl real estate iii Stamford and Greenwich, Connecticut on April 22. 2008. The 35 million carrying value of
the real estate was included in assets held for disposition at Dec4 30, 2007. The Company received net proceeds of`$29 million on the sale of the SCNl
real estate, which proceeds were placed into an escrow fund immediately following the closing of the sale The Company recorded a pretax gain of`$23
million as a reduction of selling, general and administrative expenses in the second quarter of 2008. On April 28, 2008, the $29 million of net proceeds
from the sale of the SCNI real estate, the $l l9 million of net proceeds from the sale ofthe studio production lot and available cash were utilized to
purchase eight real properties that were previously leased from TMCT, LLC (see Note l3 for additional information pertaining to the Company’s
acquisition of the TMCT real properties). The purchase was structured as a like-kind exchange, which allowed the Company to defer income taxes on
nearly all of the gains from these dispositions ln December 2006, the Company commenced a process to sell the land and building of one ot`its other
facilities. The $5 million carrying value ofthe land and building approximates fair value less costs to sell and is also included in assets held for
disposition at Sept. 28, 2008 and Dec. 30, 2007. During the third quarter of`2008, the Company commenced a process to sell two of the properties
acquired in April 2008 as part of the acquisition of the eight real properties from TMCT. LLC. On Oct. 3l, 2008, the Company concluded a transaction
to sell one of these properties for net proceeds of approximately 35 million. The Company will recognize a pretax gain of approximately $l million on
the sale in the fourth quarter of`2008. The $ 10 million carrying value of these two properties approximates fair value less costs to sell and is also
included in assets held for disposition at Sept 28, 2008.

 

NOTE 3: INCOME TAXES

S Corporation Election_On March l3, 2008, the Company filed an election to be treated as a subchapter S corporation under the Intemal Revenue
Code. which election is effective as of the beginning of the Company’s 2008 fiscal year. The Company also elected to treat nearly all of its subsidiaries
as qualified subchapter S subsidiaries Subject to certain limitations (such as the built-iri gain tax applicable for ten years to gains accrued prior to the
election), the Company is no longer subject to federal income tax. lnstead, the Company’s income will be required to be reported by its

shareholders The Company’s ESOP, the Company’s sole shareholder (see Note 5), will not be taxed on the share of income that is passed through to it
because the ESOP is a qualified employee benth plan. Although most states in which the Company operates recognize the S corporation status, some
impose income taxes at a reduced rate.

As a result of the election and in accordance with FASB Statement No. 109, "Accounting for Income Taxes", the Company eliminated approximately
$l,859 million of net deferred income tax liabilities as of Dec. 3l, 2007, and recorded such adjustment as a reduction in the Company’s provision for
income tax expense in the first quarter of 2008. The Company continues to report deferred income taxes relating to states that assess taxes on S
corporations, subsidiaries which are not qualified subchapter S subsidiaries and potential asset dispositions that the Company expects will be subject to
the built-in gain lax.

FHONES lnterest-ln connection with the routine examination of the Company’s federal income tax returns for 2000 through 2003, the Intemal
Revenue Service (“IRS”) proposed that the Company capitalize the interest on the PHONES as additional tax basis in the Company’s 16 million shares of
Time Wamer common stock, rather than allowing the Company to currently deduct such interest. The National Of`fice of the lRS has issued a Technical
Advice Memorandum that supports the proposed treatment The Company disagrees with the lRS’s position and requested that the lRS administrative
appeals otiice review the issue. The effect ofthe treatment proposed by the lRS would be to increase the Company’s tax liability by approximately $l99
million for the period 2000 through 2003 and by approximately $259 million for the period 2004 through the third quarter of 2008.

During the fourth quarter of2006, the Company reached an agreement with the lRS appeals ofiice regarding the deductibility of the PHONES interest
expense. The agreement will apply for the tax years 2000 through the 2029 maturity date of the PHONES. ln December of 2006, under the terms of the
agreement reached with the IRS appeals office, the Company paid approximately $8l million of tax plus interest for tax years 2000 through 2005. The
tax payments were recorded as a reduction in the Company’s deferred tax liability, and the interest was recorded as a reduction iii the Company’s income
tax reserves The Company filed its 2006 and 2007 tax returns reflecting the agreement reached with the IRS appeals of`flce. The agreement reached
with the appeals ofiice is being reviewed by the Joint Conimittee on Taxation. A decision from the Joint Committee on Taxation is expected within the

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next twelve months

Matthew Bender and Moshy lncome Tax Llablllty-~During the third quarter of 2007, the Company settled its appeal ofthe United States Tax Court
decision that disallowed the tax-free reorganization of Matthew Bender and Mosby, former subsidiaries of The Times Mirror Company, with the United
States Court of Appeals for the Seventh Circuit. As a result of the seitlement, the Company received refunds of federal income taxes and interest of $4
million on Sept. 26, 2007 and $340 million on 0ct. l. 2007. After consideration of income taxes on the interest received, the net cash proceeds totaled
approximately $286 million. These ret`unds, together with related state income tax benefits of 329 million, were accounted for as a $91 million
reduction in third quarter 2007 income tax expense and a $224 million reduction in goodwill recorded on the Company’s consolidated balance

sheet, The September and October 2007 refunds of the previously paid income taxes and interest were accounted for in accordance with Emerging
lssues Task Force ("EITF") lssue No` 93~7, “Uncenainties Related to lncome Taxes in a Purchase Business Combination" (“EITF 93-7"), The portion
of the refunds representing alier-tax interest applicable to periods following the acquisition ofThe Times Mirror reduced income tax expense, and the
remainder reduced goodwill

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Other--Although management believes its estimates and judgments are reasonable, the resolutions of the Company’s tax issues are unpredictable and
could result in tax liabilities that are significantly higher or lower than that which has been provided by the Company,

ln the third quarter and first three quarters of 2008, income taxes applicable to continuing operations amounted to a net expense of$26 million and a net
benefit of$l,837 million. respectively The net expense in the third quarter of 2008 included a provision of $27 million related to the Company’s gain
on the sale of a 10 percent interest in CareerBuilder, LLC (see Note 7)._ The net benefit in the first three quarters of 2008 included the favorable $l,859
million deferred income tax adjustment discussed above. The $3,007 million write-down of the Company’s publishing goodwill in the second quarter of
2008 resulted in an income tax benefit of'only $I million for financial reporting purposes because almost all of the goodwill is not deductible for income
tax purposes (see Note 9). The effective tax rate on income from continuing operations in the 2007 third quarter and first three quarters were affected by
certain non-operating items that were not deductible for tax purposes and the Matthew Bender/Mosby income tax adjustment (see Note 7 for a summary
of non-operating items). Excluding all non-operating items, the effective tax rate on income from continuing operations in the third quarter and first
three quarters of 2007 were 43.3% and 41 . I%, respectively.

NOTE 4: STOCK~BASED COMPENSAT|ON

Stock-based compensation expense for the third quarters and first three quarters of 2008 and 2007 was as follows (in thousands):

Tllf_rd Ouarter Flrst Three guarters

 

 

 

 

2008 2007 2008 2007
Management equity incentive plan $ 2,922 $ -- $ 15,456 $ _
Opfi°n$( l) - 555 _~ 1,379
Restricted stock units(l) -- 6,385 _. 30’ 103
Employee stock purchase plan(2) - ~_ _ 723
Totai stock-based compensation expense §__.______Z£Zz_ $ 6’940 3 15,456 $ 32,705

 

 

(l) Pursuant to an Agreement and Plan of Merger (the "Merger Agreement") entered into by the Company on April l, 2007 with Great Banc
Trust Company, not in its individual or corporate capacity, but solely as trustee of the Tribune Employee Stock Ownership Trust, a separate
trust which forms a part of the ESOP, Tesop Corporation, a Delaware corporation wholly-owned by the ESOP (“Merger Sub"), and the Zell
Entity (solely for the limited purposes specified therein), which provided for Merger Sub to be merged with and into the Company, and
following such merger, the Company to continue as the surviving corporation wholly-owned by the ESGP (the “Merger”), on Dec. 20,
2007, the Company redeemed for cash all outstanding stock awards, each of which vested in full upon completion of the Merger, with
positive intrinsic value relative to 334.00 per share. All remaining outstanding stock awards under the Tribune Company lncentive Plan
(the "lncentive Plan") as of Dec. 20, 2007 that were not cash settled pursuant to the Merger Agreement were cancelled The Company does
not intend to grant any new equity awards under the lncentive Plan.

(2) ln April 2007, the Company suspended further contributions to the employee stock purchase plan, which was discontinued as of Dec. 20,
2007, following the consummation of the Merger.

On Dec4 20, 2007, the Board approved the Company’s 2007 Management Equity lncentive Plan (the “MEIP”). The MElP provides for phantom units
(the “Units") that generally track the fair value of a share of the Company’s common stock, as determined by the trustee of the Company’s Employee
Stock Ownership Plan (see Note 5). MElP awards have been made to eligible members of the Company’s management and other key employees at the
discretion of the Board.

The Company accounts for the Units issued under the MEIP as liability-classified awards. As a result, the Company is required to adjust its MEIP
liability to reflect the most recent estimate of the fair value of a share of the Company’s conunon stock. ln the third quarter and first three quarters of
2008, the Company recorded $2.9 million and $15,5 million of compensation expense, respectively, in connection with the MElP, of which $3.8 million
recorded in the third quarter of 2008 and $l4.l million recorded in the first three quarters of 2008

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were based on the estimated f`air value of`the Company’s common stock. The Company’s liability under the MElP is included in other non~current
liabilities on the Company’s unaudited condensed consolidated balance sheet and totaled 517 million and 316 million at Sept. 28, 2008 and Dec, 30,
2007, respectively, The estimated f`air value per share of the Company’s common stock did not change during the third quarter of` 2008.

For the first three quarters of 2008, total stock»based compensation expense excluded $552,000 of`costs related to discontinued operations For the third
quarter of 2007, total stock~based compensation expense excluded 5190,000 of costs related to discontinued operations and $32,000 of capitalized costs.
For the first three quarters of 2007, total stock-based compensation expense excluded $678,000 of costs related to discontinued operations and $176,000
of capitalized costs

NOTE 5: EMPLOYEE ST()CK OWNERSH|P PLAN

On April l, 2007, the Company established the ESOF as a long~term employee benefit plan. Gn that date, the ESOP purchased 8,928,571 shares of the
Company’s common stock. The ESOP paid for this purchase with a promissory note of the ESOP in favor of the Company in the principal amount of
$250 million, to be repaid by the ESOP over the 30-year life of`thc loan through its use ofcontributions from the Company to the ESOP and/or
distributions paid on the shares ofthe Company’s common stock held by the ESOP, Upon consummation of the Merger, the 8,928,571 shares of the
Company’s common stock held by the ESOP were converted into 56,521,739 shares of common stock.

The ESOP provides f`or the allocation of`the Company`s common shares it holds on a noncontributory basis to eligible employees of the Company, None
of the shares held by the ESOP had been committed for release or allocated to employees at Dec. 30, 2007, For fiscal year 2008, as the ESOP repays the
loan through its use of contributions from the Company, shares will be released and allocated to eligible employees in proportion to their eligible
compensation The shares that are released for allocation on an annual basis will be in the same proportion that the current year’s principal and interest
payments bear in relation to the total remaining principal and interest payments to be paid over the life of the $250 million ES()P loan. The Company
will recognize compensation expense based on the estimated fair value of the shares of the Company’s common stock that are allocated in each annual
period. ln the third quarter and first three quarters of 2008, the Company recognized $9.3 million and 332 million, respectively, of compensation
expense related to the ESOP.

The Company’s policy is to present unallocated shares held by the ESOP at book value, net of unearned compensation, and allocated shares, which
include shares expected to be released as of the end of` the year, at t`air value in the Company’s consolidated balance sheet. Pursuant to the terms of the
ESOP, participants who receive distributions of`shares of the Company’s common stock can require the Company to repurchase those shares within a
specified time period following such distribution Accordingly, the shares of the Company’s common stock held by the ESOP arc classified outside of`
shareholders’ equity (deficit), net of unearned compensation, in the Company’s consolidated balance sheets. The amounts at Sept. 28, 2008 and Dec. 30,
2007 were as follows (in thousands):

 

 

Se]L. 28. 2008 Dec. 30. 2007
ESOP shares (at fair value)(l) $ 31,860 $ -»
Unallocated ESOP shares (at book value) 236,579 250,000
Uneamed compensation related to ESOP (236,579) (250,000)
Common shares held by ESOP, net of unearned compensation 5 31‘860 5 *

 

(l) Represents 3,034,342 shares expected to be released with respect to fiscal year 2008 as measured on Sept. 28, 2008.

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a.

 

At Sept. 28, 2008 and Dec. 30, 2007, the estimated fair value of the unallocated shares held by the ESOP was approximately $562 million and $593
million, respectively. ln accordance with the terms of the ESOP, the fair value per share of the Company’s common stock is determined as of` each fiscal
year end by the trustee of the ESOP. The estimated fair value per share of the Company’s common stock has not been changed during the third quarter
and first three quarters of 2008.

NOTE 6: PENS|ON AND OTHER POSTRETlREMENT BENEF!TS

The components of net periodic benefit cost (credit) f`or Company~sponsored pension and other postretirement benefits plans for the third quarters and
first three quarters of 2008 and 2007 were as follows (in thousands):

Pension Beneflts Other Postretirement Benefits
Third uarter Th§'d Ouarter

 

2008 2007 2008 2007

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Service cost $ 5,216 $ 611 $ 219 $ 322
Interest cost 21,942 21,232 1,946 2, 125
Expected return on plans’ assets (36.016) (35,198) - ~
Recognized actuarial loss (gain) 5,493 l 1,844 (396) 127
Amortization of prior service costs (credits) 306 96 (203) (362)
Special termination benefits( l) 28,240 ._ h __
Curtailment gain(2) _‘~ “~‘ (4.544) ~
Net periodic benefit cost (credit)(3) 5 25' 181 $ (1.4|5) $ (2,978) $ 2,212
Pension Benefits Other Postretirement Benefits
Flrst Three Ouarters Flrst Tl_}ree Ouarters
2008 2007 2008 2007
Service cost $ 16,334 $ 1,484 3 738 $ 968
Interest cost 66,539 63,000 5,633 5,869
Expected return on plans’ assets (109,105) (104,524) -~ -~
Recognized actuarial loss (gain) 16,809 35,326 (876) 135
Amortization of prior service costs (credits) 1,042 165 (931) (1,084)
Special termination benefits(l) 59,528 - '_ -
cunanmem (gain) ioss(z) 17.147 ~ (4,544) -
Net periodic benefit cost (credit)(3) 3 68'294 5 (4'549) 3 20 3 5~888

 

(l) chresents one-time pension benefits related to the elimination of approximately 700 positions in the third quarter of` 2008 and 1,600
positions in the first three quarters of 2008. The first three quarters of 2008 includes $7.4 million of one-time pension benefits related to
discontinued operations These position eliminations in the first three quarters of 2008, excluding those related to discontinued operations,
did not constitute a curtailment as defined in FASB Statemcnt No. 88, “Employers’ Accounting for Settlements and Curtailments of
Defined Benefit Pension Plans and for Tennination Benefits”. Additional position eliminations in the fourth quarter of 2008 may result in
a curtailment and remeasurement of Company¢sponsored pension plan obligations and assets.

(2) Relates entirely to the NMG transaction and is included in discontinued operations

(3) lncludes benefit costs related to discontinued operations, other than the amounts related to special termination benefits and the curtailment
(gain) loss described above, of`$.6 million and $.3 million for the third quarters of 2008 and 2007, respectively, and $ l .8 million and $.8
million for the first three quarters of 2008 and 2007, respectively.

For the year ending Dec. 28, 2008, the Company plans to contribute $6 million to certain of its union and non~qualified pension plans and 313 million
to its other postretirement plans. fn the first three quarters of 2008, the Company made $5 million of contributions to its union and non~qualified
pension plans and $ 10 million of contributions to its other postretirement plans.

13

The Company accounts for its company»sponsored pension and other postretirement benefits plans in accordance with FAS No. 158, “Employers‘
Accounting for Defined Benefit Pension and Other Postretirement Plans. an amendment of FASB Statements No. 87, 88, 106 and 132(R)", which
requires the Company to recognize the overfunded or underf`unded status of its defined benefit pension and other postretirement plans as an asset or
liability in its statement of financial position. Certain Company~sponsored pension plan assets are comprised of investments in stocks, bonds, fixed
income securities, mutual funds and other investment securities As a result of the current global economic instability, the fair value of these pension
plan assets has experienced increased volatility. The funded status ofthe Company~sponsored pension plans presented in the Company’s consolidated
balance sheet will be remeasured at Dec. 28, 2008 utilizing, among other things, updated actuarial assumptions and the fair value of pension plan assets

as of that date. ln addition, the impact of potential changes in the fair value of pension plan assets on future minimum required contributions to these
plans, if any, cannot be determined at this time.

NOTE 7: CHANGES lN OPERAT!ONS AND NON-OPERATING lTEMS

Non-operating items-The third quarter and first three quarters of 2008 included several non-operating items, summarized as follows (in thousands):

 

 

Third Quarter 2008 Flrst Th_ree Ouarters 2008
Pretax After-tax Pretax After-tax

Gain |Lossz Gain jLossl Gain §Loss[ Gain gLoss}

Gain (loss) on change in fair values
of PHONES and related investment $ (8,360) $ (8,262) $ 97,960 $ 96,803

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Gain on sales of investments net 78,675 54,594 67,375 43,202
Other, net 372 368 527 523
income tax adjustment - - - 1,859,358
Towl non_Opem!ing items $ 70,687 $ 46,700 $ 165,862 $ 1,999,886

 

ln the third quarter of 2008, the $8 million non-cash pretax loss on change in fair values of PHONES and related investment resulted primarily from a
$4 million increase in the fair value ofthe Company’s Pl{()NES and a $3 million decrease in the fair value of 16 million shares of Time Wamer
common stock. ln the first three quarters 0f`2008, the $98 million non-cash pretax gain on change in fair values ot`PHONES and related investment
resulted primarily from a $140 million decrease in the fair value ofthe Company’s PHONES, partially offset by a $39 million decrease in the fair value
of` 16 million shares ofTime Wamer common stock. Eff`ective Dec. 31, 2007, the Company has elected to account for its PHONES utilizing the fair
value option under FAS No. 159. As a result ofthis election, the Company no longer measures just the changes in fair value of the derivative component
ofthe PH()N ES, but instead measures the changes in fair value of the entire PHONES debt. See Note 10 for further information pertaining to the
Company’s adoption of`l-`AS No. 159, On Sept. 2, 2008, the Company sold a 10 percent interest in CareerBuilder, LLC to Gannett Co., lnc. ("Gannett")
for $135 million and recorded a $79 million non-operating pretax gain in the third quarter of2008, The Company utilized $81 million ofthe net
proceeds from this transaction to pay down the Company’s Tranche X Facility (see Note lO). On June 30, 2008. the Company sold its 42.5% investment
in ShopLocal, LLC (“ShopLocal”) to Gannett and received net proceeds of $22 million. The Company recorded a $ 10 million non-operating pretax loss
in the second quarter of 2008 to write down its investment in ShopLocal to the amount of net proceeds received. The favorable income tax adjustment of
$1,859 million in the first three quarters of 2008 related to the Company`s election to be treated as a subchapter S corporation, which resulted in the
elimination of nearly all of the Company’s net deferred tax liabilities See Note 3 for further information pertaining to the Company’s election to be
treated as a subchapter S corporation

 

The third quarter and first three quarters of 2007 included several non-operating items, summarized as follows (in thousands):

 

Thlrd Ouarter 2007 Fl_rst Three O\_Larters 2007
Pretax After-tax Pretax After-tax

Gain tLossz Gain §Loss! Galrr gLossl Galn gLoss}

Loss on change in fair values

 

 

of PHGNES and related investment $ (8»4,969) $ (51,831) 5 (182,144) $ (ll 1,108)
Strategic transaction expenses (3,160) (3,|60) (38,557) (32,588)
Gain on TMCT transactions 8,329 5,081 8,329 5,081
Other, net 1,936 1,180 23,450 14,305
Income tax adjustment - 90,704 - 90,794
Total non_Opemting items $ (77,864) $ 41,974 $ (188,922) $ (33,606)

 

ln the third quarter of 2007, the $85 million non-cash pretax loss on change in fair values of PHONES and related investment resulted primarin from a
$41 million increase in the fair value of the derivative component of the Company’s PHONES and a $43 million decrease in the fair value of 16 million
shares of Time Wamer common stock. ln the first three quarters of 2007, the $182 million non-cash pretax loss on change in fair values of PHONES
and related investment resulted primarily from a $ 125 million increase in the fair value of the derivative component of the Company’s PHONES and a
$55 million decrease in the fair value of 16 million shares of Time Wamer common stock. Strategic transaction expenses in the third quarter and first
three quarters of 2007 related to the Company’s strategic review and the Leveraged ESOP Transactions These expenses for the first three quarters of
2007 included a $13.5 million pretax loss from refinancing certain credit agreements The gain on TMCT transactions in the third quarter of 2007
included an $8 million gain related to the redemption of the Company’s remaining interests in TMCT, LLC and TMCT ll, LLC. Other, net in the first
three quarters of 2007 included an 318 million pretax gain from the settlement of the Company’s Hurricane Katrina insurance claim. The third quarter of
2007 included a favorable $91 million income tax expense adjustment related to the settlement of the Company’s Matthew Bender and Mosby income
tax appeal (see Note 3).

Employee reductions-~The Company reduced staffing levels related to its continuing operations by approximately 800 positions in the third quarter of
2008 and 1,500 positions in the first three quarters of 2008. The Company recorded pretax charges related to these reductions of $44.6 million and

$1 15,2 million in the third quarter and first three quarters of 2008, respectively. These amounts included $28.2 million and $52.1 million, respectively,
of special termination benefits payable by the Company’s pension plan (see Note 6) and related to the elimination of approximately 700 positions in the
third quarter of 2008 and 1,400 positions in the first three quarters of 2008. The amounts for the first three quarters of 2008 excluded the elimination of
approximately 200 positions and a pretax charge of $13.2 million related to discontinued operations, of which $7.4 million related to special termination
benefits

ln the third quarter and the first three quarters of 2007, the Company reduced its staffing levels by approximately 120 and 580 positions, respectively,

and recorded pretax charges of 34 million and $32 million, respectively. These amounts for the first three quarters of 2007 excluded eliminations of
approximately 20 positions and a pretax charge of $.3 million related to discontinued operations

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Write-off of capitalized software eosts-During the third quarter of 2008, the Company recorded a non-cash pretax charge of $25 million for the
write-off of certain capitalized software application costs related to sottware that the Company no longer intends to utilize. This non~cash charge is

included in selling, general and administrative expense in the Company’s unaudited condensed consolidated statement of operations

 

NOTE 8: |NVENTORIES

lnventories consisted of the following (in thousands):

Newsprint
Supplies and other
Totai inventories

 

 

Sept. 28, 2008 Dec. 30, 2007
3 20,44?` $ 28,664
l 1,345 12,0l l
$ 31,792 $ 40,675

 

Newsprint inventories valued under the LlFO method were less than current cost by approximately 517 million at Sept. 28, 2008 and $lO million at Dec.

30, 2007.

NOTE 9: GOODW|LL AND OTHER lNTANGlBLE ASSETS

Goodwill and other intangible assets consisted of the following (in thousands):

intangible assets subject to amortization
Subaeriben (uscful lih of 15 to
20 years)
Network all`i|iation agreements
(useful life of 40 years)(l)
Other (useful life of 3 to 40 `
yew)
Total

Goodwill and other lounglble
assets net subject to
amortization

Goodwiii
Publishing
Broadcasting and emma‘mmont
Total goodwill
Newspaper inasmuch
FCC licenses
decname
Total

Totd goodwill and other intangible
audit

 

 

 

 

Sept. 28, 2008 Dec. 30, 2007
Gross Accumul¢ted Net Gross Aceumulated Net
Amount Amortization Amount Amount Amortlzatlon Amount
174,980 3 (80,945) $ 94,035 $ 189,879 $ (81.698) $ 108,181
278,034 (34,776) 243,258 278,034 (29,552) 248,482
30|612 (13.392) 17.2!8 25.38l (l l,707) !3`674
483.624 $ (129,113) 354,51| $ 493,294 $ 1122,957) 370 337
301,667 4,138,685
ll440|628 1‘441‘241
l ,742,295 5,579,926
197,000 l,412,937
871,946 371,946
_______vaa ________1.232
2l819|l73 7 872|741
§ 3!173!684 $ 8!24§078

(l) Network affiliation agreements, net of accumulated amortization, included 5170 million related to FGX afi`iliations, $70 million related to
CW affiliations and $3 million related to MyNetworkTV affiliations as of Sept. 28, 2008.

 

The changes in the carrying amounts of intangible assets during the first three quarters ended Sept. 28, 2008 were as follows (in thousands):

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Broadcasting

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and

Publishing Entertainment Total
intangible assets subject to amortization _
Balance as of Dec. 30, 2007 S 70,905 $ 299,432 $ 370,337
Amortization expense (6,236) (7,729) (13,965)
Acquisitions 6,003 - 6,003
Disposition ofdiscontinued operations (see Note 2) (7,819) - (7,8|9)
Foreign currency translation adjustment (45) - (45)
Balance as ofSept. 28, 2008 s 62’808 s 291'703 5 354»5] l
Goodwill
Balance as of Dec. 30, 2007 $ 4,138,685 $ 1,441,241 $ 5,579,926
Disposition of discontinued operations (see Note 2) (830,48|) - (830,48|)
Reclassitication to assets held for disposition (see Note 2) -- (613) (6|3)
Acquisitions 475 - 475
impairment write-down of goodwill (3,007,000) * (3,007,000)
Foreign currency translation adjustment (12) - (12)
Balance as of Sept. 28, 2008 $ 301,667 $ 1,440,628 $ 1,742,295
Other lntangible assets not subject to amortization
Balance as of Dec. 30, 2007 $ l,420,869 $ 871,946 $ 2,292,8l5
Disposition of discontinued operations (see Note 2) (379,826) -~ (379,826)
lmpairment write-down of newspaper masthead assets (836,1 1 1) " (836»|11)
Balance as ofsepl_ 28’ 2008 $ 204,932 $ 87l,946 $ 1,076,878
ram goodwin and outer intangibles as or sepc. zs, 2003 5 569,407 3 2,604,277 $ 3»173,634

 

0n March 13, 2008, the Company filed an election to be treated as a subchapter S corporation under the lntcmal Revenue Code, which election was
effective as ofthe beginning ot` the Company’s 2008 fiscal year. As a result, approximately $ l ,859 million of the Company’s net deferred tax liabilities
were eliminated and such adjustment was recorded as a reduction in the Company’s provision for income tax expense in the first quarter of 2008 (see Note
3). This adjustment resulted in an increase in the carrying values of the Company’s reporting units,

As disclosed in Note l and in the Company’s Annual Report on Form lO-l( for the fiscal year ended Dec. 30, 2007, the Company reviews goodwill and
certain intangible assets no longer being amortized for impairment annually in the fourth quarter of each year, or more frequently if events or changes in
circumstances indicate that an asset may be impaired, in accordance with FAS No. l42.

During 2008, each of the Company’s major newspapers has experienced significant continuing declines in advertising revenues due to a variety of
factors, including weak national and local economic conditions, which has reduced advertising demand, and increased competition, particularly from on-
line media. The largest decreases in advertising revenue have been in the real estate and recruitment classified advertising categories. The advertising
shortfalls have caused significant declines in the Company’s publishing segment operating profit. Due to the declines in actual and projected newspaper
advertising revenues, the Company performed an impairment review of goodwill attributable to its newspaper reporting unit and newspaper mastheads
in the second quarter of 2008. The review was conducted after $830 million of newspaper reporting unit goodwill and $380 million of the newspaper
masthead assets were allocated to the NMG transaction (see Note 2). As a result of the impairment review conducted in the second quarter of 2008, the
Company recorded non-cash pretax impairment charges totaling $3,843 million ($3,832 million after taxes) to write down its newspaper reporting unit
goodwill by $3,007 million ($3,006 million after taxes) and four newspaper mastheads by a total

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of $836 million ($826 million after taxcs). These non-cash impairment charges are reflected as write~downs of intangible assets in the Company’s
unaudited condensed consolidated statements of operations The impairment charges do not affect the Company’s operating cash flows or its compliance
with its financial debt covenants.

ln accordance with FAS No. l42, the impairment review performed in the second quarter of 2008 was based on estimated fair values. The total fair
value of the Company’s newspaper reporting unit was estimated based on projected future discounted cash flow analyses and market valuations of
comparable companies Under FAS No. 142, the estimated fair value of goodwill of a reporting unit is determined by calculating the residual fair value
that remains after the total estimated fair value of the reporting unit is allocated to its net assets other than goodwill The Company’s impairment review
performed in the second quarter of 2008 resulted in an estimated fair value for newspaper reporting unit goodwill of$l85 million, which compared to a
book value before the impairment charge at June 29, 2008 of $3,|92 million following the reclassification of goodwill attributable to NMG (see Note 2)
and therefore resulted in the pretax impairment charge of $3,007 million for goodwill. The estimated fair values of the Company’s newspaper mastheads

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were based on discounted future cash flows calculated utilizing the relief.t`rom-roya|ty method. Newspaper mastheads had a total book value of $l,4l3
million at Dec. 30, 2007, and pertained to five newspapers, including Newsd¢{v, which were acquired as part ofthe Company’s purchase of The Times
Mirror Company in 2000.

The determination ot`estimated fair values of goodwill and other intangible assets not being amortized requires many judgments, assumptions and
estimates of several critical factors, including revenue and market growth, operating cash fiows, market multiples, and discount rates, as well as specific
economic factors in the publishing and broadcasting industries Adverse changes in expected operating results and/or unfavorable changes in other
economic factors used to estimate fair values could result in additional non-cash impairment charges related to the Company’s publishing and/or
broadcasting and entertainment segments

 

 

 

 

 

 

 

 

 

 

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NOTE 10: DEBT
Debt consisted of the following (in thousands):
Sept. 28, 2008 Dec. 30, 2007
Tranche B Facility due 2014, interest rate of 5.79% and 7.91%, respectively $ 7,$54,825 $ 7,587,163
Tranche X Facility due 2009, interest rate of 5.54% and 7.99%,
respectively 512,000 l,400,000
Bridge Facility due 2008, interest rate of 8.79% and 9.43%, respectively l,600,000 1,600,000
Medium-term notes due 2008, weighted average interest rate of 5.6% in
2008 and 2007 237,585 262,585
Trade receivables securitizim'on facility due July 1, 2010, interest rate of4.90% 225,000 __-
Property financing obligation, effective interest rate of 7.7% (Note 13) __ 35,676
4.875% notes due 20l0, net of unamortized discount of 3295 and $410,
respectively 449,705 449,589
7425% debentures due 2013, net of unamortized discount of $l,536 and
$l,794, respectively 80,547 80,289
5.25% notes due 2015, net of unamortized discount of $l,087 and $l,205,
respectively ' 328,9! 3 32 8,795
7.5% debentures due 2023, net of` unamortized discount of $3,555 and $3,732,
respectively 95,|94 95,0| 6
6.61% debentures due 2027, net of unamortized discount of $2,017 and $2,095, 7
respectively 82,943 82,864
7.25% debentures due 2096, net of unamortized discount of $17,785 and
$l7,926, respectively 130,215 130,073
Subordinated promissory notes due 2018, effective interest rate of 17%, net
of unamortized discount of $164,935 and 3165,000, respectively ` 68,343 60,315
Interest rate swaps l3l,629 l l9,029
Other notes and obligations 45,115 15,091
Total debt excluding PHONES l 1,542,014 12,246,485
2% PHONES debt related to Time Wamer stoc\t, due 2029 279,999 ~ 597,()40
Total debt $ l 1,822,013 $ 12,843,525
Debt was classified as follows in the unaudited condensed consolidated balance sheets (in thousands):
Sept. 28. 2008 Dec. 30. 2007
Current liabilities
PHONES debt related to Time Wamer stock $ 215,991 $ 253,080
Other debt due within one year 619,793 750,239
Totai current debt 835,784 l,003,319
Long-term debts
PHONES debt related to Time Wamer stock 64,008 343,960
Other long-term debt 10'922,22\ l 1»496,246
Totai long-term debt 10,986»229 11,340,206
Totai dew $ 11,822,013 $ 12,843,525

 

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Credit Agreements-On May l7, 2007, the Company entered into a $8.028 billion senior secured credit agreement, as amended on June 4, 2007
(collectively, the "Credit Agreement"). The Credit Agreement consists ofthe following facilities: (a) a $1.50 billion Senior Tranche X Term Loan
Facility (the "Tranche X Facility"). (b) a $5.515 billion Senior Tranche B Term Loan Facility (the "Tranche B Facility"), (c) a $263 million Delayed
Draw Senior Tranche B Term Loan Facility (the "Delayed Draw Facility") and (d) a $750 million Revolving Credit Facility (the "Revolving Credit
Facility"). The Credit Agreement also provided a commitment for an additional $2. 105 billion in new incremental tenn loans under the Tranche B
Facility (the

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“lncremental Facility"), Accordingly, the aggregate amount ofthe facilities under the Credit Agreement equals $10. 133 billion.

On June 4. 2007\ proceeds from the Tranche X Facility and the Tranche B Facility were used by the Company in connection with the consummation of
the Company`s tender offer to repurchase 126 million shares of the Company’s common stock that were then outstanding at a price of$34.00 per share
in cash and to refinance the Company’s fortner five~year credit agreement and former bridge credit agreement

The Revolving Credit Facility includes a letter ofcredit subfacility in an amount up to $250 million and a swing line facility in an amount up to $ 100
million, As ofSept. 28, 2008, the Company had 598 million ofletters ofcredit outstanding Borrowings under the Revolving Credit Facility may be
used for working capital and general corporate purposes On Oct. 17, 2008, the Company sent a notice to draw $250 million in principal amount under
the Revolving Credit Facility, of which $237 million was funded. The shortfall ofapproximately $13 million is a result ofthe fact that Lehman Brothers
Commercial Bank, which provides a commitment in the amount of $40 million under the Company’s $750 million Revolving Credit Facility, declined to
participate in the Company’s $250 million funding request. Lehman Brothers Commercial Bank is an affiliate of Lehman Brothers Holdings lnc,, which
filed a petition under Chapter 1 1 ofthe United States Bankruptcy Code with the United States Bankruptcy Coun for the Southem District of New York
on Sept. 15, 2008. Although Lehman Brothers Commercial Bank is not a party to that bankruptcy proceeding it has informed the Company that it does
not intend to participate in any funding requests under the Revolving Credit Facility, The Company can provide no assurances that it could obtain
replacement loan commitments from other banks. The Company borrowed under the Revolving Credit Facility to increase its cash position to preserve
its financial flexibility in light of current uncertainty in the credit markets The remaining undrawn amount available under the Revolving Credit Facility
after giving effect to this borrowing and the 398 million of outstanding letters of credit is approximately 3415 million, including the $40 million Lehman
Brothers Commercial Bank commitment.

On Dec. 20, 2007, the Company entered into (i) a $ 1 .6 billion senior unsecured interim loan agreement (the “lnterim Credit Agreement") and (ii) a
number of increase joinders pursuant to which the lncremental Facility became a part of the Tranche B Facility under the Credit Agreement (the
lncremental Facility and Tranche B Facility are hereinafter referred to collectively as the Tranche B Facility). The lnterim Credit Agreement contains a
$1.6 billion twelve~month bridge facility (the “Bridge Facility"). The total proceeds of $3.705 billion from the Bridge Facility and the lncremental
Facility were used by the Company, among other ways, in connection with the consummation of the Merger and for general corporate purposes

Prior to the consummation of the Merger, the Tranche X Facility bore interest per annum at a variable rate equal to, at the Company’s election, the
applicable base rate plus a margin of 150 basis points or LlBOR plus a margin of 250 basis points. Pursuant to the terms of the Credit Agreement,
following the closing ofthe Merger, the margins applicable to the Tranche X Facility increased to 175 basis points and 275 basis points, respectively.

The Tranche B Facility, Delayed Draw Facility and Revolving Credit Facility bear interest per annum at a variable rate equal to, at the Company’s
election, the applicable base rate plus a margin of 200 basis points or LlBOR plus a margin of 300 basis points. All undrawn amounts under the Delayed
Draw Facility and the Revolving Credit Facility accrue commitment fees at a per annum rate of 75 basis points and 50 basis points, respectively. With
respect to the Revolving Credit Facility only, the margin applicable to base rate advances, the margin applicable to LlBOR advances and the
commitment fee applicable to undrawn amounts are subject to decreases based on a leverage-based grid.

On June 29, 2007, the Company repaid $lOO million of the $l.5 billion of borrowings under the Tranche X Facility. During the third quarter of 2008, the
Company repaid an aggregate 0f`$888 million of the borrowings under the Tranche X Facility, utilizing the net cash proceeds of $218 million from a
million trade receivables securitization facility entered into on july 1, 2008 (see discussion below), $589 million of the net cash proceeds from the NMG
transaction (see Note 2) and $81 million of the net cash proceeds from the sale of a

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10 percent interest in CareerBuilder, LLC to Gannett (see Note 7). The prepayments in the third quarter of`2008 satisfied a required principal repayment
of $650 million on the Tranche X Facility that was otherwise due on Dec. 4, 2008. The remaining principal balance on the Tranche X facility of $5 12
million must be repaid on June 4, 2009, which amount may be adjusted to reflect additional prepayments or other mandatory prepayments (as described
below) applied thereto prior to that date.

The Tranche B Facility is a seven-year facility which matures on June 4, 2014 and also amortizes at a rate of 1,0% per annum (payable quarterly). The
Revolving Credit Facility is a six-year facility and matures on June 4, 2013. ln February 2008, the Company refinanced $25 million ofits medium-term
notes with borrowings under the Delayed Draw Facility, The Delayed Draw Facility automatically becomes part of the Tranche B Facility as amounts
are borrowed and amortizes based upon the Tranche B Facility amortization schedule. On Oct. 6, 2008, the Company refinanced an additional $168
million of the remaining medium-tenn notes with additional borrowings under the Delayed Draw Facility. The Company intends to use the Delayed

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Draw Facility to refinance the remaining $70 million ofits medium~tenn notes as they mature during 2008. Accordingly, the Company has classified its
medium~tenn notes as long-term at Sept, 28, 2008 and Dec. 30, 2007,

Borrowings under the Credit Agreement are prepayable at any time prior to maturity without penalty, and the unutilized portion of the commitments
under the Revolving Credit Facility or the Delayed Draw Facility may be reduced at the option of the Company without penalty.

Upon execution of the lnterim Cred1t Agreement loans under the Bridge Facility bore interest per annum at a variable rate equal to at the Company’ s
election the applicable base rate plus a margin of 350 basis points or LlBOR plus a margin of 450 basis points Pursuant to the terms of the lnterim
Credit Agreement such margins increased by 50 basis points per annum on March 20 2008 June 20, 2008 and Sept. 20, 2008 and will continue to
increase by this amount in each succeeding quarter, subject to specified caps, a portion of which interest may be payable through an interest payable-in-
kind feature Subject to certain prepayment restrictions contained in the Credit Agreement, the Bridge Facility is prepayable at any time prior to
maturity without penalty, including in connection with the issuance of up to $1.6 billion ofhigh-yield notes, Eff`ective Oet. 2l, 2008, the Company
made an election under its interim Credit Agreement to convert the variable interest rate applicable to its borrowings under the Bridge Facility from
LlBOR plus a margin of600 basis points to an applicable base rate plus 500 basis points.

lf any loans under the Bridge Facility remain outstanding on Dec. 20, 2008, the lenders thereunder will have the option, subject to the terms of the
lnterim Credit Agreement, at any time and from time to time to exchange such initial loans for senior exchange notes that the Company will issue under
a senior indenture, and the maturity date of any initial loans that are not exchanged for senior exchange notes will, unless a bankruptcy event of default
has occurred and is continuing on such date, automatically be extended to Dec, 20, 2015 (the "Final lnterim Credit Agreement Maturity Date”).
Accordingly, the Company has classified the borrowings under the Bridge Facility as long~tenn at Sept. 28, 2008 and Dec. 30, 2007, The senior
exchange notes will also mature on the Final lnterim Credit Agreement Maturity Date. llolders of the senior exchange notes will have registration rights.

Loans under the Tranche X Facility, Tranche B Facility and Revolving Credit Facility are required to be repaid with the following proceeds, subject to
certain exceptions and exclusions set forth in the Credit Agreement: (a) 100% of the net cash proceeds from the issuance or incurrence of debt for
borrowed money by the Company or any subsidiary (other than debt permitted to be incurred under the negative covenants contained in the Credit
Agreement (with certain exclusions)), (b) certain specified percentages of excess cash flow proceeds based on a leverage~based grid ranging from 50%
to 0% and (c) 100% of the net cash proceeds from all asset sales, certain dispositions, share issuances by the Company’s subsidiaries and casualty events
unless, in each case, the Company reinvests the proceeds pursuant to the terms ofthe Credit Agreement. As noted above, aggregate repayments of the
Tranche X facility of $888 million were made during the third quarter of 2008 pursuant to these provisions

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Loans under the Bridge Facility are required to be repaid with the following proceeds, in each case alter the obligations under the Credit Agreement have
been repaid, either as required by the Credit Agreement or repaid at the election of the Company, subject to certain exceptions and exclusions set forth in
the lnterim Credit Agreement: (a) 100% of the net cash proceeds from the issuance or incurrence of certain debt for borrowed money by the Company or
any subsidiary, (b) 100% of the net cash proceeds of any equity issuance consummated by the Company and (c) IOO% ofthe net cash proceeds from all
asset sales, certain dispositions, share issuances by the Company’s subsidiaries and casualty events unless, in each case, the Company reinvests the
proceeds pursuant to the terms of the lnterim Credit Agreement.

Borrowings under the Credit Agreement are guaranteed on a senior basis by certain of the Company’ s direct and indirect U S subsidiaries and secured by
a pledge of the equity interests of Tribune Broadcasting Holdco, LLC and Tribune Finance, LLC, two subsidiaries of the Company The Company’ s
other senior notes and senior debentures are secured on an equal and ratable basis with the borrowings under the Credit Agreement as required by the
terms of the indentures governing such notes and debentures Borrowings under the lnterim Credit Agreement are unsecured, but are guaranteed on a
senior subordinated basis by certain of the Company’s direct and indirect U.S. subsidiaries

The Credit Agreement and the lnterim Credit Agreement contain representations and warranties, affirmative and negative covenants, including
restrictions on capital expenditures, and events of default, in each case subject to customary and negotiated exceptions and limitations, as applicable. l f
an event of default occurs, the lenders under the Credit Agreement and the lnterim Credit Agreement will be entitled to take certain actions, including
acceleration of all amounts due under the facilities

Further, pursuant to the Credit Agreement, the Company is required to comply, on a quarterly basis, with a maximum total guaranteed leverage ratio
and a minimum interest coverage ratio. F or each of the four fiscal quarters of the Company’s 2008 fiscal year, the Credit Agreement covenants require a
maximum “'l`otal Guaranteed Leverage Ratio" of 9.00 to 1,00 and a minimum "lnterest Coverage Ratio” (each as defined in the Credit Agreement) of
l.l5 to l.00. Both of these financial covenant ratios are measured on a rolling four~quarter basis and become more restrictive on an annual basis. For
each of the four fiscal quarters of the Company’s 2009 fiscal year, the maximum Total Guaranteed Leverage Ratio required by the covenants will be
reduced to 8.75 to 1100 and the minimum lnterestCoverage Ratio will be increased to l.20 to 1.00. At Sept. 28, 2008, the Company was in compliance
with these financial covenants The Company’s ability to maintain compliance with these financial covenants is dependent, however, on various factors,
certain of which are outside of the Company’s control. Such factors include the Company’s ability to generate sufficient revenues and earnings from
operations, the Company’s ability to achieve reductions in it outstanding indebtedness, changes in interest rates, the impact on eamings, cash flow or
indebtedness from sale. purchase, joint venture or similar transactions involving the Company’s assets, investments and liabilities and the other risks and
uncertainties set forth in Part l, ltem IA, "Risk Factors” in the Company’s Annual Report on Form lO-K for the fiscal year ended Dec. 30, 2007 and in
Part ll, ltem IA, "Risk Factors" in this Form lO-Q.

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On March 13, 2008, the Company filed an election to be treated as a subchapter S corporation under the lntemal Revenue Code` which election is
effective as of the beginning of the Company’s 2008 fiscal year. The Credit Agreement and the lnterim Credit Agreement contain affirmative covenants
which required the Company to make such election and that the election be effective for fiscal year 2008. The Credit Agreement and lnterim Credit
Agreement further provide that if the Company fails to maintain the S corporation election for any year beginning with 2009, the Company will be
required in each such year to obtain an investment in the Company in the form of common stock or subordinated debt in an amount of up to $lOO
million. There can be no assurance that the Company will be able to obtain such an investment and the failure to obtain such an investment in those
circumstances could result in a default under the Credit Agreement and lnterim Credit Agreement,

Under the terms ofthe Credit Agreement, the Company is required to enter into hedge arrangements to offset a percentage ofits interest rate exposure
under the Credit Agreement and other debt with respect to borrowed money, ()n July 2. 2007, the Company entered into an lntemational Swap and

Derivatives Association, lnc.

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(“lSDA") Master Agreement, a schedule to the 1992 lSDA Mastcr Agreement and, on July 3, 2007, entered into three interest rate swap confirmations
(collectively, the "Swap Documents") with Barclays Bank, which Swap Documents provide for (i) a two-year hedge with respect to $750 million in
notional amount, (ii) a three-year hedge with respect to $l billion in notional amount and (iii) a five-year hedge with respect to $750 million in notional
amount. The Swap Documents effectively converted a portion of the variable rate borrowings under the Tranche B Facility in the Credit Agreement to a
weighted average fixed rate of 5.31% plus a margin of 300 basis points On Aug. 12, 2008, the Company entered into an |SDA Master Agreement, and.
on Aug. 14, 2008, the Company entered into an interest rate cap continuation with Citibank, N.A. This transaction effectively caps LlBOR at 4.25%
with respect to $2.5 billion in notional amount outstanding under the Tranche B Facility for a three~year period expiring July 21, 201 l. The premium
owed under the interest rate cap continuation is approximately $29 million, which represented the fair value of the interest rate cap at

inception. Through Sept. 28. 2008, the Company has accounted for these interest rate swaps and the interest rate cap as cash flow hedges in accordance
with FASB Statement No. 133, "Accounting for Derivative lnstrurncnts and Hedging Activities” (“FAS No. 133"), Under FAS No. 133, a cash flow
hedge is deemed to be highly effective if it is expected that changes in the cash flows of the hedged item are almost fully offset by changes in the cash
flows of the hedging instrument. Effective Oct. 21, 2008, the Company made an election under its Credit Agreement to convert the variable interest rate
applicable to its borrowings under the Tranche B Facility from LlBOR plus a margin of 300 basis points to an applicable base rate plus 200 basis
points As a result of this election, the Company will no longer account for these interest rate swaps and the interest rate cap as cash flow hedges in
accordance with FAS No, 133 and instead will recognize currently in its statement of operations the changes in the fair values of these instruments
beginning in the fourth quarter of 2008.

As of Sept. 28, 2008, the Company had outstanding borrowings of $7.6 billion under the Tranche B Facility, $512 million under the Tranche X Facility,
and $l.o billion under the Bridge Facility. As of Sept. 28, 2008, the applicable interest rate was 5.79% on the Tranche B Facility, 5.54% on the Tranche
X Facility and 8.79% on the Bridge Facility.

Trade Receivables Securitization Facility-On .luly 1, 2008, the Company and Tribune Receivables LLC, a wholly~owned subsidiary of the Company
(the °‘Receivables Subsidiary"). entered into a $300 million trade receivables securitization facility with a term of two years. The Receivables Subsidiary
borrowed $225 million under this facility and incurred transaction costs totaling $7 million. The net proceeds of $2 18 million were utilized to pay down

the borrowings under the Tranche X Facility.

Pursuant to a receivables purchase agreement, dated as of July l, 2008, among the Company, the Receivables Subsidiary and certain other subsidiaries of
the Company (the “Operating Subsidiarics”), the Operating Subsidiaries sell certain trade receivables and related assets (the “Receivables”) to the
Company on a daily basis. The Company, in turn, sells such Receivables to the Receivables Subsidiary, also on a daily basis. Receivables transferred to
the Receivables Subsidiary arc assets of the Receivables Subsidiary and not of the Company or any of the Operating Subsidiaries

The Receivables Subsidiary has also entered into a receivables loan agreement, dated as of July l, 2008 (the “Receivables Loan Agreement"), among the
Company, as servicer, the Receivables Subsidiary, as borrower, certain entities from time to time parties thereto as conduit lenders and committed
lenders (the “Lenders"), certain financial institutions from time to time parties thereto as funding agents, and Barclays Bank PLC, as administrative
agent Pursuant to the Receivables Loan Agreement, the Lenders, from time to time, make advances to the Receivables Subsidiary. The advances are
secured by, and repaid through collections on, the Receivables owned by the Receivables Subsidiary. The aggregate outstanding principal amount of the
advances may not exceed $300 million. The Receivables Loan Agreement requires the Company to comply with the financial covenants described in the
“Credit Agreements" section of this Note 10. The Company (directly and indirectly through the Operating Subsidiaries) services the Receivables, and
the Receivables Subsidiary pays a fee to the Company for such services The Receivables Subsidiary will pay a commitment fee on the undrawn portion
of the facility and administrative agent fees.

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ln accordance with FASB Statement No. 140, "Accounting for Transfers and Servicing of Financial Assets and Extinguishments of Liabilities", the

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Company accounts for this arrangement as a secured borrowing by the Receivables Subsidiary and includes the pledged assets in accounts receivable and
the cash advances as long-term debt in its consolidated balance sheet. At Sept. 28, 2008, pledged assets included in accounts receivable were 5489
million and outstanding advances under this facility were S225 million. Advances under the Receivables Loan Agreement that are funded through
commercial paper issued by the Lenders will accrue interest based on the applicable commercial paper interest rate or discount rate, plus a margin. Al|
other advances will accrue interest at (i) LlBOR, (ii) the prime rate or (iii) the federal funds rate, in each case plus an applicable margin. As of Sept. 28,
2008, the applicable interest rate for this facility was 4.9%. The Receivables Loan Agreement includes customary early amortization events and events
of default for facilities of this nature. The Receivables Subsidiary is required to repay the advances in full by no later than July l, 2010v

|nterest Rate Hedging lnstruments-As noted above, the Company is party to three interest rate swaps covered under the Swap Documents and an
interest rate cap, each related to borrowings under the Tranche B Facility. At Sept. 28, 2008, the fair value of the three interest rate swaps had declined
since their inception date ofJuly 3, 2007 by 5100 million, ofwhich $l6 million is included in short-term debt and 384 million is included in long-term
debL The Company determined that $9 million of this change resulted from hedge ineffectiveness ln addition, at Sept. 28, 2008, the fair value of the
interest rate cap declined by 53 million since its inception date ofAug. 18, 2008. The remaining $9| million change in fair value ofthe three interest
rate swaps and the $3 million change in the fair value of the interest rate cap is includcd, net of taxes, in the accumulated other comprehensive income
(loss) component ofshareholders’ equity (deficit) at Sept. 28. 2008. As a result ofthe Company’s election on Oct. 21, 2008 described above to convert
the variable interest rate applicable to its borrowings under the Tranche B Facility to an applicable base rate plus 200 basis points, the Company will
reclassify the previously unrecognized losses on these instruments included in accumulated other comprehensive income (loss), net of taxes, into interest
expense beginning in the fourth quarter of2008. At Sept. 28, these losses totaled 394 million before taxes.

The Company is also party to an additional interest rate swap agreement related to the $ 100 million 7.5% debentures due in 2023 which effectively
converts the fixed 7.5% rate to a variable rate based on LlBOR.

Debt Due Within One Year_Debt due within one year at Sept, 28, 2008 included $512 million ofborrowings under the Tranche X Facility,

379 million of borrowings under the Tranche B Facility, and $216 million related to PHONES. As noted above, during the third quarter of 2008, the
Company repaid an aggregate of $888 million of the borrowings under the Tranche X facility. Debt due within one year at Dec. 30, 2007 included $650
million ot`borrowings under the Tranche X Facility, $76 million of borrowings under the Tranche B Facility, $253 million related to PHONES, and
324 million of property financing and other obligations The Company expects to fund interest and principal payments due in the next twelve months
through a combination of cash flows from operations, available borrowings under the Revolving Credit Facility, and, if necessary, dispositions of assets
or operations The Company’s ability to make scheduled payments or prepayments on its debt and other financial obligations will depend on its future
financial and operating performance and its ability to dispose of assets on favorable terms. There can be no assurances that the Company’s businesses
will generate sufficient cash flows from operations or that future borrowings under the Revolving Credit Facility will be available in an amount
sufficient to satisfy debt maturities or to fund other liquidity needs or that any such asset dispositions can be completed. The Company’s financial and
operating performance is subject to prevailing economic and industry conditions and to tinancial, business and other factors, some of which are beyond
the control of the Company.

lf the Company’s cash flows and capital resources are insufficient to fund debt service obligations. the Company will likely face increased pressure to
reduce or delay capital expenditures, dispose of assets or operations, further reduce the size of its workforce, seek additional capital or restructure or
refinance its indebtedness These actions could have a material adverse effect on the Company’s business, financial condition and results of operations
ln addition, the Company cannot assure the ability to take any of these actions, that these actions would be successful and permit the Company to meet
scheduled debt service

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obligations or that these actions would be permitted under the terms of the Company’s existing or future debt agreements, including the Credit
Agreement and the lnterim Credit Agreement For example, the Company may need to refinance all or a portion of its indebtedness on or before
maturity. There can be no assurance that the Company will be able to refinance any of its indebtedness on commercially reasonable terms or at all, ln
the absence of improved operating results and access to capital resources, the Company could face substantial liquidity problems and might be required
to dispose of material assets or operations to meet its debt service and other obligations The Credit Agreement and the lnterim Credit Agreement
provide certain restrictions on the Company‘s ability to dispose of assets and the use of proceeds from the disposition The Company may not be able to
consummate those dispositions or to obtain the proceeds realized Additionally, these proceeds may not be adequate to meet the debt service obligations
then due.

lf the Company cannot make scheduled payments or prepayments on its debt, the Company will be in default and, as a result, among other things, the
Company’s debt holders could declare all outstanding principal and interest to be due and payable and the Company could be forced into bankruptcy or
liquidation or be required to substantially restructure or alter business operations or debt obligations

Exchangeable Subordioated Debentures due 2029 (“PHONES”)--ln 1999, the Company issued 8 million PHONES for an aggregate principal
amount of approximately $ l .3 billion. The principal amount was equal to the value of 16 million shares of Time Wamer common stock at the closing
price of $78.50 per share on April 7, 1999. Quarterly interest payments are made to the PHONES holders at an annual rate of 2% of the initial principal
Effective Dec. 31, 2007, the Company has elected to account for the PHONES utilizing the fair value option under FAS No. 159. Prior to the adoption
of FAS No. 159, the Company recorded both cash and non-cash interest expense on the discounted debt component of the PHONES. Following the

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adoption of FAS No. 159 for the FHONES, the Company records as interest expense only the cash interest paid on the PHONES. See below for funher
information pertaining to the Company’s adoption of FAS No. 159.

The PHONES debenture agreement requires principal payments equal to any dividends declared on the 16 million shares of Time Wamer common
stock. A payment of $.125 per PHONES was made in the first, second and third quarters of2008 for a Time Wamer dividend declared in the fourth
quarter of2007 and in the first and second quarters of2008. A payment of $. 125 per PHONES will be due in the fourth quarter of 2008 for a Time
Wamer dividend declared in the third quarter of 2008. The Company records the dividends it receives on its Time Wamer common stock as dividend
income and accounts for the related payments to the PHON ES holders as reduction of principal.

The Company may redeem the PHONES at any time for the higher ofthe principal value ofthe PHONES (3155,64 per PHONES at Sept. 28, 2008) or
the then market value of two shares of Time Wamer common stock, subject to certain adjustments At any timev holders of the PHONES may exchange
a PHONES for an amount of cash equal to 95% (or 100% under certain circumstances) of the market value of two shares of Time Wamer common
stock. ()n Sept. 26, 2008, 20 PHONES were exchanged for cash pursuant to this provision At Sept. 28, 2008, the market value per PHONES was
$35.00, and the market value of two shares of Time Wamer common stock was $28.42. The amount PHON ES holders could have received if`they had
elected to exchange their PHONES for cash on Sept. 28, 2008 was $216 million, which is included in current liabilities at Septi 28, 2008_

Prior to the adoption of FAS No. 159, the Company accounted for the PHONES under the provisions of FAS No. 133. Under FAS No. 133, the
PHONES consisted of a discounted debt component, which was presented at book value, and a derivative component, which was presented at fair value.
Changes in the fair value of the derivative component of the PHONES were recorded in the statement of operations At Dec. 30, 2007, the Company
performed a direct valuation of the derivative component of the PHONES utilizing the Black-Scho|es option-pricing model. As noted above, effective
Dec. 31, 2007, the Company has elected to account for the PHONES utilizing the fair value option under FAS No. 159. As a result of this election, the
PHONES no longer consists of a discounted debt component. presented at book value. and a derivative component, presented at fair value, but instead is
presented based on the fair value of the entire PHONES debt. The

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Company made this election as the fair value of the PHONES is readily determinable based on quoted market prices. Changes in the fair value of the
PHONES are recorded in the statement of operations

The following table summarizes the impact of the adoption of FAS No. 159 for the PHONES on the Company`s unaudited condensed consolidated
balance sheet (in thousands):

 

Balances Prlor Net Gaio/(Loss) Balances After
To Adop_t‘lon Upon Adoptioo Adogtlon

PHONES debt (current and long~temi portions) §_..__________£_§_9__7_£0=4=0`) 3 177,040 $______§WM)
Unamortized debt issuance costs related to PHONES

included in other non-current assets 3 18,384 (18,334) $ _-
Pretax cumulative effect of adoption 158,656
lncrease in deferred income tax liabilities ` (6|,376)
Cumulative effect of adoption (increase to

retained eaxrtings) §_._.__..__.M

 

ln accordance with FAS No. 159, the $97 million alter-tax cumulative effect of adoption was recorded directly to retained eamings and was not included
in the Company`s unaudited condensed consolidated statement of operations for the first three quarters ended Sept. 28, 2008.

The market value ofthe PHONES, which are traded on the New York Stock Exchange, was $280 million and $420 million at Sept. 28, 2008 and
Dec. 30, 2007, respectively. The outstanding principal balance of the PHONES was $l,245 million and $l,248 million at Sept. 28, 2008 and Dec. 30,
2007, respectively.

NOTE ll: FAlR VALUE OF FlNANClAL INSTRUMENTS

As discussed in Note l, the Company adopted FAS No. 157 effective Dec. 31, 2007, FAS No. 157 defines fair value, establishes a framework for
measuring fair value and expands disclosures about fair value measurements ln February 2008, the FASB issued Staff Position No. 157-2 (“FSP No.
157~2”) which defers the effective date of FAS No. 157 for all nonfinancial assets and |iabilities, except those items recognized or disclosed at fair value
on an annual or more frequently recurring basis, until one year after the adoption of FAS No. 157. The Company is currently evaluating the impact of
FAS No. 157 on the Company’s assets and liabilities within the scope of FSP 157-2, the provisions of which will become effective beginning in the
Company’s first quarter of 2009.

in accordance with FAS No. 157, the Company has categorized its financial assets and liabilities into a three-level hierarchy as outlined below,

o Level l - Financial assets and liabilities whose values are based on unadjusted quoted prices for identical assets or liabilities in an

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active market. i.evel l tinancia| assets for the Company include its investment in Time Wamer stock related to its PHONES debt and
other investments in the securities of public companies that are classiticd as available for sale. l,evel l financial liabilities for the
Company include its PHON ES debt related to Time Wamer stock (see Note l() for additional information pertaining to the fair value of
the Company’s PHONES debt).

¢ Level 2 ~ Financial assets and liabilities whose values are based on quoted prices in markets where trading occurs infrequently or whose
values are based on quoted prices of instruments with similar attributes in active markets. Level 2 financial assets and liabilities also
include assets and liabilities whose values are derived from valuation models whose inputs are observable. Level 2 financial assets and
liabilities for the Company include its interest rate swaps and its interest rate cap (see Note 10 for additional information on the
Company’s interest rate hedging instruments).

o Level 3 ~ Financial assets and liabilities whose values are based on valuation models or pricing techniques that utilize unobservable
inputs that are significant to the overall fair value measurement The Company does not currently have any Level 3 financial assets or
liabilities

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The following table presents the financial assets and liabilities measured at fair value on a recum`ng basis on the Company’s unaudited condensed
consolidated balance sheet at Sept, 28, 2008 (in thousands):

 

 

Sept. 28. 2008
Level l Level 2

Financial assets:

Time Wamer stock related to PHONES $ 227,360 $ ~

Other investments in securities of public companies 3,073 __

Interest rate hedging instruments - 61,601
Total $ 230,433 $ 6| ,60 l
Financial llahilities:

PHONES debt related to Time Wamer stock $ 279,999 $ ~._

Interest rate hedging instruments -» l3 1,629
rml $ 279,999 $ 131,629

 

NOTE 122 COMPREHENS|VE lNC()ME (LOSS)
Comprehensive income (loss) reflects all changes in the net assets of the Company during the period from transactions and other events and
circumstances, except those resulting from stock issuances, stock repurchases and dividends. The Company’s comprehensive income (loss) includes net

income (loss) and other gains and losses

The Company’s comprehensive income (loss) was as follows (in thousands):

Third Quarter First Three Quarters

 

 

 

 

 

 

2008 2007 2008 2007
Net income (loss) $ (121,576) $ 152,765 $ (2,832,063) $ 165,746
Change in unrecognized benth plan losses,
net oftaxes -» ~ (57,|09) ~
Adjustment for previously unrecognized benefit
plan losses included in net income, net of taxes 5,278 7,072 15,994 21,071
Unrea|ized loss on marketable securities, net of
taxes (l l0) (2,|09) (2,206) (4,440)
Unrecognized gains (losses) on cash flow hedging
lnstruments:
Gains (losses) on cash flow hedging instruments
arising during the period, net of taxes 496 (29,251) (l2,536) (29,25| )
Adjustment for losses on cash flow hedging
instruments included in net incomc, net of
taxes 9,259 -- 7,642 -_
Unrecognized gains (losses) on cash flow
hedging instruments, net of taxes 9,755 (29,25| ) (4,894) (29,25 l)
Change in foreign currency translation
adjustments, net of taxes (79) 272 (144) 476
Other comprehensive income (loss) 14,844 (24,0|6) (48.359) (12,144)
Comprehensive income ( loss) §____(M§) $__Lz_glfl_g 3 (2,330,422) 3 153»607-

 

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NOTE 13: O'I`HER MATTERS

Media Ownership Rules_-Various aspects of the Company’s operations are subject to regulation by governmental authorities in the United States. The
Company’s television and radio broadcasting operations are subject to Federal Communications Commission (“FCC") jurisdiction under the
Communications Act of 1934, as amended FCC rules, among other things, govern the term. renewal and transfer of radio and television broadcasting
|icenses, and limit the number of media interests in a local market that a single entity can own. Federal law also regulates the rates charged for political
advertising and the quantity ofadvertising within children’s programs

On Nov. 30, 2007, the FCC issued an order (the "Grder") granting applications of the Company to transfer control of the Company from the
shareholders to the ESOP. ln the 0rder, the FCC granted the Company temporary waivers of` the newspaper/broadcast cross-ownership rule in Miami,
Florida (WSFL-TV and the Soth Florida Sun-Sentinel); Hartford, Connecticut (WTXX-TV/WTIC-TV and the Hanford Courant); and Los Angeles,
California (KTLA-TV and the Los Angeles Timqs) for a six-month period beginning Jan. l, 2008. The waiver also encompassed New York, New York
(al|owing for the common ownership of WPlX-TV and Newsday); however, following the consummation of the NMG transaction on July 29, 2008 (see
Note 2), the Company no longer has an attributable interest in both a television station and a newspaper in that market. The six-month waiver could be
automatically extended under two conditions: (l) if the Company appeals the 0rder, the waivers are extended for the longer of two years or six months
aher the conclusion of the litigation over the 0rder; or (2) if the FCC adopts a revised newspaper-broadcast cross-ownership mle prior to Jan. l, 2008,
the waivers are extended for a two-year period to allow the Company to come into compliance with any revised ru|e, provided that in the event the
revised rule is the subject of a judicial stay, the waiver is extended until six months after the expiration of any such stay.

The 0rder also granted the Company a permanent waiver of the newspaper-broadcast cross-ownership rule to permit continued common ownership of
WGN-AM, WGN -TV and the Chicago Tribune in Chicago, lllinois; a permanent "failing station" waiver ofthe television duopoly rule to permit
continued common ownership of WTlC-TV and WTXX-TV in Hartf`ord, Connecticut; and granted satellite station status to WT[K-TV, Kokomo,
lndiana to permit continued common ownership with WTI`V-TV, Bloomington, lndiana.

Various parties have ti|ed petitions for reconsideration of the Order with the FCC, which the Company opposed The Company also filed an appeal of
the Order in the United States Court of Appeals for the District of Columbia Cireuit on Dec. 3, 2007, thus automatically extending the waivers for two
years or until six months after the conclusion of that appea|, whichever is longer, The appeal has been held in abeyance pending FCC action on the
petitions for reconsideration lntervenors have filed a motion to dismiss the appeal, which the Company opposed. A decision on the motion to dismiss
has been deferred until briefing on the merits.

On Dec, 18, 2007, the FCC announced in an FCC news release the adoption of revisions to the newspaper/broadcast cross-ownership ru|e. The FCC, on
Feb. 4, 2008, released the full text of the rule. The revised rule establishes a presumption that the common ownership of a daily newspaper of general
circulation and either a television or a radio broadcast station in the top 20 Nielsen Designated Market Areas (“DMAs") would serve the public interest,
provided that, if the transaction involves a television station, (i) at least eight independently owned and operating major media voices (def'rned to include
major newspapers and full-power commercial television stations) would remain in the DMA following the transaction and (ii) the cross-owned
television station is not among the top-four ranked television stations in the DMA. Other proposed newspaper/broadcast transactions would be presumed
not to be in the public interest, except in the case of a “failing" station or newspaper, or in the event that the proposed transaction results in a new source
of news in the market. The FCC did not further relax the television-radio cross-ownership rules, the radio local ownership rules, or the television
duopoly rules. Under the rule adopted, the Company would be entitled to a presumption in favor of common ownership in two of the three of the
Company’s cross-ownership markets (Los Angeles, Ca|ifomia and Miami, Florida) not covered by the FCC‘s grant of a permanent waiver (Chicago,
lllinois).

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Various parties, including the Company, have sought judicial review of the FCC’s order adopting the new rule.

Congress removed national limits on the number of broadcast stations a licensee may own in 1996. However, federal law continues to limit the number
of radio and television stations a single owner may own in a local market, and caps the percentage of the national television audience that may be
reached by a licensee’s television stations in the aggregate at 39%.

Te|evision and radio broadcasting licenses are subject to renewal by the FCC, at which time they may be subject to petitions to deny the license renewal
applications At Sept. 28, 2008, the Company had FCC authorization to operate 23 television stations and one AM radio station_ In order to expedite the
renewal grants, the Company entered into tolling agreements with the FCC for WPlX-TV, New York, WDCW-TV, Washington, D.C., WGNO-TV,
New Or|eans, WXIN-TV, lndianapolis, WXMl-TV, Grand Rapids, WGN-TV, Chicago, WPHL-TV, Philadelphia, KWGN-TV, Denver, KHCW-TV,
Houston, KTLA-TV, Los Angeles, KTXL-TV, Sacramento, KSWB-TV, San Diego, KCPQ-TV, Seattle/Tacoma, WTlC-TV, and WPMT-TV

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|iarrisburg, Pennsylvania. The tolling agreements would allow the FCC to penalize the Company for rule violations that occurred during the previous
license term notwithstanding the grant of renewal applications

The television industry is in the final stages ofthe transition to digital television ("‘DTV"). By law. the transition to DTV is to occur by Feb. l7, 2009.
The FCC has issued an order with the linal, post-transition DTV channel assignments for every full power television station in the U.S. lt also recently
completed a proceeding that established the operating rules for DTV stations just before and after the transition in February 2009. Conversion to digital
transmission requires all television broadcasters including those owned by the Company, to invest in digital equipment and facilities At Sept, 28, 2008,
all of the Company’s television stations were operating DTV stations in compliance with the applicable FCC rules or policies

The FCC still has not resolved a number of issues relating to the operation ol` DTV stations, including the possible imposition ofadditional “public
interest" obligations attached to broadcasters’ use of digital spectrum.

From time to time, the FCC revises existing regulations and policies in ways that could affect the Company’s broadcasting operations 1n addition.
Congress from time to time considers and adopts substantive amendments to the governing communications legislation The Company cannot predict
what regulations or legislation may be proposed or finally enacted or what effect, if any, such regulations or legislation could have on the Company’s
broadcasting operations.

Variable |nterest Entities-The Company holds significant variable interests, as defined by FASB lnterpretation No. 46R, "Conso|idation of
Variab|e |nterest Entities," in Newsday LLC, Classified Ventures, LLC and Topix, LLC, but the Company has determined that it is not the primary
beneficiary ot` these entities. The Company’s maximum loss exposure related to Classified Ventures, LLC and Topix. LLC is limited to its equity
investments in these cntities. which were 533 million and 322 million. respectively, at Sept. 28, 2008. The Company’s equity investment in the
parent company of Newsday LLC was $20 million at Sept. 28, 2008. As discussed in Not_e 2, the Company agreed to indemnify CSC and NMG
Ho|dings, lnc. with respect to any payments that CSC or NMG Ho|dings, lnc. makes under their guarantee of the $650 million of borrowings by
Newsday LLC and its parent company under the secured credit facility. ln the event the Company is required to perform under this indemnity, the
Company will be subrogated to and acquire all rights of CSC and NMG Ho|dings, Inc. against Newsday LLC and its parent company to the extent
of the payments made pursuant to the indemnity From the closing date of July 29, 2008 through the third anniversary of the closing date, the
maximum amount of potential indemnification payments is $650 million. Afier the third year, the Maximum Indemnification Amount is reduced
by 3120 million, and each year thereafter by $35 million until January l, 2018, at which point the Maximum lndemnification Amount is reduced to
$0.

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New Operating Agreements--Effective Oct. 3, 2008, the Company entered into a shared services agreement for its KPLR-TV station in St. Louis,
Missouri and a local marketing agreement for its KWGN-TV station in Denver, Colorado, each with subsidiaries of Local TV Holdings, LLC (“Local
TV"). The agreements will allow the Company to combine the operations of these stations with the FOX Network affiliates owned by Local TV in each
market, including combining operating facilities. news operations and sharing certain programming

Aequisition of TMCT Real Properties_-On Sept. 22, 2006, the Company amended the terms of its lease agreeth with TMCT, LLC, an investment
trust in which the Company formerly held an interest following the Company’s acquisition of The Times Mirror Company in 2000 and from which the
Company leased eight real properties (see Note 8 to the consolidated financial statements included in the Company’s Annual Report on Form lO-K for
the fiscal year ended Dec. 30, 2007 for further information on the Company’s interest in TMCT, LLC). Under the terms of the amended lease, the
Company was granted an accelerated option to acquire the eight properties during the month of January 2008 for $175 million, The Company exercised
this option on Jan. 29, 2008 and the acquisition was completed on Apri| 28, 2008. ln connection with this acquisition, the related property financing
obligation of $28 million at April 28, 2008 was extinguished (see Note 10). No gain or loss was recorded as a result of the acquisition.

New Accounting Standards~ln December 2007, the FASB issued FASB Statement No. 160, “Noncontrolling |nterests iri Consolidated Financial
Statements, an Amendment of ARB No. 51" (“FAS No. 160"), which provides accounting and reporting standards for the noncontro|ling interest in a
subsidiary and for the deconsolidation of a subsidiary. lt clarifies that a noncontro|ling ownership interest in a subsidiary should be reported as a separate
component of equity in the consolidated financial statements, requires consolidated net income to include the amounts attributable to both the parent and
the noncontro|ling interest and provides for expanded disclosures in the consolidated financial statements FAS No. 160 is effective for financial
statements issued for fiscal years beginning after Dec. 15, 2008 and interim periods beginning within these fiscal years. The Company is currently
evaluating the impact of adopting FAS No. 160 on its consolidated financial statements

ln December 2007, the FASB issued FASB Statement No, 141 (revised 2007), “Business Combinations” (“FAS No. 141R"), which addresses, among
other items, the recognition and accounting for identifiable assets acquired and liabilities assumed in business combinations FAS No_ 141R also
establishes expanded disclosure requirements for business combinations FAS No. 141 R is effective for financial statements issued for fiscal years
beginning after Dec. 15, 2008 and interim periods beginning within these fiscal years. The Company is currently evaluating the impact of adopting FAS
No. 141R on its consolidated financial statements

In March 2008, the FASB issued FASB Statement No, 161, "Disclosures about Derivative Instruments and Hedging Activities, an amendment of FASB

Statement No. 133” ("FAS No. 161"), which requires enhanced disclosures for derivative and hedging activities FAS No. 161 is effective for financial
statements issued for fiscal years beginning after Dec. 15, 2008 and interim periods beginning within these fiscal years. Early adoption is permitted The

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Company is currently evaluating the impact of adopting FAS No. 161 on its consolidated financial statements

ln October 2008, the FASB issued Staff Position No. 157-3, “Dctemiining the Fair Value of a Financial Asset when the Market for that Asset is not
Active" ("FSP No. 157~3"), which clarifies the application of FAS No. 157 in a market that is not active and provides an example to illustrate key
considerations in determining the fair value of a financial asset when the market for that financial asset is not active. This pronouncement was effective
upon issuance, including prior periods for which financial statements have not been issued. The adoption of FSP No. 157-3 did not have a material
impact on the Company’s consolidated financial statements

ln April 2008, the FASB issued Staff Position No. 142-3, "Detemiination of the Usef`ul Life of lntangible Assets" (“FSP No. |42~3"), which requires
that in developing assumptions about renewal or extension used to

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determine the useful life of a recognized intangible asset. an entity shall consider its own historical experience in renewing or extending similar
arrangements; however, these assumptions should be adjusted for entity-specific factors, ln the absence of that experience, an entity shall consider the
assumptions that market participants would use about renewal or extension (consistent with the highest and best use of the asset by market participants),
adjusted for the entity~specific factors For a recognized intangible asset, an entity shall disclose information that enables users of financial statements to
assess the extent to which the expected future cash flows associated with the asset are affected by the entity’s intent and/or ability to renew or extend the
arrangement This guidance is effective for financial statements issued for fiscal years beginning afier December 15, 2008, and interim periods
beginning within these fiscal years. Early adoption is prohibited The guidance for determining the useful life of a recognized intangible asset shall be
applied prospectively to intangible assets acquired after the effective date, The disclosure requirements shall be applied prospectively to all intangible
assets recognized as of, and subsequent to, the effective date, The Company is currently evaluating the impact of adopting FSP No. 142-3 on its
consolidated financial statements

NOTE 14: SEGMENT lNFORMATlON

Financial data for each of the Company’s business seginents, from continuing operations, was as follows (in thousands):

Third Quarter First Three Szuarters

 

 

 

 

 

 

 

2008 2007 2008 2007

Operating revenues:

Publishing $ 653,590 $ 752,5(¥2 $ 2,068,242 ‘ 3 2,340,769~ 3

Broadcasting and entertainment 383,356 406,051 l,084,292 l,OgZ,OlS
Total operating revenues " ‘ $ » 1,036,94&4 ` S': 1,158,553' $ 3,152,534 $' 3,422,787:'
Operatiog profit (loss)(t): , g ` ~ ‘ g "

Publishing(Z) $ (26,218) $ g 110,372 $ (3,755,915) $ 317,298

Bromsting and entertainment ' ‘ t 4 74‘,289L ' ' 117,787 1 y _ . 312~,837' v t 286,903"

Corporate expenses (l l,OOB) (l 1,37-9) (49,632) (44,902)
Totai operating pmm (loss) _ ` 5 ' '37;063 ` y 7 $ ~ 2!6,830 y S (3,492,660)~ S , 559,299

Sep_t. 2§a 2008 Dec. 30l 2007

Assets: 4

Publishing(§§} g ~ s ~ $ 2,821',396 $ 8,12{,133

Broadcasting and entertainment(3) _ 3,747,588 3,993,933

Corporate , 882,829 t ~ ~ 1,000,873

Assets held for disposition 152,382 33,780
Total assets , 1 t 3 7,604,195 $ 13,149,719~

 

('l) Operating profit (loss) for each segment excludes interest and dividend income, interest expense, equity income and losses, non-operating
items and income taxes

(2) The operating loss for the third quarter of 2008 for the publishing segment included a non~cash pretax charge of $25 million for the write-off
of certain capitalized software application costs related to software that the Company no longer intends to utilize (see Note 7). The first three
quarters of 2008 operating loss for the publishing segment included non-cash pretax impairment write-downs of intangible assets totaling
$3,843 million recorded in the second quarter of 2008 (see Note 9).

(3) Publishing and broadcasting and entertainment segment assets include receivables of 5267 million and $222 million, respectively, which are
pledged as collateral under the Company’s Trade Receivables Securitization Facility (see Note 10).

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lTEM 2. MANAGEMENT'S DISCUSSION AND ANALYS|S OF FlNANClAL CONDIT|ON AND
RESULTS OF OPERAT|ONS.

The following discussion compares the results of operations of Tribune Company and its subsidiaries (the "Company") for the third quarter and first
three quarters of2008 to the third quarter and first three quarters of 2007. This commentary should be read in conjunction with the Company’s unaudited
condensed consolidated financial statements, which are also presented in this Form lO-Q. Certain prior year amounts have been reclassified to conform
with the 2008 presentation.

FORWARD-LOOK[NG STATEMENTS

The discussion contained in this ltem 2 (including, in particular, the discussion under "Liquidity and Capital Resources"), the information contained in
the preceding notes to the unaudited condensed consolidated financial statements and the information contained in Part l, ltem 3, “Quantitative and
Qualitative Disclosures about Market Risk,” contain certain comments and forward-looking statements that are based largely on the Company’s current
expectations Forward-looking statements are subject to certain risks, trends and uncertainties that could cause actual results and achievements to differ
materially from those expressed in the forward-looking statements including, but not limited to. the items discussed in Part l, ltem lA, "Risk Factors,”
in the Company’s Annual Report on Form lO-K for the fiscal year ended Dec. 30, 2007 and Part ll, Item lA, “Risk Factors" in this Form lO-Q. Such
risks, trends and uncertainties, which in some instances are beyond the Company’s control, include: our ability to generate sufficient cash to service the
significant debt levels and other financial obligations that resulted from the Leveraged ESOP Transactions (as defined below in “Significant Events");
our ability to comply with or obtain modifications or waivers ol` the financial covenants contained in our senior credit facilities, and the potential impact
to our operations and liquidity as a result of the restrictive covenants in such senior credit facilities; continuing instability or disruptions in the credit and
financial markets; the impact of continuing adverse economic conditions; our dependency on dividends and distributions from our subsidiaries to make
payments on our indebtedness; increased interest rate risk due to our higher level of variable rate indebtedness; the ability to maintain our subchapter S
corporation status; changes in advertising demand, circulation levels and audience shares; consumer, advertiser and general market acceptance of
various new marketing and product initiatives that the Company has introduced or may pursue in the future and the Company’s ability to implement
such initiatives without disruption or other adverse impact on the Company’s business and operations; regulatory and judicial rulings, including changes
in tax laws or policies; availability and cost of broadcast rights; competition and other economic conditions; changes in newsprint prices; changes in the
Company’s credit ratings and interest rates; changes in the market value of the Company’s pension plan assets; changes in accounting standards; adverse
results from litigation, govemmental investigations or tax-related proceedings or audits; the effect of labor strikes, lock-outs and negotiations; the effect
of acquisitions, joint ventures, investments and divestitures; the effect of derivative transactions; the Company’s reliance on third-party vendors for
various services; and other events beyond the Company’s control that may result in unexpected adverse operating results.

The words “believe,” "cxpect," “anticipate," “estimate,“ “could,” "should," “intend,“ "continue,“ “‘will," “plan," and similar expressions generally
identify forward-looking statements Readers are cautioned not to place undue reliance on such forward~looking statements, which are being made as of
the date of this filing. The Company undertakes no obligation to update any forward-looking statements, whether as a result of new information, fixture
events or otherwise

SlGNlFlCANT EVENTS

Write-downs of lntangib|e Assets~As described in the Company’s Annual Report on Form lO-K for the fiscal year ended Dec. 30, 2007, the
Company reviews goodwill and certain intangible assets no longer being amortized for impairment annually, or more frequently if events or changes in
circumstances indicate that an asset may be impaired, in accordance with Financial Accounting Standards Board (“FASB") Statemcnt No, l42,
“Goodwill and Other lntangible Assets” (“FAS No. 142"). During 2008, each of the Company’s major newspapers has experienced significant
continuing declines in advertising revenues due to a variety of factors,

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including weak national and local economic conditions, which has reduced advertising demand, and increased competition, particularly from on-line
media. Due to the decline in actual and projected newspaper advertising revenues, the Company performed an impairment review of goodwill
attributable to its newspaper reporting unit and of newspaper masthead intangible assets in the second quarter of 2008, The review was conducted aher
$830 million of newspaper reporting unit goodwill and $380 million of newspaper masthead intangible assets were allocated to the Newsday Media
Group (“NMG”) transaction (see the discussion under “Discontinued Operations" below). As a result of the impairment review conducted in the second
quarter of 2008, the Company recorded non-cash pretax impairment charges in the second quarter of 2008 totaling $3,843 million ($3,832 million after
taxes) to write down its newspaper reporting unit goodwill by $3,007 million ($3,006 million aher taxes) and four newspaper mastheads by a total of
$836 million ($826 million after taxes). These non-cash impairment charges are reflected as “Wn`te'downs of intangible assets” in the Company’s

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unaudited condensed consolidated statements of operations in Part l, ltem l, hereol`. These non-cash impairment charges do not affect the Company’s
operating cash f`lows or its compliance with its financial debt covenants See Note 9 to the Company’s unaudited condensed consolidated financial
statements in Pan l, ltem l, hereof l`or a further discussion of the methodology the Company utilized to perform this impairment review.

Under FAS No. l42, the impairment review of goodwill and other intangible assets not subject to amortization must be based on estimated fair

values. The determination of‘ estimated fair values of goodwill and other intangible assets not being amortized requires many judgments, assumptions and
estimates of several critical factors, including revenue and market growth, operating cash fiows, market multiples, and discount rates, as well as specific
economic factors in the publishing and broadcasting industries Adverse changes in expected operating results and/or unfavorable changes in other
economic factors used to estimate fair values could result in additional non-cash impairment charges related to the Company’s publishing and/or
broadcasting and entertainment segments

S Corporation Electioo--On March l3, 2008, the Company filed an election to be treated as a subchapter S corporation under the lntemal Revenue
Code. which election is effective as of the beginning of the Company’s 2008 fiscal year. The Company also elected to treat nearly all of its subsidiaries
as qualified subchapter S subsidiaries Subject to certain limitations (such as the built-in gain tax applicable for ten years to gains accrued prior to the
election), the Company is no longer subject to federal income tax. lnstead, the Company’s income will be required to bc reported by its

shareholders The Company’s Employee Stock Ownership Plan, the Company`s sole shareholder (see Note 5 to the Company’s unaudited condensed
consolidated financial statements in Part l. ltem l, hereof`), will not be taxed on the share of income that is passed through to it because the Employee
Stock Ownership Plan is a qualified employee benefit plan. Although most states in which the Company operates recognize the S corporation status,
some impose income taxes at a reduced rate.

As a result of the election and in accordance with FASB Statement No. l09, “Accounting for lncome Taxes", the Company eliminated approximately

$ l ,859 million of net deferred income tax liabilities as of Dec. 3l, 2007, and recorded such adjustment as a reduction in the Company’s provision for
income tax expense in the first quarter ol` 2008. The Company continues to report deferred income taxes relating to states that assess taxes on S
corporations, subsidiaries which are not qualified subchapter S subsidiaries, and potential asset dispositions that the Company expects will be subject to
the built-in gain tax.

Leveraged ESOP Transactions-0n April l, 2007, the Company’s board of directors (the “Board"), based on the recommendation of a special
committee of the Board comprised entirely of independent directors, approved a series of transactions (collectively, the “Leveraged ESOP Transactions")
with a newly formed Tribune Employee Stock Ownership Plan (the “ESOP”), EGI-TRB, L.L.C., a Delaware limited liability company (the “Ze|l
Entity") majority-owned by Sam investment Trust (a trust established for the benefit of Samuel Zell and his family), and Samuel Zell. On Dec. 20,
2007, the Cotnpany completed the Leveraged ESOP Transactions which culminated in the cancellation of all issued and outstanding shares of the
Company’s common stock as of that date, other than shares held by the Company or the ESOP, and the Company becoming wholly-owned by the ESOP.
The Company has significant continuing public debt and has accounted for these transactions as a leveraged

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recapitalization and, accordingly, has maintained a historical cost presentation in its consolidated financial statements
The Leveraged ESOP Transactions consisted of a series of transactions that included the following:

? On April l, 2007, the Company entered into an Agreement and Plan of` Merger (the “Merger Agreement”) with GreatBanc Trust
Company, not in its individual or corporate capacity, but solely as trustee of the Tribune Employee Stock Ownership Trust, a separate
trust which forms a part ol` the ESOP, Tesop Corporation, a Delaware corporation wholly-owned by the ESOP ("Merger Sub”), and the
Zell Entity (solely for the limited purposes specified therein) providing for Merger Sub to be merged with and into the Company, and
following such merger, the Company to continue as the surviving corporation wholly-owned by the ESOP (the “Merger").

? On April l, 2007, the ESOP purchased 8,928,57| shares of the Company’s common stock from the Company at a price of $28.00 per
share The ESOP paid for this purchase with a promissory note of the ESOP in favor of the Company in the principal amount of $250
million, to be repaid by the ESOP over the 30-year life of the loan through its use of annual contributions t`rom the Company to the ESOP
and/or distributions paid on the shares of the Company’s common stock held by the ESOP, Upon consummation of the Merger, the
8,928,57| shares of the Company’s common stock held by the ESOP were converted into 56,521,739 shares of common stock and
represent the only outstanding shares of capital stock of` the Company after the Merger.

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On April 23, 2007, pursuant to a purchase agreement dated April l, 2007 (the “Ze|l Entity Purchase Agreement”), the Zell Entity made an
initial investment of $250 million in the Company in exchange for (l) l,470,588 shares of the Company’s common stock at a price of`
$34.00 per share and (2) an unsecured subordinated exchangeable promissory note of the Company in the principal amount of $200
million. The shares were converted at the effective time of the Merger into the right to receive 334.00 per share in cash, and the
unsecured subordinated exchangeable promissory note, including approximately $6 million of interest accrued thereon, was repaid by the
Company immediately prior to the Merger. Pursuant to the Zell Entity Purchase Agreement, on May 9, 2007, Mr. Zell was appointed as a
member of the Board.

? On April 25, 2007, the Company commenced a tender offer to repurchase up to l26 million shares of the Company‘s common stock that

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were then outstanding at a price of $34.00 per share in cash (the "Share Repurchasc"). The tender offer expired on May 24, 2007 and 126
million shares of the Company’s common stock were repurchased and subsequently retired on June 4, 2007 utilizing proceeds from the
Credit Agreement (as defined in the “(,`rcdit Agreeinents" section below).

? The Company granted registration rights to Chandler Trust No. l and Chand|er Trust No. 2 (together, the "Chandler Trusts"), which were
significant shareholders of the Company prior to the Company`s entry into the Leveraged ESC)P Transactions On Apri| 25, 2007, the
Company filed a shelf registration statement in connection with the registration rights granted to the Chandler Trusts.

? ()n June 4, 2007, the C handler Tmsts entered into an underwriting agreement with Goldman, Sachs & Co. (“Go|dman Sachs") and the
Company, pursuant to which the Chandler Trusts sold an aggregate of 20,35|,954 shares of the Company’s common stock, which
represented the remainder of the shares of the Company’s common stock owned by them following the Share Repurchase, through a block
trade underwritten by Goldman Sachs. The shares were offered pursuant to the shelf registration statement filed by the Company on April
25. 2007.

? ()n Dec. 20. 2007, the Company completed its merger with Merger Sub, with the Company surviving the Merger. Pursuant to the terms

of the Merger Agreement, each share of common stock of the Company, par value $040| per share, issued and outstanding immediately
prior to the Merger. other

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than shares held by the Company, the ESOP or Merger Sub immediately prior to the Merger (in each case, other than shares held on behalf
of third parties) and shares held by shareholders who validly exercised appraisal rights, was cancelled and automatically convened into the
right to receive $34.00, without interest and less any applicable withholding taxes, and the Company became wholly-owned by the ESOP.

? Following the consummation of the Merger, the Zell Entity purchased from the Company, for an aggregate of$315 million, a $225
million subordinated promissory note and a l5-year warrant. For accounting purposes, the subordinated promissory note and l$»year
warrant were recorded at fair value based on the relative fair value method The warrant entitles the Zell Entity to purchase 43,478,26|
shares of the Company’s common stock (subject to adjustinent), which represents approximately 40% of the economic equity interest in
the Company following the Merger (on a fully-diluted basis, including after giving effect to share equivalents granted under a new
management equity incentive plan which is described in Note 4 to the Company’s unaudited condensed consolidated financial statements
in Part l, ltem l, hereof). The warrant has an initial aggregate exercise price of $500 million, increasing by $ 10 million per year for the
first l0 years of the warrant, for a maximum aggregate exercise price of $600 million (subject to adjustment). Thereaf'ter, the Zell Entity
assigned minority interests in the subordinated promissory note and the warrant to certain permitted assignees

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On Dec. 20, 2007, the Company notified the New York Stock Exchange (the “NYSE") that the Merger was consummated and requested
that the Company’s common stock (and associated Series A junior participating preferred stock purchase rights) be suspended from the
NYSE, effective as of the close of the market on Dec. 20, 2007. Subsequently, the NYSE filed with the Securities and Exchange
Commission an application on Form 25 reporting that the shares of the Company’s common stock and associated Series A junior
participating preferred stock purchase rights are no longer listed on the NYSE.

Credit Agreements~_()n May l7, 2007, the Company entered into a $8.028 billion senior secured credit agreement, as amended on June 4, 2007
(collective|y, the “Credit Agreement"). The Credit Agreement consists of the following facilities: (a) a $l.50 billion Senior Tranche X Term Loan
Facility (the "Tranche X Facility"), (b) a $5.5 | 5 billion Senior Tranche B Term Loan Facility (the “Tranche B Facility”), (c) a $263 million Delayed
Draw Senior Tranche B Term Loan Facility (the "De|ayed Draw Facility”) and (d) a $750 million Revolving Credit Facility (the “Revo|ving Credit
Facility"), The Credit Agreement also provided a commitment for an additional $2.|05 billion in new incremental term loans under the Tranche B
Facility (the "lncremental Faci|iry"). According|y, the aggregate amount of the facilities under the Credit Agreement equals $lO. l 33 billion.

On June 4, 2007, proceeds from the Tranche X Facility and the Tranche B Facility were used by the Company in connection with the consummation of
the Share Repurchase and to refinance the Company’s former five-year credit agreement and fenner bridge credit agreement.

The Revolving Credit Facility includes a letter of credit subfacility in an amount up to $250 million and a swing line facility in an amount up to $100
million. As of Sept. 28, 2008, the Company had 398 million of letters of credit outstanding Borrowings under the Revolving Credit Facility may be
used for working capital and general corporate purposes On Oct. l7, 2008, the Company sent a notice to draw $250 million in principal amount under
the Revolving Credit Facility, of which $237 million was funded. The shortfall of approximately $13 million is a result of the fact that Lehman Brothers
Commercia| Bank, which provides a commitment in the amount of $40 million under the Company’s $750 million Revolving Credit Facility, declined to
participate in the Company’s $250 million funding request. Lehman Brothers Commercia| Bank is an affiliate of Lehman Brothers Holdings lnc., which
filed a petition under Chapter l l of the United States Bankruptcy Code with the United States Bankruptcy Court for the Southem District of New York
on Sept. l5, 2008. Although Lehman Brothers Commercia| Bank is not a party to that bankruptcy proceeding, it has informed the Company that it does
not intend to participate in any funding requests under the Revolving

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Credit Facility. The Company can provide no assurances that it could obtain replacement loan commitments from other banks. The Company borrowed
under the Revolving Credit Facility to increase its cash position to preserve its financial flexibility in light of the current uncertainty in the credit
markets The remaining undrawn amount available under the Revolving Credit Facility after giving effect to this borrowing and the $98 million of
outstanding letters of credit is approximately $415 million, including the $40 million Lehman Brothers Conunercial Bank commitment

On Dec. 20, 2007, the Company entered into (i) a $1.6 billion senior unsecured interim loan agreement (the "lnterim Credit Agreement") and (ii) a
number of increase joinders pursuant to which the lncremental Facility became a part of the Tranche B Facility under the Credit Agreement (the
lncremental Facility and Tranche B Facility are hereinafter referred to collectively as the Tranche B Facility). The lnterim Credit Agreement contains a
$1.6 billion twelve~month bridge facility (the “Bridgc Facility"). The toml proceeds of $3.705 billion from the Bridge Facility and the lncremental
Facility were used by the Company, among other ways, in connection with the consummation of the Merger and for general corporate purposes

Prior to the consummation of the Merger, the Tranche X Facility bore interest per annum at a variable rate equal to, at the Company’s election, the
applicable base rate plus a margin of l50 basis points or LlBOR plus a margin of 250 basis points. Pursuant to the terms of the Credit Agreement,
following the closing of the Merger. the margins applicable to the Tranche X Facility increased to 175 basis points and 275 basis points, respectively.

The Tranche B Facility, Delayed Draw Facility and Revolving Credit Facility bear interest per annum at a variable rate equal to, at the Company’s
election, the applicable base rate plus a margin of 200 basis points or LlBOR plus a margin of 300 basis points All undrawn amounts under the Delayed
Draw Facility and the Revolving Credit Facility accrue commitment fees at a per annum rate of 75 basis points and 50 basis points, respectively. With
respect to the Revolving Credit Facility only, the margin applicable to base rate advances, the margin applicable to LlBOR advances and the
commitment fee applicable to undrawn amounts are subject to decreases based on a leverage¢based grid.

On June 29, 2007, the Company repaid S 100 million of the $1.5 billion of borrowings under the Tranche X Facility. During the third quarter of 2008, the
Company repaid an aggregate of $888 million of the borrowings under the Tranche X Facility, utilizing the net cash proceeds of $218 million from a
$300 million trade receivables securitization facility entered into on July 1, 2008 (see discussion below), $589 million of the net cash proceeds from the
NMG transaction (see Note 2 to the Company’s unaudited condensed consolidated financial statements in Part l, ltem 1, hereof), and 581 million of the
net cash proceeds from the sale of a 10 percent interest in CareerBuilder, LLC to Gannett Co., lnc. (see Note 7 to the Company’s unaudited condensed
consolidated financial statements in Part 1, ltem 1, hereof), These prepayments satisfied a required principal repayment of $650 million on the Tranche
X Facility that was otherwise due on Dec. 4, 2008. The remaining principal balance on the Tranche X facility of $512 million must be repaid on June 4,
2009, which amount may be adjusted to reflect additional prepayments or other mandatory prepayments (described below) applied thereto prior to that
date,

The Tranche B Facility is a seven-year facility which matures on June 4, 2014 and also amortizes ata rate ol` 1.0% per annum (payable quarterly). The
Revolving Credit Facility is a six-year facility and matures on June 4, 2013. ln February 2008, the Company refinanced 325 million of its medium-tenn
notes with borrowings under the Delayed Draw Facility. The Delayed Draw Facility automatically becomes part of the Tranche B Facility as amounts
are borrowed and amortizes based upon the Tranche B Facility amortization schedule. On Oct. 6, 2008, the Company refinanced $168 million of the
remaining medium-term notes with additional borro\m`ngs under the Delayed Draw Facility. The Company intends to use the Delayed Draw Facility to
refinance the remaining 370 million of its medium-tenn notes as they mature during 2008. Accordingly, the Company has classified its medium»term
notes as long-term at Sept. 28, 2008 and Dec. 30, 2007,

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Borrowings under the Credit Agreement are prepayable at any time prior to maturity without penalty, and the unutilized portion of the commitments
under the Revolving Credit Facility or the Delayed Draw Facility may be reduced at the option of the Company without pcnalty.

Upon execution of the lnterim Credit Agreement, loans under the Bridge Facility bore interest per annum ata variable rate equal to, at the Company’s
election, the applicable base rate plus a margin of 350 basis points or LlBOR plus a margin of 450 basis points. Pursuant to the terms of the lnterim
Credit Agreement, such margins increased by 50 basis points per annum on March 20, 2008, June 20, 2008 and Sept. 20, 2008 and will continue to
increase by this amount in each succeeding quaner, subject to specified caps, a portion of which interest may be payable through an interest payable-in~
kind feature. Subject to certain prepayment restrictions contained in the Credit Agreement, the Bridge Facility is prepayable at any time prior to
maturity without penalty, including in connection with the issuance of up to $1.6 billion of high-yield notes. Effective Oct. 21, 2008, the Company
made an election under its lnterim Credit Agreement to convert the variable interest rate applicable to its borrowings under the Bridge Facility from
LlBOR plus a margin of 600 basis points to an applicable base rate plus 500 basis points.

lf any loans under the Bridge Facility remain outstanding on Dec. 20, 2008, the lenders thereunder will have the option, subject to the terms of the
lnterim Credit Agreement, at any time and from time to time to exchange such initial loans for senior exchange notes that the Company will issue under
a senior indenture, and the maturity date of any initial loans that are not exchanged for senior exchange notes will, unless a bankruptcy event of default
has occurred and is continuing on such date, automatically be extended to Dec. 20, 2015 (the “Final lnterim Credit Agreement Maturity Date").
Accordingly, the Company has classified the borrowings under the Bridge Facility as long»terrn at Sept. 28, 2008 and Dec. 30, 2007, The senior
exchange notes will also mature on the Final lnterim Credit Agreement Maturity Date. Holders of the senior exchange notes will have registration rights.

Loans under the Tranche X Facility, Tranche B Facility and Revolving Credit Facility are required to be repaid with the following proceeds, subject to
certain exceptions and exclusions set forth in the Credit Agreement: (a) 100% of the net cash proceeds from the issuance or incurrence of debt for

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borrowed money by the Company or any subsidiary (other than debt permitted to be incurred under the negative covenants contained in the Credit
Agreement (with certain exclusions)), (b) certain specified percentages of excess cash flow proceeds based on a leverage-based grid ranging from 50%
to 0% and (c) 100% of the net cash proceeds from all asset sales. certain dispositions share issuances by the Company’s subsidiaries and casualty events
unless, in each case, the Company reinvests the proceeds pursuant to the terms of the Credit Agreement As noted above, aggregate repayments of the
Tranche X facility of $888 million were made during the third quarter of2008 pursuant to these provisionsl

Loans under the Bridge Facility are required to be repaid with the following proceeds, in each case aher the obligations under the Credit Agreement have
been repaid, either as required by the Credit Agreement or repaid at the election of the Company, subject to certain exceptions and exclusions set forth in
the lnterim Credit Agreement: (a) 100% of the net cash proceeds from the issuance or incurrence of certain debt for borrowed money by the Company or
any subsidiary, (b) 100% of the net cash proceeds of any equity issuance consummated by the Company and (c) 100% of the net cash proceeds from all
asset sales, certain dispositions share issuances by the Company’s subsidiaries and casualty events unless, in each case, the Company reinvests the
proceeds pursuant to the terms of the lnterim Credit Agreement

Borrowings under the Credit Agreement are guaranteed on a senior basis by certain of the Company’s direct and indirect U,S. subsidiaries and secured by
a pledge of the equity interests of Tribune Broadcasting Holdco, LLC and Tribune Finance, LLC, two subsidiaries of` the Company, The Company’s
other senior notes and senior debentures are secured on an equal and ratable basis with the borrowings under the Credit Agreement as required by the
terms of the indentures governing such notes and debentures Borrowings under the lnterim Credit Agreement are unsecured, but are guaranteed on a
senior subordinated basis by certain of the Company’s direct and indirect U.S. subsidiaries

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The Credit Agreement and the lnterim Credit Agreement contain representations and warranties, affirmative and negative covenants, including
restrictions on capital expenditures and events of default, in each case subject to customary and negotiated exceptions and limitations, as applicable. lf
an event ofdefault occurs, the lenders under the Credit Agreement and the lnterim Credit Agreement will be entitled to take certain actions, including
acceleration of all amounts due under the facilities

Further, pursuant to the Credit Agreement, the Company is required to comply, on a quarterly basis, with a maximum total guaranteed leverage ratio
and a minimum interest coverage ratio. F or each of the four fiscal quarters of the Company’s 2008 fiscal year, the Credit Agreement covenants require a
maximum “Total Guarantced Leverage Ratio" of 9,00 to 1.00 and a minimum “lnterest Coverage Ratio" (each as defined in the Credit Agreement) Of

l. 15 to 1.00` Both of these financial covenant ratios are measured on a rolling four-quarter basis and become more restrictive on an annual basis. For
each of the four fiscal quarters ofthe Company’s 2009 fiscal year, the maximum Total Guaranteed Leverage Ratio required by the covenants will be
reduced to 8.75 to 1.00 and the minimum Interest Coverage Ratio will be increased to 1.20 to 1.00. At Sept. 28, 2008, the Company was in compliance
with these financial covenants The Company’s ability to maintain compliance with these financial covenants is dependent, however, on various factors,
certain of which are outside of the Company’s control. Such factors include the Company’s ability to generate sufficient revenues and eamings from
operations, the Company's ability to achieve reductions in its outstanding indebtedness, changes in interest rates, the impact on earnings, cash flow or
indebtedness from sale, purchase, joint venture or similar transactions involving the Company’s assets, investments and liabilities and the other risks and
uncertainties set forth in Part l, ltem lA, "Risk Factors,” in the Company’s Annual Report on Form lO-K for the fiscal year ended Dec. 30, 2007 and in
Part ll, ltem lA, "Risk Factors" in this Form lO-Q.

On March 13, 2008, the Company filed an election to be treated as a subchapter S corporation under the Intemal Revenue Code, which election is
effective as of the beginning of the Company’s 2008 fiscal year. The Credit Agreement and the lnterim Credit Agreement contain affirmative covenants
which required the Company to make such election and that the election be effective for fiscal year 2008. The Credit Agreement and lnterim Credit
Agreement further provide that if the Company fails to maintain the S corporation election for any year beginning with 2009, the Company will be
required in each such year to obtain an investment in the Company in the form of common stock or subordinated debt in an amount of`up to $100
million, There can be no assurance that the Company will be able to obtain such an investment and the failure to obtain such an investment in those
circumstances could result in a default under the Credit Agreement and lnterim Credit Agreement,

Under the terms of the Credit Agreement, the Company is required to enter into hedge arrangements to offset a percentage of its interest rate exposure
under the Credit Agreement and other debt with respect to borrowed money. On luly 2, 2007, the Company entered into an lntemational Swap and
Derivatives Association, lnc. (“ISDA”) Master Agreement, a schedule to the 1992 |SDA Master Agreement and, on luly 3, 2007, entered into three
interest rate swap confirmations (collective|y, the “Swap Documents") with Barclays Bank, which Swap Documents provide for (i) a two-year hedge
with respect to $750 million in notional amount, (ii) a three-year hedge with respect to $l billion in notional amount and (iii) a five-year hedge with
respect to 5750 million iri notional amount The Swap Documents effectively converted a portion of the variable rate borrowings under the Tranche B
Facility in the Credit Agreement to a weighted average fixed rate of 5.31% plus a margin of 300 basis points. On Aug. 12, 2008, the Company entered
into an |SDA Master Agreement and on Aug. 14, 2008, the Company entered into an interest rate cap confirmation with Citibank, N.A. This
transaction effectively caps LlBOR at 4.25% with respect to $2.5 billion in notional amount outstanding under the Tranche B Facility for a three-year
period expiring July 21, 201 1. The premium owed under the interest rate cap confirmation is approximately 529 million, which represented the fair
value of the interest rate cap at inception. Through Sept. 28, 2008, the Company has accounted for these interest rate swaps and the interest rate cap as
cash flow hedges in accordance with FASB Statement No. 133, “Accounting for Derivative lnstruments and Hedging Activities" (“FAS No.

133"). Under FAS No. 133, a cash flow hedge is deemed to be highly effective if it is expected that changes in the cash flows of the hedged item are
almost fully offset by changes in the cash flows of the hedging instrument Effective Oct 21, 2008, the Company made an election

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under its Credit Agreement to convert the variable interest rate applicable to its borrowings under the Tranche B Facility from LlBOR plus a margin of
300 basis points to an applicable base rate plus 200 basis points. As a result of this election, the Company will no longer account for these interest rate
swaps and the interest rate cap as cash flow hedges in accordance with FAS No. 133 and instead will recognize currently in its statement of operations
the changes in fair values of these instruments beginning in the fourth quarter of 2008. The Company will reclassify the previously unrecognized losses
on these instruments included in accumulated other comprehensive income (loss) into interest expense beginning in the fourth quarter of 2008.

As of Sept. 28, 2008. the Company had outstanding borrowings of $7.6 billion under the Tranche B Facility, $512 million under the Tranche X Facility,
and $1.6 billion under the Bridge Facility. As of Septr 28, 2008, the applicable interest rate was 5.79% on the Tranche B Facility, 5.54% on the Tranche
X Facility and 8.79% on the Bridge Facility.

Trade Receivables Securltizatlon Facility»~()n luly l, 2008, the Company and Tribune Receivables LLC, a wholly-owned subsidiary of the Company
(the "Receivables Subsidiary"), entered into a $300 million trade receivables securitization facility with a term of two years The Receivables Subsidiary
borrowed $225 million under this facility and incurred transaction costs totaling $7 million, The net proceeds of $218 million were utilized to pay down
the borrowings under the Tranche X facility.

Pursuant to a receivables purchase agreement, dated as ot`luly l, 2008, among the Company, the Receivables Subsidiary and certain other subsidiaries of
the Company (the "Operating Subsidiaries"), the Operating Subsidiaries sell certain trade receivables and related assets (the “Receivab|es") to the
Company on a daily basis. The Company, in tum, sells such Receivables to the Receivables Subsidiary, also on a daily basis. Receivables transfer to
the Receivables Subsidiary are assets of the Receivables Subsidiary and not of the Company or any of the Operating Subsidiaries

The Receivables Subsidiary has also entered into a receivables loan agreement dated as of luly l, 2008 (the "Receivables Loan Agreement”), among the
Company, as servicer, the Receivables Subsidiary, as borrower, certain entities from time to time parties thereto as conduit lenders and committed
lenders (the “Lenders"), certain tinancial institutions from time to time parties thereto as funding agents, and Barclays Bank PLC, as administrative
agent, Pursuant to the Receivables Loan Agreement, the Lenders, from time to time, make advances to the Receivables Subsidiary. The advances are
secured by, and repaid through collections on, the Receivables owned by the Receivables Subsidiary. The aggregate outstanding principal amount of the
advances may not exceed $300 million. The Receivables Loan Agreement requires the Company to comply with the financial covenants described in the
"Credits Agreements" section contained in this ltem 11. The Company (directly and indirectly through the Operating Subsidiaries) services the
Receivables, and the Receivables Subsidiary pays a fee to the Company for such services The Receivables Subsidiary will pay a commitment fee on the
undrawn portion of the facility and administrative agent fees

ln accordance with FASB Statement No. 140, “Accounting for Transfers and Servicing of Financial Assets and Extinguishments of Liabilities”, the
Company accounts for this arrangement as a secured borrowing by the Receivables Subsidiary and includes the pledged assets in accounts receivable and
the cash advances as long-term debt in its consolidated balance sheet. At Sept. 28, 2008, pledged assets included in accounts receivable were $489
million and outstanding advances under this facility were $225 million, Advanccs under the Receivables Loan Agreement that are funded through
commercial paper issued by the Lenders will accrue interest based on the applicable commercial paper interest rate or discount rate, plus a margin. All
other advances will accrue interest at (i) LlBOR, (ii) the prime rate or (iii) the federal funds rate, in each case plus an applicable margin. As of Sept. 28,
2008, the applicable interest rate for this facility was 4.9%. The Receivables Loan Agreement includes customary early amortization events and events
of default for facilities of this nature. The Receivables Subsidiary is required to repay the advances in full by no later than luly l, 2010,

Discontinued Operations-On May ll, 2008, the Company entered into an agreement (the "Fomtation Agreement”) with CSC Holdings, Inc. (“CSC”)
and NMG Ho|dings, lnc., each a wholly-owned subsidiary of

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Cablevision Systems Corporation (“Cablevision"), to form a new limited liability company (“Newsday LLC"), On luly 29, 2008, the Company
consummated the closing of the transactions contemplated by the Formation Agreement Under the terms of the Formation Agreement, the Company,
through Newsday, lnc. and other subsidiaries of the Company, contributed certain assets and related liabilities of NMG to Newsday LLC, and CSC
contributed $35 million of cash and newly issued senior notes of Cablevision with a fair market value of $650 million to the parent company of
Newsday LLC. Concurrent with the closing of this transaction, Newsday LLC and its parent company borrowed $650 million under a new secured
credit facility, and the Company received a special distribution of $612 million from Newsday LLC in cash as well as 518 million in prepaid rent under
leases for certain facilities used by NMG and located in Melville, New York with an initial term ending in 2018. The Company retained ownership of
these facilities following the transaction Annual lease payments due under the terms of the leases total $1.5 million in each of the first five years of the
lease terms and $6 million thereafter

As a result of these transactions, CSC, through NMG Holdings, lnc., owns approximately 97% and the Company owns approximately 3% of the equity
of the parent company of Newsday LLC. CSC retains operational control over Newsday LLC. Borrowings by Newsday LLC and its parent company
under the secured credit facility are guaranteed by CSC and NMG Ho|dings, Inc. and secured by a lien on the assets of Newsday LLC and the assets of
its parent company, including the senior notes of Cablevision contributed by CSC. The Company agreed to indemnify CSC and NMG Holdings, lnc.
with respect to any payments that CSC or NMG lloldings, lnc. makes under their guarantee of the $650 million of borrowings by Newsday LLC and its
parent company under the seemed credit facility. ln the event the Company is required to perform under this indemnity, the Company will be
subrogated to and acquire all rights of CSC and NMG Holdings, lnc. against Newsday LLC and its parent company to the extent of the payments made

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pursuant to the indemnity, From the closing date of luly 29, 2008 through the third anniversary of the closing date, the maximum amount of potential
indemnification payments (the "Maximum lndemnification Amount") is $650 million. After the third year, the Maximum lndemnification Amount is
reduced by $120 million, and each year thereafier by 335 million until lanuary 1, 2018, at which point the Maximum lndemnification Amount is reduced
to $O. Following the transaction, the Company used $589 million of the net cash proceeds from the NMG transaction to pay down borrowings under the
Company’s Tranche X facility. The Company accouan for its remaining $20 million equity interest in the parent company of`Newsday LLC as a cost
method investment.

The fair market value of the contributed NMG net assets exceeded their tax basis due to the Company’s low tax basis in the contributed intangible
assets. However, the transaction did not result in an immediate taxable gain because the transaction was structured to comply with the partnership
provisions of the United States lntemal Revenue Code and related regulations

NMG’s operations consist of Newsday, a daily newspaper circulated primarily in Nassau and Suffolk counties on Long lsland, New York, and in the
borough onueens in New York City; four specialty magazines circulated primarily on Long Island; several shopper guides; amNY, a free daily
newspaper in New York City; and several websites including newsday.eom and amny.com. During the second quarter 0f`2008, the Company recorded a
pretax loss of $692 million ($693 million afier taxes) to write down the net assets of NMG to estimated fair value. NMG’s net assets included1 before
the write-down, allocated newspaper reporting unit goodwill and a newspaper masthead intangible asset of 5830 million and $380 million,

respectively. ln the third quarter of 2008, the Company recorded a favorable $1 million afier tax adjustment to the loss on this transaction.

The Company announced an agreement to sell the New York edition of }loy, the Company’s Spanish-language daily newspaper (“Hoy, New York") on
Feb. 12, 2007 and completed the sale on May 15, 2007. ln March 2007, the Company announced its intentions to sell its Southem Connecticut
Newspapers-The Advocate (Stamford) and Greenwich Time (collectively "SCNl"). The sale of SCNl closed on Nov. l. 2007, and excluded the SCNl
real estate in Stamford and Greenwich, Connecticut, which was sold in a separate transaction that closed on April 22, 2008. ln the first quarter of 2007,
the Company recorded a pretax loss of $ 19 million ($33 million after taxes) to write down the net assets of SCNl to estimated t`air value, less costs to

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sell. 1n the third quarter of`2007, the Company recorded a favorable $2.8 million after-tax adjustment to the expected loss on the sale of SCNI. ln the
first quarter of 2008. the Company recorded an additional $.5 million of after-tax loss on the sale of SCN l. During the third quarter of 2007, the
Company began actively pursuing the sale of the stock of one of its subsidiaries, EZ Buy & EZ Sell Recycler Corporation (“Recycler"), The sale of
Recycler closed on Oct. l7, 2007. The Company recorded a pretax loss on the sale of Recycler of $1 million in the third quarter of 2007, Due to the
Company’s high tax basis in the Recycler stock, the sale generated a significantly higher capital loss for income tax purposes As a result, the Company
recorded a $65 million income tax benefit in the third quarter of 2007, resulting in an after-tax gain of 364 million.

These businesses were considered components of the Company’s publishing segment as their operations and cash flows could be clearly distinguished,
operationally and for financial reporting purposes, from the rest of the Company. The operations and cash flows of these businesses have been
eliminated from the ongoing operations of the Company as a result of these transactions, and the Company will not have any significant continuing
involvement in their operations. Accordingly, the results of operations for each of these businesses are reported as discontinued operations in the
accompanying unaudited condensed consolidated statements of operations

Critical Accounting Pollcies-As of Sept. 28, 2008, the Company’s significant accounting policies and estimates, which are detailed in the Company’s
Annual Report on Form lO~K for the fiscal year ended Dec. 30, 2007, have not changed from Dec. 30, 2007, except for the adoption of FASB
Statement No. 157, “Fair Value Measurements" (“FAS No. 157”) and FASB Statement No. 159, "The Fair Value 0ption t`or Financial Assets and
Financial Liabilities” (“FAS No. 159"), both of which were adopted effective Dec. 31, 2007. The Company has elected to account for its PHONES debt
utilizing the fair value option under FAS No. 159. The effects of this election were recorded a.s of Dec. 3 l , 2007, and included a $ 177 million decrease
in PHONES debt related to Time Wamer stock, a $62 million increase in deferred income tax liabilities, an $ 18 million decrease in other assets, and a
$97 million increase in retained eamings. ln accordance with FAS No. 159, the 597 million retained earnings increase was not included in the
Company’s unaudited condensed consolidated statement of operations for the first three quarters ended Sept. 28, 2008. See Note lO to the Company’s
unaudited condensed consolidated financial statements in Part 1, ltem 1, hereof for additional information regarding the Company’s adoption of FAS No.
159, The adoption of FAS No. 157 had no impact on the Company’s consolidated financial statements See Note l l to the Company’s unaudited
condensed consolidated financial statements in Part l, ltem l, hereof for additional disclosures related to the fair value of financial instruments included
in the Company’s unaudited condensed consolidated balance sheet at Sept. 28, 2008.

NON-OPERAT!NG lTEMS

The third quarter and first three quarters of 2008 included several non-operating items, summarized as follows:

Thlrd OurLrter 2008 Flrst Three §zuarters 2008

Pretax After-tax Pretax After-tax

(in millions) Gain gLoss[ Gain gLossz Galn {Lossz Gain gLoss!

Gain (loss) on change in fair values
of PHONES and related investment $ (8.4) $ (8.3) $ 98.0 $ 96.8
Gain on sales of investments, net 78.7 54,6 67.4 43.2

 

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Other, net ' .4 .4 .5 .5
lncome tax adjustment _ _ - 1,859.4
Total non.opcrating ims s 707 $ 46.7 x 165-9 $ 1,999.9

 

ln the third quarter of 2008, the 38 million non-cash pretax loss on change in fair values of PHONES and related investment resulted primarily from a
$4 million increase in the fair value of the Company’s PHONES and a $3 million decrease in the fair value of 16 million shares of Time Wamer
common stock, ln the first three quarters of 2008, the $98 million non-cash pretax gain on change in fair values of PHONES and related

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investment resulted primarily from a $140 million decrease in the fair value of the Company’s PHONES, partially offset by a 539 million decrease in the
fair value of` 16 million shares of Time Wamer common stock. Effective Dec. 3 l, 2007, the Company has elected to account for its PHONES utilizing
the fair value option under FAS No. 159. As a result of this election, the Company no longer measures just the changes in fair value of the derivative
component of the PHONES, but instead measures the changes in fair value of the entire PHONES debt. See Note |0 to the Company’s unaudited
condensed consolidated financial statements in Part l, ltem l, hereof for further information pertaining to the Company’s adoption of FAS No. 159. ()n
Sept. 2, 2008, the Company sold a 10 percent interest in CareerBuilder, LLC to Gannett Co., lnc. (“Gannett") for $135 million and recorded a $79
million non-operating pretax gain in the third quarter of 2008. Following the transaction, the Company used 581 million of the net cash proceeds to pay
down borrowings under the Company’s Tranche X facility. On June 30, 2008, the Company sold its 42.5% investment in ShopLocal, LLC
(“ShopLocal”) to Gannett and received net proceeds of 322 million. The Company recorded a 510 million non-operating pretax loss in the second
quarter ot`2008 to write down its investment in ShopLocal to the amount of net proceeds received. The favorable income tax adjustment of 51,859
million in the first three quarters of 2008 related to the Company’s election to be treated as a subchapter S corporation, which resulted in the elimination
of nearly all of the Company’s net deferred tax liabilities See Note 3 to the Company’s unaudited condensed consolidated financial statements in Part l,
ltem l, hereof for further information pertaining to the Company’s election to be treated as a subchapter S corporation,

The third quarter and first three quarters of 2007 included several non~operating items, summarized as follows:

 

 

 

Third gunter 2007 Flrst Three §Zuarters 2007
Pretax After-tax Pretax After-tax

(in muljon,) Gsin gLossz Gaio gl_,ossl Galn gLossz Gain §Loss}
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ofPHONBS and related divestment ` $ (85.0) $ (51.8), $ (182_.1) $ ` (l l 1.1)
Strategic transaction expenses (3.2) (3.2) g (38.6) (32.6)
dam oxich transactions ’ j ` 83 t j 5.~1v 4 , ` 8.3 _ , 5.1~
Other, net 1.9 1.2 ' 23,5 ' 143
Irmme tax adjustment , ` -_ ‘ 995 ` ' “ ` -` 90.7
Total non_opemting items $ (77.9) $ 42.0 $ (188.9) $ (33.6)

 

 

ln the third quarter of 2007, the $85 million non~cash pretax loss on change in fair values of PHONES and related investment resulted primarily from a
341 million increase in the fair value of the derivative component of the Company’s PHONES and a $43 million decrease in thc fair value of 16 million
shares of Time Wamer common stock. ln the f`ust three quarters 0f2007, the 3182 million non-cash pretax loss on change in fair values of PHONES
and related investment resulted primarily from a 5125 million increase in the fair value of the derivative component of the Company’s PHONES and a
555 million decrease in the fair value of 16 million shares of Time Wamer common stock. Strategic transaction expenses in the third quarter and first
three quarters of 2007 related to the Company’s strategic review and the Leveraged ESOP Transactions 'lhese expenses for the first three quarters of
2007 included a 313,5 million pretax loss from refinancing certain credit agreements The gain on TMCT transactions in the third quarter of 2007
included an $8 million gain related to the redemption of the Company’s remaining interests in TMCT, LLC and TMCT ll, LLC. Other, net in the first
three quarters of 2007 included an 518 million pretax gain from the settlement of the Company’s Hurricane Katrina insurance claim. The third quarter of
2007 included a favorable $91 million income tax expense adjustment as a result of the settlement of the Company’s appeal of the United States Tax
Court decision that disallowed the tax-free reorganizations of Matthew Bender and Mosby, former subsidiaries of The Times Mirror Company (see Note
3 to the Company’s unaudited condensed consolidated financial statements in Fart l, ltem l).

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RESULTS OF OPERATIONS

The Company’s results of operations, when examined on a quarterly basis, reflect the seasonality of the Company’s revenues. Second and fourth quarter
advertising revenues are typically higher than first and third quarter revenues. Results for the second quarter reflect spring advertising, while the fourth
quarter includes advertising related to the holiday season. Results for the 2008 and 2007 third quarters reflect these seasonal patterns. The Company’s
first three quarters of 2008 operating results included non-cash pretax impairment charges totaling $3,843 million recorded in the second quarter of 2008
to write down the Company’s newspaper reporting unit goodwill by 33,007 million and four newspaper masthead intangible assets by $836 million,

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Unless otherwise stated. the Company’s discussion of its results of operations relates to continuing operations, and therefore excludes NMG, lloy, New
York, SCNl and Recycler. See the discussion below in the “Discontinued Operations" section of this ltem 2 for further information on the results from

discontinued operations

CONSOLIDATED

The Company’s consolidated operating results for the third quarters and first three quarters of 2008 and 2007 are shown in the table below:

Tl_ii_r§ Quarter

 

First Three Quarters

 

 

(in millions) 2008 2007 Change 2008 2007 Change
Operating revenues $______._l__’__(£?__ §_.___1.21_52 - 10% §____3.:£§. s 3,423 8%
Operating profit (loss)( l):
Before write-downs ot` intangible assets $ 37 $ 217 s 83% $ 350 $ 559 37%
Write-downs of intangible assets(Z) _ - - (3,343) -~ *
After write-downs of` intangible assets 5 37 $ 217 - 83% $ (3,493) $ 559 *
Net income (loss):
lncome (loss) from continuing operations(3) 3 (124) $ 84 * $ (2,1 17) $ 124 *
lncome (loss) from discontinued operations,
net oftax 3 69 < 96% (715) 41 *
Net income (loss) 3 §122) 3 \53 * 3 (2,832) $ 166 *

(l) Operating profit (loss) excludes interest and dividend income, interest expense, equity income and losses, non-operating items and income taxes.

(2) Write~downs of intangible assets included a $3.007 million non~cash write~down of the Company’s newspaper reporting unit goodwill and an

$836 million non-cash write-down of newspaper masthead intangible assets recorded in the second quarter of 2008.

(3) Due to the Company’s election to be treated as a subchapter S corporation beginning in 2008, nearly all of its net deferred tax liabilities have

been eliminated as of Dec. 31, 2007. This resulted in a $1,859 million reduction in income tax expense in the first quarter of 2008.

* Not meaningful

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Operating Revenues and Profit (Loss)--Consolidated operating revenues and o

first three quarters of 2008 and 2007 were as follows:

Tl_\_lr_d Quarter

 

First Three Ouarters

perating profit (loss) by business segment for the third quarters and

(ln mllllous) 2008 2007 Change 2008 2007 Chaoge
Operating revenues
Publishing 3 654 $ 753 - 13% $ 2,068 $ 2,341 12%
Broadcasting and entertainment 383 406 - 6% 1»034 1.032 _
Total operating revenues $ 1,037 $ f,159 _ 10% $ 3,153 $ 3,423 8%
Operating profit (loss)(l)
Publishing:
Before Write-dOWns Of intangible assets S (26) $ l 10 * $ 87 $ 317 73%
Write-downs of intangible assets(Z) _ _ _ (3,343) _ *
After Write-downs Of intangible assets (26) l 10 * (3,756) 317 °
Broadcasting and entertainment 74 l 18 - 37% 313 287 9%
Corporate expenses (l 1) (l l) + 3% (50) (45) l 1%
Total operating profit (loss) §__37 §_l - 83% §_£M) 5 559 *

(l) Operating profit (loss) for each segment excludes interest and dividend income, interest expense, equity income and losses, non»operating

items and income taxes.

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(2) Write-downs of intangible assets included a $3,007 million non-cash write-down of the Company’s newspaper reporting unit goodwill and an
$836 million non-cash write~down of newspaper masthead intangible assets recorded in the second quarter of 2008.

* Not meaningful

Consolidated operating revenues for the 2008 third quarter fell 10% to $l.04 billion from $l . 16 billion in 2007, and for the first three quarters of`2008
decreased 8% to 53. 15 billion from $3.42 billion. These declines were due to decreases in publishing and broadcasting and entertainment revenues in
the third quarter of 2008 and a decline in publishing revenues for the first three quarters of 2008. Broadcasting and entertainment revenues in the third
quarter of 2007 included an additional 518 million of cable copyright royalties

Consolidated operating profit decreased 83%. or 3180 million, in the 2008 third quarter and consolidated operating profit before write~downs of
intangible assets decreased 3 %. or $209 million, in the first three quarters of2008. Publishing incurred an operating loss of$26 million in the third
quarter of 2008 compared to operating profit of$l 10 million in the third quarter of 2007, The Publishing operating loss in the third quarter of 2008
reflected severance and related charges of$l3 million, special termination benefits of$28 million, a charge of $25 million for the write-off ofcertain
capitalized software application costs, and stock-based compensation of $l million related to the Company`s new management equity incentive plan. ln
the first three quarters of 2008, Publishing operating profit before write-downs of intangible assets decreased 73%, or $230 million, and included
severance and related charges of $34 million, special termination benefits of $52 million, the $25 million capitalized software application costs write-of`f,
and stock-based compensation of $8 million related to the Company’s new management equity incentive p|an, which were offset in part by a $23 million
gain on the sale of the SCNl real estate in Stamford and Greenwich, Connecticut Publishing operating profit in the third quarter of 2007 included
severance and related charges of 54 million and stock~based compensation of $4 million. Publishing operating profit in the first three quarters of 2007
included severance and related charges of 329 million, a charge of $24 million for the write-off of Los Ange!es Times plant equipment related to the
previously closed San Femando Valley facility and stock-based compensation of $ 16 million. Broadcasting and entertainment operating profit was
down 37%, or $43 million, in the 2008 third quarter and included severance and related charges of $4 million and stock-based compensation related to
the Company’s new management equity incentive plan of $l million. ln the first three quarters of 2008, Broadcasting and entertainment operating profit
increased 9%, or $26 million, and included a gain of`$82 million from the sale of the Company’s studio production lot located in Hollywood, California.
partially offset

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by severance and related charges of $ l3 million. Broadcasting and entertainment operating profit in the 2007 third quarter and in the first three quarters
of 2007 included stock-based compensation of $2 million and $6 million, respectively.

Operatlng Expenses-Consolidated operating expenses for the third quarters and first three quarters of 2008 and 2007 were as follows:

 

 

 

Tl_\i_rd Ouigter Flrst Tl_}_ree Oua_rterx

(in milllons) 2008 2007 Chagge_ 2008 2007 Change
Cost of sales (exclusive of items shown below) $ 594 $ 593 -~ $ 1,743 $ 1,745 --
Selling, general and administrative 353 298 + 19% 903 964 - 6%
D¢preciation and amortization 53 51 + 3% 157 154 + 2%
Total operating expenses before write-downs

of intangible assets 1,000 942 + 6% 2,802 2,863 - 2%
Write~downs of intangible assets(l) _ ~‘ -- 3,843 __ *
Total operating expenses $____l'_o_.og 3 942 t 6% §___6._6£§ $_.__.2.'8_6§_ *

 

(l) Write-downs of intangible assets included a 53,007 million non»cash write-down of the Company’s newspaper reporting unit goodwill and an
$836 million non-cash write-down of newspaper masthead intangible assets recorded in the second quarter of 2008.

* Not meaningful

Cost of sales was flat in both the third quarter and first three quarters of 2008. Compensation expense was fiat in both the third quarter and first three
quarters of 2008 as the decrease in compensation expense at publishing for these periods due to lower staffing levels was offset by increased
compensation at broadcasting and entertainment, principally at the Chicago Cubs. Newsprint and ink expense was fiat in the 2008 third quarter as a
result of an 18% drop in consumption, offset by a 25% increase in average newsprint costs. Newsprint and ink expense decreased 8%, or $22 million, in
the first three quarters of 2008 as a result of a 15% drop in consumption, offset by an 11% increase in average newsprint costs. Circulation distribution
expense increased 2%. or $2 million, in the third quarter of 2008 and 3%, or $l l million, in the first three quarters of 2008 due to the delivery of
additional third-party publications including certain Sun-Times Media Group publications in the Chicago metropolitan area.

Selling, general and administrative ("SG&A") expenses increased 19%, or $55 million, in the 2008 third quarter and decreased 6%, or $62 million, in the

first three quarters of 2008. SG&.A expenses in the third quarter and first three quarters of 2008 included severance and related charges of $ l 6 million
and $63 million, respectively, special termination benefits of $28 million and $52 million, respectively, and stock-based compensation of $3 million and

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815 million, respectively. These expenses were partially offset in both the third quarter and first three quarters of` 2008 by lower compensation expense
due to staff reductions and the Company’s efforts to reduce costs in 2008. The special termination benefits will be provided through enhanced pension
benefits payable by the Company’s pension plan. iiie severance and related charges included approximately $l l million and $51 million of costs related
to the Company’s transitional compensation plan in the 2008 third quarter and first three quarters of 2008, respectively. SG&A expenses in the 2008
third quarter and first three quarters of 2008 included a charge of $25 million for the write-off of certain capitalized software application costs. SG&A
expenses in the first three quarters of 2008 included a $23 million gain on the sale of the SCNl real estate in Stamford and Greenwich, Connecticut and a
net gain of`$82 million on the sale of the studio production lot. SG&A expenses in the third quarter and first three quarters of 2007 included severance
and related charges of$4 million and $32 million, respectively, and stock~based compensation of $7 million and $32 million, respectively. The first
three quarters of 2007 included a charge of 524 million for the write-of`f of Los Angeles Times plant equipment related to the previously closed San
Femando Va|ley facility.

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PUBL!SHING

Operating Revenues and Profit (Loss}-The following table presents publishing operating revenues, operating expenses and operating profit (loss) for
the third quarters and first three quarters of`2008 and 2007. References in this discussion to individual daily newspapers include their related businesses

 

 

 

 

 

Thlrd Quarter First Three Quarters
(in milllons) 2008 2007 Change 2008 2007 Change
Operating revenues .$...____._£ §____Z§:i ‘ 13% §_.=_._;_Z:_.g§_=g¢ $_.__.2._§£ - 12%
Operating expenses:
Before write-downs of intangible assets $ 680 $ 642 + 6% $ 1,981 $ 2,023 - 2%
Write-downs of' intangible assets(l) - ~ » 1343 - *
After write~downs of intangible assets $ 680 $ 642 + 6% $ 5,824 $ 2,023 »
Operating profit (loss):
Bef`ore write-downs of intangible assets $ (25) $ 110 " $ 87 S 317 ' 73%
Wn'te-downs ofintangib|e assets(l) - _ ~ (3,843) - *
After write~downs of intangible assets $ (26) $ 1 10 z $ (3,756) $ 317 z

 

(l) Write-downs of intangible assets included a $3,007 million non-cash write-down of the Company’s newspaper reporting unit goodwill and an $836
million non-cash write-down of newspaper mastheads recorded in the second quarter of 2008

* Not meaningful

Publishing operating revenues decreased 13%, or $99 million, in the 2008 third quarter and 12%, or $273 million, in the first three quarters of 2008
primarily due to lower advertising revenue at each of the Company’s daily newspapers. The largest declines in advertising revenue were at Los Angeles,
Chicago and South Florida.

Operating profit for the 2008 third quarter decreased $137 million primarily due to the decline in revenues and an increase in operating
expenses Operating profit before write-downs of intangible assets decreased 73%, or $230 million, in the first three quarters of 2008 primarily due to

the decline in revenues, partially offset by lower operating expenses before write~downs of intangible assets

Publishing operating revenues, by classification, for the third quarters and first three quarters of 2008 and 2007 were as follows:

 

 

 

 

Tlllrd Ogrter First Three Ouarters

(in milllons) 2008 2007 Chagg_e___ 2008 2007 Change__
Advertising

Retail $ 220 $ 243 - lO% $ 692 $ 758 - 9%

National 1 12 142 - 21% 375 435 _ 14%

Classified 135 193 _ 30% 443 618 ~ 28%
Total advertising 467 578 - 19% 1,51 1 1,81 1 - 17%
Cireulation ' 107 110 - 2% 328 337 ~ 3%
Other 79 65 + 22% 229 193 + 19%
Total revenues §____6_5_§ §______?_5_3 - 13% £___2:9§_8_ $__M_l_ - 12%

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Total advertising revenue decreased 19%, or $1 l l million. in the 2008 third quarter and 17%, or $300 million, in the first three quarters of2008 Retail

advertising revenues were down 10%, or 324 million, in the 2008 third quarter and 9%, or 366 million, in the first three quarters of 2008 primarily due to
declines in the

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fumiture/home furnishings, hardware/home improvement stores, department stores, specialty merchandise, personal services, and other retail

categories Preprint revenues, which are primarily included in retail advertising decreased 15%, or $20 million, in the 2008 third quarter and 1 l%, or
846 million, in the first three quarters of 2008 primarily due to decreases at Los Angeles, Chicago, South Florida, Baltimore and Hartford. National
advertising revenues decreased 21%. or 530 million, in the 2008 third quarter primarily due to decreases in the movies, telecorn/wireless, auto, media and
transportation categories National advertising revenues declined 14%, or $60 million. in the first three quarters of 2008 primarily due to decreases in the
telecom/wireless, movies, auto, transportation, and resorts categories, partially offset by an increase in the healthcare category. Classified advertising
revenues decreased 30%, or $58 million, in the 2008 third quarter and 28%, or $l74 million, in the first three quarters of 2008. The decline in the 2008
third quarter was primarily due to a 44% decrease in real estate, a 37% drop in help wanted, and an 1 1% reduction in auto advertising The decline in
the first three quarters of 2008 was primarily due to a 42% decrease in real estate. a 35% drop in help wanted, and a 10% reduction in auto

advertising interactive revenues, which are included in the above advertising categories, decreased 7%, or 84 million, in the 2008 third quarter and 4%,
or $7 million, in the first three quarters of 2008 due to a decline in classified advertising, partially offset by increases in retail and national advertising

Publishing advertising volume for the third quarters and first three quarters of2008 and 2007 were as follows:

 

 

 

T`hlrd Ouarter Flrst Three Ouarters

Inches (in thousands) 2008 2007 Change 2008 2007 Chan_ge__
Full run

Retail 1,086 l,l 12 ~ 2% 3,374 3,433 ~ 2%

National 579 623 ~ 7% 1,841 1,875 ~ 2%

Classified 1,390 1,814 _ 23% 4,605 5,570 - 17%
Total full run 3,055 3,549 - 14% 9,820 10,878 - 10%
Partnm 3,188 4,121 - 23% 10,187 12,817 - 21%
Total inches ____§'2_4_3_ _______Z£D ~ 19% ___B)_Qi)l _______2.3_’§?2 - 16%
Preprint pieces (in millions) __M ____2.§?_5_ ~ 14% _________7_8_52 _____8£§_5_ - 12%

 

 

Full run advertising inches decreased 14% in the 2008 third quarter and lO% in the first three quarters of 2008. Full run retail advertising inches
decreased 2% in the 2008 third quarter due to declines at Los Angeles, Newport News, and Orlando, partially offset by increases at Allentown and
Chicago. Full run retail advertising inches decreased 2% in the first three quarters of 2008 as declines at Los Angeles, Chicago, Baltimore, and Orlando
were partially offset by an increase at South Florida. F u11 run national advertising inches were down 7% in the 2008 third quarter due to declines at
Chicago, South Florida, and Orlando, partially offset by increases at Newport News and Allentown. Full run national advertising inches were down 2%
in the first three quarters of 2008, as decreases at Chicago, South Florida, Hartford, and Baltimore were partially offset by increases at Newport News
and Allentown. Full run classified advertising inches were down 23% in the 2008 third quarter and 17% in the first three quarters 01`2008, due to
decreases at all daily newspapers Part run advertising inches decreased 23% in the 2008 third quarter and 21% in the first three quarters of 2008 due to
declines at all daily newspapers except Newport News. Preprint advertising pieces decreased 14% in the 2008 third quarter and 12% in the first three
quarters of 2008 primarily due to declines across all daily newspapers

Circulation revenues were down 2%, or $2 million, in the 2008 third quarter, and 3%, or 88 million, in the first three quarters of 2008 primarily due to a
decline in total net paid circulation copies for both daily (Mon-Fri) and Sunday, partially offset by selective price increases The largest revenue
declines in the third quarter and first three quarters of 2008 were at Chicago, Los Angeles and Hartford Circulation revenues increased at South Florida
and Orlando in both periods. Total daily net paid circulation for the third quarter and first three quarters of 2008 averaged 2.2 million and 2.3 million
copies, respectively, down 7% and 6%, respectively, from the comparable prior year periods. Total Sunday net paid circulation for the third quarter and
first three

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quarters of 2008 averaged 3.3 million and 3.4 million copies, respectively, representing a decline of 5% from the comparable prior year
periods. lndividually paid simulation (home delivery plus single copy) in the third quarter and first three quarters of 2008 was down 7% and 6%,
respectively, for daily and down 6% in both periods for Sunday.

Other revenues are derived from advertising placement services; the syndication of columns, features, information and comics to newspapers;
commercial printing operations; delivery of additional third~party publications; direct mail operations; cable television news programming; distribution

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ofentertainment listings; and other publishing»related activities Other revenues increased 22%, or 314 million, in the third quarter and 19%, or 336
million, in the first three quarters of` 2008 primarily due to higher delivery revenue for third-party publications including certain Sun»Times Media

Group publications in the Chicago metropolitan area

Operating Expenses-Publishing operating expenses for the third quarters and first three quarters of 2008 and 2007 were as follows:

 

 

 

 

 

 

 

Thlrd Quarter Fi_[st Three Oualters

(ln millions) 2008 2007 Change 2008 2007 Change
Compensation $ 281 $ 259 + 8% $ 841 $ 825 + 2%
Newsprint and ink 83 83 - 252 274 ~ 8%
Circulation distribution 103 101 + 2% 318 308 + 3%
Outside services 57 63 a 9% 178 190 - 6%
Promotion 17 26 - 33% 54 68 - 21%
Depreciation and amortization 39 38 + 4% l 18 l 15 + 2%
Other 99 72 + 39% 220 244 - 1 00/,
Total operating expenses before write-downs of

intangible assets 680 642 + 6% 1,981 2,023 - 2%
Write~downs of intangible assets( l) -- -- -~ 3,843 -~ *
Total operating expenses $ __ __ 680 3 _642 + 6% 3 5»824 5 1023 *

(l) Write-downs of intangible assets included a $3,007 million non-cash write-down of the Company’s newspaper reporting unit goodwill and an
$836 million non»cash write-down of newspaper masthead intangible assets recorded in the second quarter of 2008.

* Not meaningful

Operating expenses increased 6%, or $38 million, in the 2008 third quarter. Operating expenses before write~downs of intangible assets decreased 2%,
or $42 million, in the first three quarters of 2008. Compensation expense increased 8%, or $21 million, in the 2008 third quarter primarily due to an
increase of $9 million in severance and related charges and $28 million in special termination benefits, partially offset by the impact of a 10% (1,300
full-time equivalent positions) reduction in staffing and a decrease of $3 million in stock-based compensation Compensation expense increased 2%, or
$15 million, in the first three quarters of2008 primarily due to an increase of $4 million in severance and related charges and $52 million of special
termination benefits, offset by the impact of a 7% (1,000 full-time equivalent positions) reduction in staffing and a decrease of $8 million in stock-based
compensation Newsprint and ink expense was flat in the 2008 third quarter as a result of an 18% drop in consumption, offset by a 25% increase in
average newsprint costs. Newsprint and ink expense decreased 8%, or $22 million, in the first three quarters of 2008 as a result of a 15% drop in
consumption, offset by an 1 l% increase in average newsprint costs. Circulation distribution expense increased 2%, or $2 million, in the 2008 third
quarter and 3%, or $1 l million, in the first three quarters of 2008 due to the delivery of additional third-party publications including certain Sun-Times
Media Group publications in the Chicago metropolitan area. Outside services expense was down 9%, or $6 million, in the 2008 third quarter and 6%, or
$ 12 million, in the first three quarters of2008 largely due to a decrease in outside printing Promotion expense decreased 33%, or $9 million, in the 2008
third quarter and 21%, or $ 14 million, in the first three quarters of 2008 due to the Company’s efforts to reduce costs in 2008. Other expenses in the
third quarter and first three quarters of 2008 included a charge of 525 million for the write~off

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of certain capitalized software application costs. Other expenses also included for the first three quarters of 2008 a 323 million gain on the sale of the
SCNl real estate in Stamford and Greenwich, Connecticut and for the first three quarters of 2007 a charge of 524 million for the write-off of Los Angeles
Times plant equipment related to the previously closed San Fernando Valley facility.

BROADCAST[NG AND ENTERTAINMENT

Operating Revenues and Profit_'l`he following table presents broadcasting and entertainment operating revenues, operating expenses and operating
profit for the third quarters and first three quarters of 2008 and 2007. Entertainment includes Tribune Entertainment and the Chicago Cubs.

 

 

Third Quarter First Three Ouarters
(in millions) 2008 2007 Change 2008 2007 Change
Operating revenues
Television 3 264 $ 288 ¢ 8% S 834 $ 840 - l%
Radio/entertainment l 19 l 18 + 1% 250 242 + 3%
Total operating revenues §__3_83 _$__.__=_______B - 6% _$___..__.l£§__“, M§‘_z. --

Operating expenses

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Television $ 21 l $ 201 + 5% 5 638 $ 597 + 7%

Radio/emenammem(i) 98 37 + 12% 134 199 - 33%
Total operating expenses §;____3_92 §______2_8_8_ + 7% §_____7_7_|_ 3 795 - 3%
Operating profit

Television $ 53 $ 87 ~ 39% $ 197 $ 243 - 19%

Radio/entertainment( l ) ll 3 l _ 3 l% l |6 44 *
Total operating profit 3 74 §$____H_§ - 37% $_____l§. 3 237 9%

 

 

(l) Radio/cntertainmcnt operating expenses and operating profit for the first three quarters of 2008 included the gain of 582 million on the sale of the
studio production lot.

* Not meaningful

Broadcasting and entertainment operating revenues decreased 6%. or 323 million, in the 2008 third quarter and were essentially flat in the first three
quarters of 2008. Television revenues were down 8%, or $24 million, in the 2008 third quarter, primarily due to lower cable copyright royalties and soft
advertising demand, partially offset by station revenue share gains in most markets The third quarter of 2007 included an additional 518 million of
cable copyright royalties at Chicago and WGN Cable. The additional cable copyright royalties related to WGN-TV Chicago copyrighted programming
aired in prior years on WGN America (formerly SuperStation WGN) and distributed on national cable and satellite systems. Television revenues were
down l%. or $5 million, in the first three quarters ot`2008 due to the lower cable copyright royalties, partially offset by higher advertising

revenues Radio/entertainment revenues were up l%, or $l million, in the 2008 third quarter and 3%, or $8 million, in the first three quarters of 2008 as
higher revenues for the Chicago Cubs and WGN Radio were partially offset by lower revenues at Tribune Entertainment

Operating profit for broadcasting and entertainment decreased 37%, or $43 million, in the 2008 third quarter and increased 9%, or $26 million, in the
first three quarters of 2008. Television operating profit decreased 39%, or $34 million, and l9%, or $46 million, in the 2008 third quarter and the first
three quarters of 2008, respectively, primarily due to the decrease in revenues and higher operating expenses. Television operating expenses reflected
increased severance and related charges of $4 million and 513 million in the third quarter and first three quarters of 2008, respectively.
Radio/entertainment operating profit decreased 31%, or $9 million, in the 2008 third quarter due to higher player compensation at the Chicago Cubs and
two fewer home

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games in 2008, partially offset by lower operating expenses at Tribune Entertainment Radio/entertainment operating profit increased $72 million in the
first three quarters of 2008 due to a gain of $82 million related to the sale of the Company’s Hollywood studio production lot in the first quarter of 2008,
partially offset by lower revenues at Tribune Entertainment

Operating Expenses-Broadcasting and entertainment operating expenses for the third quarters and first three quarters of 2008 and 2007 were as
follows:

Thlrd uarter First Three Quarters

 

 

 

 

(in millions) 2008 2007 Change 2008 2007 Change

Compensation $ 159 $ 135 + 18% $ 393 $ 346 + 13%
Programming 82 83 - 1% 254 247 + 3%
Depreciation and amortization 13 13 - 38 38 --
Other 55 57 - 5% 169 164 + 3%
Gain on sale of studio production lot assets _ -~ ~ (82) -» *
Total operating expenses $__ 3_09 $ _____ .28_8 + 7% 5 _ 77 l_ $___ ___. 795 ~ 3%

* Not meaningful

Broadcasting and entertairunent operating expenses increased 7%, or $21 million, in the 2008 third quarter and decreased 3%, or $24 million, in the first
three quarters of 2008. Compensation expense increased 18%, or $24 million, in the 2008 third quarter and 13%, or $46 million, in the first three
quarters of 2008 primarily due to higher player compensation at the Chicago Cubs, the expansion of news programming at television, and higher
severance charges of $4 million and $ l 3 million, respectively. Programming expense decreased l%, or $l million, in the 2008 third

quarter. Programming expense increased 3%, or $7 million, in the first three quarters of 2008 due to higher broadcast rights amortization Other cash
expenses were down 5%, or 33 million, in the 2008 third quarter primarily due to a decrease in promotion expense, partially offset by an increase in
outside services Other cash expenses increased 3%, or 55 million, in the first three quarters of 2008 primarily due to news expansions, partially offset
by a decrease in promotion expense.

CORPORATE EX PENSES

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Corporate expenses were down 3% in the 2008 third quarter. Corporate expenses were up l l%. or $5 million, in the first three quarters of2008 due to a
$ l 4 million increase in severance and related charges, offset by a decrease of $7 million in stock-based compensation expense and the impact of staff
reductions and other cost savings

EQU|TY RESULTS

Net income on equity investments decreased $3 million to $23 million in the 2008 third quarter, and declined 810 million to $58 million in the first three
quarters of2008. The decrease in the 2008 third quarter was primarily due to an additional 34 million write-down at one ofthe Company’s interactive
investments The decrease in the first three quarters of 2008 was primarily due to a 316 million write~down at one of the Company’s interactive
investments, partially offset by an improvement at TV Food Network.

lNTEREST AND DlVlDEND lNCOME, lNTEREST EXPENSE, AND INCOME TAXES

Interest and dividend income for the 2008 third quarter decreased $2 million to 33 million in the third quarter of 2008 and declined $2 million to 310
million for the first three quarters of 2008 primarily due to lower interest rates and lower average cash balances, partially offset by an increase in Time
Wamer dividend income. |nterest expense applicable to continuing operations for the 2008 third quarter increased to $232 million from $l 75 million
and f`or thc first three quarters of2008 increased to $695 million from $37[ million primarily due to higher debt levels, partially offset by lower interest
rates. Debt was $l 148 billion at the end of

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the 2008 third quarter, compared with $9.4 billion at the end ofthe third quarter of 2007, The increase in debt was primarily due to the consummation of
the Leveraged ESOP Transactions.

As discussed further in the "Discontinued Operations” section below, the Company allocated to discontinued operations corporate interest expense of
$2.5 million and $l l.S million in the third quarters of 2008 and 2007, respectively, and $22.2 million and 315.3 million in the first three quarters of 2008
and 2007, respectively.

In the third quarter and first three quarters of 2008, income taxes applicable to continuing operations amounted to a net expense of $26 million and a net
benefit of $l,837 million, respectively. The net expense in the third quarter of 2008 included a provision of $27 million related to the Company’s gain
on the sale of a 10 percent interest in CareerBuilder, LLC (see Note 7 to the Company’s unaudited condensed consolidated financial statements in Part l,
ltem l, hereof). The net benefit in the first three quarters included the favorable $l,859 million deferred income tax adjustment discussed in the
"Significant Events ~ S Corporation Election" section of this ltem 2. The $3,007 million write-down of the Company’s publishing goodwill in the
second quarter of 2008 resulted in an income tax benefit of only $l million for financial reporting purposes because almost all of the goodwill is not
deductible for income tax purposes (see Note 9 to the Company’s unaudited condensed consolidated financial statements included in Part l, ltem l,
hereof). The effective tax rate on income from continuing operations in the 2007 third quarter and first three quarters of 2007 were affected by certain
non-operating items that were not deductible for tax purposes and the Matthew Bender/Mosby income tax adjustment (see Note 7 to the Company’s
unaudited condensed consolidated financial statements included in Part l, ltem l, hereof for a summary of non»operating items). Excluding all non»
operating items, the effective tax rate on income from continuing operations in the third quarter and the first three quarters of 2007 was 43.3% and

41 . l %, respectively.

DISCONTINUED OPERATIONS

As discussed in the "Significant Events ~ Discontinued Operations" section of this ltem 2, on May l l, 2008, the Company entered into the Formation
Agreement with CSC and NMG Holdings, lnc. to form Newsday LLC. On July 29, 2008, the Company consummated the closing of the transactions
contemplated by the Formation Agreement, Under the terms of the Fonnation Agreement, the Company, through Newsday, Inc. and other subsidiaries
of the Company, contributed certain assets and related liabilities of NMG to Newsday LLC, and CSC contributed $35 million of cash and newly issued
senior notes of Cablevision with a fair market value of $650 million to the parent company of Newsday LLC. Concurrent with the closing of this
transaction, Newsday LLC and its parent company borrowed $650 million under a new secured credit facility, and the Company received a special
distribution of 5612 million from Newsday LLC in cash as well as $18 million in prepaid rent under leases for certain facilities used by NMG and
located in Melville, New York with an initial term ending in 2018. The Company retained ownership of these facilities following the

transaction Annual lease payments due under the terms of the leases total $l .5 million in each of the first five years of the lease terms and $6 million
thereafier.

As a result of these transactions CSC, through NMG Holdings, lnc,, owns approximately 97% and the Company owns approximately 3% of the equity
of the parent company of Newsday LLC. CSC retains operational control over Newsday LLC. Borrowings by Newsday LLC and its parent company
under the secured credit facility are guaranteed by CSC and NMG Holdings, Inc. and secured by a lien on the assets of Newsday LLC and the assets of
its parent company, including the senior notes of Cablevision contributed by CSC. The Company agreed to indemnify CSC and NMG Holdings, lnc.
with respect to any payments that CSC or NMG Holdings, lnc. makes under their guarantee of the $650 million of borrowings by Newsday LLC and its
parent company under the secured credit faciliry. ln the event the Company is required to perform under this indemnity, the Company will be
subrogated to and acquire all rights of CSC and NMG lloldings, Inc. against Newsday LLC and its parent company to the extent of the payments made
pursuant to the indemnity From the closing date of July 29, 2008 through the third anniversary of the closing date, the maximum amount of potential

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indemnification payments is $650 million. After the third year, the Maximum lndemnification Amount is reduced by 3120 million, and each year
thereafter by $35 million until January l, 2018, at which point the Maximum lndemnification Amount is reduced to $0. Following the transaction, the

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Company used $589 million of the net cash proceeds to pay down borrowings under the Company’s Tranche X facility. The Company accounts for its
remaining 320 million equity interest in the parent company of Newsday LLC as a cost method investment.

The fair market value ofthe contributed NMG net assets exceeded their tax basis due to the Company’s low tax basis in the contributed intangible
assets However, the transaction did not result in an immediate taxable gain because the transaction was structured to comply with the partnership
provisions of the United States lntemal Revenue Code and related regulations

During the second quarter of 2008, the Company recorded a pretax loss of $692 million ($693 million after taxes) to write down the net assets of NMG
to estimated fair value. NMG’s net assets included, before the write-down, allocated newspaper reporting unit goodwill and a newspaper masthead
intangible asset of $830 million and $380 million, respectively. ln the third quarter of 2008, the Company recorded a favorable $l million after tax
adjustment to the loss on this transaction

The Company announced an agreement to sell Hoy, New York on Feb. 12, 2007. The Company completed the sale ot`Hoy, New York on May 15, 2007
and recorded a pretax gain on the sale of $2.5 million ($.l million aher taxes) in the second quarter of 2007. ln March 2007, the Company announced its
intentions to sell SCNl. The sale ol`SCNl closed on Nov. l, 2007, and excluded the SCNl real estate in Stamford and Greenwich, Connecticut, which
was sold in a separate transaction that closed on April 22, 2008. ln the first quarter of 2007, the Company recorded a pretax loss of $l9 million ($33
million after taxes) to write down the net assets of SCNl to estimated fair value, less costs to sell. ln the third quarter of 2007, the Company recorded a
favorable $2,8 million after tax adjustment to the expected loss on sale of SCNI. ln the first quarter of 2008, the Company recorded an additional $.5
million after~ta.x loss on the sale of SCNl. During the third quarter of 2007, the Company began actively pursuing the sale of the stock of Recycler. The
sale of Recycler closed on Oct. l7, 2007. The Company recorded a pretax loss on the sale of Recycler of $l million in the third quarter of 2007. Due to
the Company`s high tax basis in the Recycler stock, the sale generated a significantly higher capital loss for income tax purposes As a result, the
Company recorded a $65 million income tax benefit in the third quarter of2007` resulting in an alter~tax gain of $64 million,

These businesses were considered components of the Company’s publishing segment as their operations and cash flows could be clearly distinguished,
operationally and for financial reporting purposes, from the rest of the Company, The operations and cash flows of these businesses have been
eliminated from the ongoing operations of the Company as a result of these transactions and the Company will not have any significant continuing
involvement in their operations Accordingly, the results of operations for each of these businesses are reported as discontinued operations in the
accompanying unaudited condensed consolidated statements of operations in Part l, ltem l, hereof

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Selected financial information related to discontinued operations is summarized as f`ollows:

 

 

 

 

 

 

Third Quarter First Tl_\_rge Quarters

(in thousands) 2008 2007 2008 2007
Operating revenues $ 32,260 $ 132,187 $ 258,362 $ 416,925
Operating profit (loss) $ 4,441 $ 12,390 $ (410) $ 46,256
Interest income _ 3 2 7
Interest expense (2,454) (11,810) (22,186) (15,264)
Non-operating loss, net( l) ~ _ _ (15,000)
Gain (loss) on dispositions of discontinued

operations 852 (3,067) (691,623) (20,025)
lncome (loss) from discontinued operations before

income taxes 2,839 (2,484) (714,217) (4,026)
Income taxes(z) (254) 71,698 (940) 45,287
lncome (loss) from discontinued operations, net

oftax $ 2,585 $ 69.214 $ (715,157) $ 41,261

 

(l) Discontinued operations for the first three quarters of 2007 included a pretax non-operating charge of 315 million for a civil forfeiture payment
related to the inquiry by the United States Attorney’s Office for the Eastern District of New York into the circulation practices of Newsday and
Hoy, New York. See Note 5 to the consolidated financial statements in the Company’s Annual Report on Form lO-K for the fiscal year ended

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lncome taxes for the first three quarters of 2008 included tax expense of31 million related to the 3691 million pretax loss on the NMG
transaction NMG's net assets includcd, before the write~down of these assets to fair value in connection with the transaction, allocated
newspaper reporting unit goodwill of`3830 million and a newspaper masthead intangible asset of`3380 million, most of which are not
deductible for income tax purposes The Company recorded an income tax benth of`372 million related to a pretax loss of`32 million in the
third quarter of 2007 and an income tax benefit of 345 million related to a pretax loss of34 million in the first three quarters of`2007v Due to
the Company’s high tax basis in the Recycler stock, the sale of Recycler generated a significantly higher capital loss for income tax

purposes As a result, the Company recorded a 365 million income tax benefit in the third quarter of 2007. resulting in an after-tax gain of 364
million on the sale of Recycler The pretax loss in the first three quarters of 2007 also included 348 million of allocated newspaper group
goodwill. most ofwhich is not deductible for income tax purposes.

The Company allocated corporate interest expense ot`32.5 million and 31 1.8 million in the third quarters of 2008 and 2007, respectively, and 322.2
million and 315.3 million in the first three quarters of 2008 and 2007, respectively, to discontinued operations ln accordance with Emerging lssues
Task Force lssue No. 87-24, “Allocation of |nterest to Discontinued ()perations”, the amount of corporate interest allocated to discontinued operations
was based on the amount of the net proceeds from the NMG transaction that were used to pay down the Tranche X facility (see Note 10 to the
Company’s unaudited condensed consolidated financial statements in Part 1, ltem 1, hereot) and applying the interest rate applicable to the Tranche X
facility for the periods in which borrowings under the Tranche X facility were outstanding.

LlQUlDlTY AND CAPITAL RESOURCES

Cash flow generated from operating activities is the Company’s primary source of liquidity. Net cash provided by operating activities in the first three
quarters of2008 was 385 million, down 810/o from 3452 million in 2007, primarily due to lower operating profit and higher interest expense, partially
offset by more favorable changes in working capital items.

Net cash provided by investing activities totaled 3676 million in the first three quarters of 2008. ln the first three quarters of 2008, the Company

purchased real estate from TMCT LLC for 3175 million (see discussion below). The Company’s other capital expenditures and acquisitions and
investments totaled 365 million and

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314 million, respectively, in the first three quarters of 2008. The Company received 3318 million in net proceeds from the sales of real estate and
investments in the first three quarters of2008, including 3135 million from the sale of a 10 percent interest in CareerBuilder. LLC to Gannett (see Note
7 to the Company’s unaudited condensed consolidated financial statements in Part l, ltem l, hereol), 3122 million from the sale of the studio production
lot located in Hollywood, Califomia, 329 million from the sale of the SCNl real estate in Stamford and Greenwich, Connecticut, and 322 million from
the sale of its investment in ShopLocal. The Company also received a special distribution of 3612 million in connection with the NMG transaction (see
Note 2 to the Company’s unaudited condensed consolidated financial statements in Part l, ltem l, hereof).

On Apn`l 28. 2008, the Company acquired the real estate formerly leased from TMCT, LLC for 3175 million (see Note 13 to the Company’s unaudited
condensed consolidated financial statements in Pan 1, ltem 1, hereof). The proceeds from the sales of the studio production lot and the SCNl real estate,
along with available cash, were used to fi.tnd the purchase The purchase was structured as a like~kind exchange, which allowed the Company to defer
income taxes on nearly all of the gains from these dispositions

Net cash used for financing activities was 3735 million in the first three quarters of 2008. The Company repaid an aggregate of 3888 million of the
borrowings under the Tranche X Facility, utilizing the net cash proceeds of 32 1 8 million from a trade receivables securitization facility entered into on
July 1, 2008 (see Note 10 to the Company’s unaudited condensed consolidated financial statements in Part l, ltem 1, hereof), 3589 million of the net cash
proceeds from the NMG transaction and 381 million of the net cash proceeds from the CareerBuilder transaction ln addition, the Company made 357
million of scheduled Tranche B Facility amortization payments and reduced its property financing obligation by 38 million prior to its retirement in
connection with the acquisition of the TMCT, LLC real estate described above. The Company refinanced 325 million of its medium term notes with
borrowings under its Delayed Draw Facility and borrowed 3225 million under the trade receivables securitization facility.

On Oct. 6, 2008, the Company refinanced another 3168 million of its medium-term notes with additional borrowings under the Delayed Draw Facility
and on Oct. 17, 2008, the Company sent a notice to draw 3250 million in principal amount under the Revolving Credit Facility, of which 3237 million
was funded. The shortfall of approximately 313 million is a result of the fact that Lehman Brothers Commercial Bank, which provides a commitments
in the amount of 340 million under the Company’s 3750 million Revolving Credit Facility, declined to participate in the Company`s 3250 million
funding rcquest. Lehman Brothers Commercial Bank is an atiiliate of Lehman Brothers Holdings lnc', which filed a petition under Chapter 1 1 of the
United States Bankruptcy Code with the United States Bankruptcy Court for the Southem District of New York on Sept. 15, 2008. Although Lehman
Brothers Commercial Bank is not a party to that bankruptcy proceeding, it has informed the Company that it does not intend to participate in any
funding requests under the Revolving Credit Facility. The Company can provide no assurances that it could obtain replacement loan commitments from
other banks The Company borrowed under the Revolving Credit Facility to increase its cash position to preserve its financial fiexibility in light of the
current uncertainty in the credit markets. The remaining undrawn amount available under the Revolving Credit Facility after giving effect to this

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borrowing and the 398 million of outstanding letters ofcredit is approximately $4|5 million, including the $40 million Lehman Brothers Commercial
Bank commitment.

Since the completion of the Leveraged ESOP Transactions in December 2007, the Company has implemented management changes and has undertaken
various new revenue enhancement and cost reduction initiatives designed to strengthen the Company’s market position and improve its financial
performance These initiatives will require time before the intended benefits can be realized. and given current adverse economic conditions and the
rapidly changing media landscape, it is impossible to predict what their possible financial impact ultimately will be.

The Company expects to fund capital expenditures, interest and principal payments due in the next 12 months and other operating requirements through

a combination of cash flows from operations, available borrowings under the Revolving Credit Facility, and, if necessary, disposals of assets or
operations The Company’s ability to satisfy financial covenants in its credit agreements and to make scheduled payments or prepayments

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on its debt and other financial obligations will depend on its future financial and operating performance and its ability to dispose of assets on favorable
tenns. There can be no assurances that the Company’s businesses will generate sufficient cash flows from operations or that any such asset dispositions
can be completed In addition, there can be no assurances that future borrowings under the Revolving Credit Facility will be available in an amount
sufiicient to satisfy debt maturities or to fund other liquidity needs. The Company’s financial and operating perfomiance, and the market environment
for divestiture transactions, are subject to prevailing economic and industry conditions and to financial, business and other factors, some of which are
beyond the control of the Company.

lf the Company’s cash flows and capital resources are insufficient to fund debt service obligations, the Company will likely face increased pressure to
reduce or delay capital expenditures dispose of assets or operations, further reduce the size of its workforce, seek additional capital or restructure or
refinance its indebtedness. These actions could have a material adverse effect on the Company’s business, financial condition and results of operations
ln addition, the Company cannot assure the ability to take any of these actions, that these actions would be successful and permit the Company to meet
scheduled debt service obligations or that these actions would be pennined under the terms of the Company’s existing or future debt agreements,
including the Credit Agreement and the lnterim Credit Agreement For example, the Company may need to refinance all or a portion of its indebtedness
on or before maturity, There can be no assurance that the Company will be able to refinance any of its indebtedness on commercially reasonable terms
or at all. ln the absence of improved operating results and access to capital resources, the Company could face substantial liquidity problems and might
be required to dispose of material assets or operations to meet its debt service and other obligations As described in the “Credit Agreements" section
contained in this ltem 2. the Credit Agreement and the lnterim Credit Agreement require that proceeds from the disposition ofassets be used to repay
borrowings under such agreements subject to certain exceptions The Company may not be able to consummate those dispositions or to obtain the
proceeds realized Additionally, these proceeds may not be adequate to meet the debt service obligations then due.

lf the Company cannot maintain compliance with the financial covenants in its credit agreements and Receivables Loan Agreeth or make scheduled
payments or prepayments on its debt, the Company will be in default and, as a result, among other things, the Company’s debt holders could declare all
outstanding principal and interest to be due and payable and the Company could be forced into bankruptcy or liquidation or be required to substantially
restructure or alter business operations or debt obligations See Part l, ltem lA, “Risk Factors" in the Company’s Annual Report on Form l&K for the
fiscal year ended Dec. 30, 2007 and Part ll, ltem lA, “Risk Factors" in this Form lO~Q, for further discussion of the risks associated with the
Company’s ability to service all of its existing indebtedness and ability to maintain compliance with financial covenants in its credit facilities In
addition, see the "Significant Events" section of this ltem 2 for additional information regarding the Leveraged ESOP Transactions and a summary of the
Company’s obligations under the Credit Agreement and for definitions of capitalized terms used in this discussion.

As of Nov. 7, 2008, the Company’s corporate credit ratings were as follows: “B-” with negative outlook by Standard & Poor’s Rating Services, “CaaZ”
with negative outlook by Moody's Investor Service and “CCC" with negative outlook by Fitch Ratings.

Although management believes its estimates and judgments are reasonable, the resolutions of the Company’s tax issues are unpredictable and could
result in tax liabilities that are significantly higher or lower than that which has been provided by the Company,

Off-Balance Sheet Arrangementx-Off-balance sheet arrangements, as defined by the Securities and Exchange Commission, include the following
four categories: obligations under certain guarantees or contracts; retained or contingent interests in assets transferred to an unconsolidated entity or
similar arrangements; obligations under certain derivative arrangements; and obligations under material variable interests The Company has not entered
into any material arrangements that would fall under any of these four categories, which would be reasonably likely to have a current or future material
effect on the Company`s financial condition, revenues or expenses, results of operations, liquidity or capital expenditures

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lTEM 3. QUANTITATIVE AND QUALlTATlVE DISCLOSURES ABOUT MARKET RISK.

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The following represents an update of the Company’s market»sensitive financial information This information contains forward-looking statements and
should be read in conjunction with the Company’s Axmual Report on Form lO-K for the fiscal year ended Dec. 30, 2007,

INTEREST RATE RISK
A11 ofthe Company’s borrowings are denominated in U,S. dollars. The Company manages interest rate risk by issuing a combination of`both fixed and
variable rate debt. ln addition, the Company enters into hedge arrangements as required under the terms of the Credit Agreement as defined and

described in the "Significant Events" section contained in Part l. ltem 2, hereof

lnforrnation pertaining to the Company’s debt at Sept. 28, 2008 is shown in the table below (in thousands):

 

Fixed Rate Weighted Avg Variable Rate Weighted Avg Total
m Debt interest Rate Debt |nterest Rate Debt
2008(1) S 216,467 2.0% $ 24,242 5.8% $ 240,709
2009(2) 3,939 6.0% 613,653 5.6% 617,592
2010(3) 451,825 4.9% 353,402 5.2% 805,227
201 l 2,284 8.4% 86,499 5.8% 88,783
2012 2,479 8.5% 123,449 5.8% 125,928
Thereatier(4) 1,123,976 4_1% 8,819,798 6.3% 9,943,774
Total at Sept. 28, 2008 5 1,800,970 $ 10,021,043 $ 11,822,013
Fair value at Sept. 23, 2008(6) m m §=F/W

 

(l)Fixed rate debt includes $216 million of the Company’s 2% PHONES which represents the cash exchange value of the PHONES at Sept 28,
2008. Variable rate debt includes 520 million related to the Tranche B facility, which is payable in quarterly increments of approximately $20
million until maturity in 2014 when the remaining principal balance is due in full (see Note 10 to the Company’s unaudited condensed
consolidated financial statements in Part 1, ltem 1, hereof`).

(2) Variable rate debt includes a $512 million principal payment due under the Tranche X facility on June 4, 2009 and $16 million related to an
interest rate swap agreement through 2009 on $750 million of the variable rate borrowings under the Tranche B facility effectively convening
the variable rate to a fixed rate of 5.25% plus a margin of 300 basis points.

(3) Variable rate debt includes $40 million related to an interest rate swap agreement through 2010 on $1 billion of the variable rate borrowings
under the Tranche B facility effectively converting the variable rate to a fixed rate of 5.29% plus a margin of 300 basis points.

(4) Fixed rate debt includes the remaining $64 million of book value related to the Company’s 2% PHONES, due 2029. The Company may
redeem the PHONES at any time for the greater of the principal value of the PHONES (3155,64 per PHONES at Sept. 28, 2008) or the then
market value of two shares of Time Wamer common stock, subject to certain adjustments Quarterly interest payments are made to the
PHONES holders at an annual rate of 2% of the initial principal Fixed rate debt also includes $31 million related to the interest rate swap
agreement on the $ 100 million 7.5% debentures due in 2023 effectively convening the fixed 7.5% rate to a variable rate based on
LlBOR. Fixed rate debt also includes $238 million related to the Company’s medium-term notes. On Oct. 6, 2008, the Company refinanced
3168 million of the remaining medium~term notes with additional borrowings under the Delayed Draw Facility. The Company intends to use
the Delayed Draw Facility to refinance the remaining $70 million of its medium-term notes as they mature during 2008. Accordingly, the
Company has classified its medium~term notes as long-term at Sept4 28, 2008. Variable rate debt includes $45 million related to an interest
rate swap agreement through 2012 on $750 million of the variable rate borrowings under the Tranche B facility effectively converting the
variable rate to a fixed rate of 5.39% plus a margin of 300 basis points. Variable rate debt also includes the $1,6 billion Bridge Facility, which
has been classified as long-tenn because the borrowings under the Bridge Facility will be exchanged for long-term senior exchange notes or
similar instruments prior to the Bridge Facility’s initial maturity date of Dec. 20, 2008 (see Note 10 to the Company’s unaudited consolidated
financial statements in Part l, ltem l, hercof'). Variable rate debt also includes $7.2 billion related to the amount due in 2014

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on the Tranche 13 facility after all quarterly payments have been made (see Note 10 to the Company’s unaudited condensed consolidated
financial statements in Part 1, ltem l, hereof).

(5) Fair value of the Company’s variable rate borrowings, senior notes and debentures was estimated based on quoted market prices for similar
issues or on current rates available to the Company for debt of the same remaining maturities and similar terms. The carrying value of all other
components of the Company’s debt approximates fair val ue.

Variable interest Rate Debt-As described in the “Significant Events” section contained in Part lt ltem 2. hereof, on June 4, 2007 and Dec. 20. 2007,
the Company entered into borrowings under the Credit Agreement and the lnterim Credit Agreement ln general, borrowings under the Credit

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Agreement bear interest at a variable rate based on LlBOR plus a spread ranging from 275 basis points to 300 basis points. Upon execution of the
lnterim Credit Agreement, loans under the Bridge Facility bore interest based on LlBOR plus 450 basis points. Pursuant to the terms ofthe lnterim
Credit Agreement. such margins increased by 50 basis points per annum on March 20, 2008, June 20, 2008 and Sept, 20, 2008 and will continue to
increase by this amount each subsequent quarter, subject to specified caps. As of Sept. 28, 2008, the Company had $9.667 billion of variable rate
borrowings outstanding under these credit facilities At this borrowing lcvel. and before consideration of the Company’s existing interest rate swap
agreements and interest rate cap, a hypothetical one percent increase in the underlying interest rates for the Company’s variable rate borrowings under
these agreements would result in an additional $97 million of annual pretax interest expense. Effcctive ()cL 21, 2008, the Company made an election
under its Credit Agreement to convert the variable interest rate applicable to its borrowings under the Tranche 13 Facility from LlBOR plus a margin of
300 basis points to an applicable base rate plus 200 basis points. The Company also made an election under its lnterim Credit Agreement to convert the
variable interest rate applicable to its borrowings under the Bridge Facility from LlBOR plus a margin of 600 basis points to an applicable base rate plus
500 basis points. The Company is currently a party to four interest rate swap agreements and an interest rate cap. One of the swap agreements relates to
the 5100 million fixed 7.5% rate debentures due in 2023 and effectively converts the fixed 7.5% rate to a variable rate based on LlBOR. The other three
swap agreements were initiated on July 3, 2007, and effectively converted $2.5 billion of the variable rate borrowings to a weighted~average fixed rate of
5.31% plus a margin of 300 basis points. On Aug. 14, 2008, the Company entered into an interest rate cap confirmation that effectively caps LlBOR at
4.25% with respect to $2.5 billion in variable rate borrowings for a three-year period expiring July 21, 201 l, As a result ofthe election made by the
Company on Oct. 21, 2008, the Company will no longer account for the three interest rate swaps initiated on July 3, 2007 and the interest rate cap as
cash flow hedges in accordance with FAS No. 133 and instead will recognize currently in its statement of operations the changes in fair values of these
instruments beginning in the fourth quarter of 2008.

On July l, 2008, the Company and Receivables Subsidiary, entered into a $300 million trade receivables securitization facility. The Receivables
Subsidiary borrowed $225 million under this facility and incurred transaction costs totaling $7 million, The net proceeds of $218 million were utilized to
pay down the borrowings under the Tranche X Facility, Advanccs under the Receivables Loan Agreement that are funded through commercial paper
issued by the Lenders (Receivables Loan Agreement and Lenders each as defined in the “Significant Events - Trade Receivables Securitization Facility"
section included in Part l, ltem 2, hereot) will accrue interest based on the applicable commercial paper interest rate or discount rate, plus a margin. All
other advances will accrue interest at (i) LlBOR, (ii) the prime rate or (iii) the federal funds rate, in each case plus an applicable margin. At Sept. 28,
2008, the applicable interest rate for this facility was 4.9%. See Note 10 to the Company’s unaudited condensed consolidated financial statements in
Part 1, ltem l, hereof, for a further description ofthe terms ofthis facility.

EQUITY PRICE RISK

Available- For-Sale Securities-The Company has common stock investments in publicly traded companies that are subject to market price

volatility. Except for 16 million shares of Time Wamer common stock (see discussion below). these investments are classified as available~for-sale
securities and are recorded on the balance sheet at fair value with unrealized gains or losses, net of related tax effects, reported in the accumulated other
comprehensive income (loss) component of shareholders’ equity (deficit).

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The following analysis presents the hypothetical change at Sept. 28, 2008 in the fair value of the Company’s common stock investments in publicly
traded companies that are classified as available-for~sale, assuming hypothetical stock price fluctuations of plus or minus 10%, 20% and 30% in each
stock’s price. As of Sept 28, 2008, these investments consisted primarily of 203,790 shares ofTime Wamer common stock unrelated to the PHONES
(see discussion below in “Derivatives and Related Trading Securities”) and 3.4 million shares of AdStar, lnc.

 

 

Valuation of investments Valuation of investments
Assuming ludicated Decrease Assuming lndicated lncrease
in Stock’s Price i_g Stock’s Price
Sept. 28, 2008
(in mountain -30°/. -20% -ro'/. Fair Value +10°/. +20°/. +30%
Common stock investments in
public companies $2,151 $2,458 $2,765 $3,073 (l) $3,380 $3,687 $3,995

(l) Excludes 16 million shares of Time Wamer common stock. See discussion below in “Derivatives and Related Trading Securities."

During the last 12 quarters preceding Sept. 28, 2008, market price movements have caused the fair value of the Company’s common stock investments
in publicly traded companies that are classified as available~ for-sale to change by 10% or more in five of the quarters, by 20% or more in five of the
quarters and by 30% or more in two of the quarters

Derivatives and Related Trading Securities-The Company issued 8 million PHONES in Apn`l 1999 indexed to the value of its investment in 16
million shares of Time Wamer common stock. Since the second quarter of 1999, this investment in Time Wamer has been classified as a trading
security, and changes in its fair value, net of the changes in the fair value of the PHONES, have been recorded in the statement of operations On Sept.
26, 2008, 20 PHONES were exchanged, at the election of the holders of those PHONES, for cash based on 95% of the market value of two shares of
Time Warner common stock in accordance with the terms of the PHONES.

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At maturity. the PHONES will be redeemed at the greater ofthe then market value oftwo shares ofTime Wamer common stock or the principal value
of the PHONES ($155.64 per PHONES at Sept. 28, 2008). At Sept. 28, 2008, the PHONES carrying value was $280 million. Since the issuance of the
PHONES in April 1999, changes in the fair value ofthe PHONES have partially offset changes in the fair value ofthe related Time Wamer

shares. There have been and may continue to be periods with significant non¢cash increases or decreases to the Company’s net income pertaining to the
PHONES and the related Time Wamer shares

The following analysis presents the hypothetical change in the fair value of the Company’s 16 million shares of Time Wamer common stock related to
the PH()N ES, assuming hypothetical Stock price fluctuations of plus or minus 10%, 20% and 30% in the stock's price.

 

 

 

Valuatlon of lnvestment Valuatlon of lnvestmeot
Assuming lndicated Decrease Assuming indicated lncrease
ir_t Stoc|_t‘s Price in Stoc|_§'s Price
Sept. 28, 2008
(in inousands) -30°/. -20% -10'/. Fair Value +io‘/. +20°/. +30'/.
Time .Wamer common
stock $159,152 $181,888 $204,624 $227,360 $250,096 $272,832 5295,568

During the last 12 quarters preceding Sept. 28, 2008, market price movements have caused the fair value of the Company’s l6 million shares of Time
Wamer common stock to change by 10% or more in three of the quarters, by 20% or more in one of the quarters and by 30% or more in none of the
quarters

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ITEM 4. CONTROLS AND PROCEDURES.

Conclusion Regarding the Ef'fectiveness of Disclosure Controls and Procedures

Under the supervision and with the participation of the Company’s management, including its principal executive officer and principal financial officer,
the Company conducted an evaluation of its disclosure controls and procedures, as such term is defined in Exchange Aet Rules l3a~15(e) and 15d- l 5(e).
as of Sept. 28, 2008. Based upon that evaluation, the principal executive officer and principal financial officer have concluded that the Company’s
disclosure controls and procedures are effective

Changes in Intemal Control Over Financial Reporting

There has been no change in the Company’s internal control over financial reporting that occurred during the Company’s fiscal quarter ended Sept 28,
2008 that has materially affected, or is reasonably likely to materially affect. the Company’s internal control over financial reporting.

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PART 1[. OTHER INFORMATION
ITEM !. LEGAL PROCEEDINGS.

Tribune Company and its subsidiaries are defendants from time to time in actions for matters arising out of their business operations ln addition,
Tribune Company and its subsidiaries are involved from time to time as parties in various regulatory, environmental and other proceedings with
governmental authorities and administrative agencies.

Newsday and Hay, New York Circulation Misstatements_ln February 2004, a purported class action lawsuit was filed in New York federal court by
certain advertisers of Newsday and an afiiliate publication, Hoy, New York, alleging that they were overcharged for advertising as a result of inflated
circulation numbers at these two publications The purported class action also alleges that entities that paid a Newsday subsidiary to deliver advertising
flyers were overcharged. The Company is vigorously defending this suit, ln July 2004, another lawsuit was filed in New York federal court by certain
advertisers of Newsday alleging damages resulting from inflated Newsday circulation numbers as well as federal and state antitrust violations. On Feb.

1 l, 2008, this suit was settled with all remaining plaintiffs

In addition to the advertiser lawsuits, several class action and shareholder derivative suits were filed against the Company and certain of its current and

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former directors and officers as a result of the circulation misstatements at Newsday and Hoy, New York. These suits alleged breaches of fiduciary
duties and other managerial and director failings under Delaware law, the federal securities laws and the Employee Retirement lncome Security Act
(“ERlSA"). The consolidated shareholder derivative suit filed in lllinois state court in Chicago was dismissed with prejudice on March lO, 2006. The
appeal ofthis dismissal to the lllinois State Court of Appeats was voluntarily dismissed by the plaintiff following the closing ot`the Company’s going
private transaction. The consolidated securities class action lawsuit and the consolidated ERlSA class action lawsuit filed in Federal District Court in
Chicago were both dismissed with prejudice on Sept. 29, 2006. The dismissals were appealed to the United States Court of Appeals for the Seventh
Circuit. On April 2, 2008. the Sevcnth Circuit issued an opinion affirming the dismissal of both the securities class action lawsuit and the ERISA class
action lawsuit Plaintiffs in the securities class action lawsuit have filed a petition for a rehearing en banc by the Seventh Circuit, which is currently
pending. The Company continues to believe these suits are without merit and will continue to vigorously defend them.

PHONES lndenture-»The Company received a letter dated April 9, 2007, (l) stating that it was written on behalf of two hedge funds purporting to
hold approximately 37% ofthe Company’s 8,000,000 PHONES Exchangeable Subordinated Debentures due 2029 (the “PHONES”), (2) purporting to
give a “noticc of default” that the Company has violated the "maintenance of properties" covenant in the indenture under which the PHONES were
issued (the "PHONES lndenture"') and (3) intbnning the Company that failure to remedy such purported violation within 60 days ofnotice will result in
an "event of default" under the PHONES lndenture (which could, if properly declared, result in an acceleration of principal and interest payable with
respect to the PHONES), On April 27, 2007, the Company received a letter from the law firm purporting to represent the two hedge funds stating that
the law firm also purported to represent a third hedge fund, which, together with the first two hedge funds, purported to hold 55% of the Company’s
PHONES and reiterating the claims set forth in the April 9, 2007 letter.

The particular covenant in question, Section 10.05 of the PHONES lndenture, requires the Company to “cause all properties used or useful in the
conduct of its business or the business of any Subsidiary to be maintained and kept in good condition, repair and working order (nomial wear and tear
excepted) and supplied with all necessary equipment... all as in the judgment of the Company may be necessary so that the business carried on in
connection therewith may be properly and advantageously conducted at all times...." Section 10.05 of the PHONES lndenture expressly provides that
the covenant does not "prevent the Company from discontinuing the operation and maintenance of any such properties, or disposing of any of them, if
such discontinuance or disposal is, in the judgment of the Company or of the Subsidiary concemed, desirable in the

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conduct of its business or the business of any Subsidiary and not disadvantageous in any material respect to the Holders fof the PHONES].” The letters
suggest that the Company’s recent sales of three television stations, announced intention to dispose of an interest in the Chicago Cubs baseball team and
recent and proposed issuances of debt and return of capital to stockholders violated or will violate this maintenance of properties covenant

On May 2, 2007, the Company sent a letter to the law finn purporting to represent the hedge funds rejecting their purported “notice of default" as
defective and invalid because the Company was not in default of Scction 10.05, the entities the law firm purported to represent were not “Holders" as
denned in the PHONES indenture, and because the law firm had provided no evidence that it was an agent duly appointed in writing as contemplated by
Section l.04 of the PHONES lndenture. The law firm sent a letter to the Company on May 8. 2007 responding to the Company’s May 2, 2007 letter,
reiterating its claim that the Company was in default of Section 1005 and stating that it had properly noticed a default pursuant to Section 5.0|(4) of the
lndenture. The Company further responded by letter dated May 18, 2007 reaffirming its rejection of the purponed “notice ofdefault” and reiterating its
position that the Company was not in default of Section 10.05 and that the entities the law firm purported to represent were not entitled to provide a
notice of default under Section 5.0 l(4) of the PHONES lndenture. `

On July 23, 2007, the Company received a letter from the law firm purporting to represent the hedge funds, purported to hold 70% of the Company’s
PHONES, stating that the Company has breached Section 10,05 of the PHONES Indenture, such breach was continuing on the date of such letter, which
was more than 60 days aRer the purported “notice of default” had been given, and that pursuant to Section 5.0|(4) of the Indenture, an “event of default"
under the PHONES lndenture had occurred and was continuing. The July 23, 2007 letter further stated that the hedge funds were declaring the
outstanding principal of $157 per share of all of the outstanding PHONES, together with all accrued but unpaid interest thereon to be due and payable
immediately, and were demanding immediate payment of all such amounts On july 27, 2007, the Company sent a letter to the trustee under the
PHONES indenture and the law firm purporting to represent the three hedge hinds rejecting the allegations made in such law firm’s July 23, 2007 letter
and reiterating the Company’s position that the Company is not in default of Section 10.05 and that such hedge funds are not entitled under the PHONES
lndenture to provide the purported notice of default

On Aug. lO, 2007, the law firm purporting to represent the three hedge fund holders sent a letter to the trustee under the PHON ES lndenture stating that
the PHONES holders intended to institute proceedings to confirm the alleged covenant default and acceleration notice. On Sept. 17, 2007, the Company
received copies of default notices from Cede & Co., the record holder of the PHONES, on behalf of the three hedge fund holders. These purported
notices of default indicate that they were issued at the request of each of the hedge funds by Cede & Co., the holder of record for the notes beneficially
owned by each of the hedge funds. The letter stated that Tribune was required to remedy the purported default within 60 days of the date of the letter
and that failure to do so would constitute an "Event of Default" under the PHONES lndenture. On Dec. 26, 2007, the Company received copies of
notices of acceleration from Cede & Co., purportedly on behalf of the three hedge fund holders. These purported notices of acceleration indicate that
they were issued at the request of each of the hedge funds by Cede & Co., the holder of record for the notes beneficially owned by each of the hedge
funds. To date, the trustee under the PHONES lndenture has not initiated any action on behalf of the PHONES holders. On Jan. 9, 2008, the Company
sent a letter to the trustee under the PHONES lndenture and the law firm purporting to represent the three hedge funds rejecting the purported notices of
acceleration for the reasons previously set forth in the Company’s July 27, 2007 letter.

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The Company continues to believe that the hedge funds' claims are without merit and that the Company remains in full compliance with Section 10.05
ofthe PHONES lndenture. The Company will enforce and defend vigorously its rights under the PHONES lndenture

Other Matters~ln September 2008, a lawsuit was filed in the United States District Court for the Central District of Califomia by one current and five

fortner employees of the Los Angeles Time.v. The lawsuit names as defendants a fortner and certain current directors of the Company, the trustee of the
Tribune Employee

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Stock Ownership Plan (the "ES()P), the Tribune Employee Benefits Committec, EGI~TRB, L.L.C., and, nominally, the ESOP. The lawsuit alleges
breaches by defendants of duties and obligations under the Employer Retirement lncome Security Act of 1974 and state law. The lawsuit seeks relief`,
including damages, for the benefit of the ESOP. The Company and other defendants believe that this lawsuit is without merit and intend to defend the
lawsuit vigorously.

In addition, the information contained in Note 3 and Note 13 to the unaudited condensed consolidated financial statements in Part l, ltem l, hereof is
incorporated herein by reference

ITEM lA. RISK FACTORS.

The following risk factor should be read in conjunction with the Company’s risk factors as disclosed in Item lA, “Risk Factors", in the Company’s
Annual Report on Form lO-K for the fiscal year ended Dec. 30. 2007.

Continuing Adverse Economic, Financial and lndustry Conditions Could Affect Our Ability to Maintain Compliance With Financial Covenants
ln Our Credit Facilities or to Access the Credit Markets.

Certain financial covenants in our Credit Agreement and our receivables loan agreement entered into in connection with the trade receivables
securitization facility require us to comply, on a quarterly basis, with a maximum permitted "Total Guaranteed Leverage Ratio" and a minimum
pennined “lnterest Coverage Ratio" (each as defined in the Credit Agreement). Both of these financial covenant ratios are measured on a rolling four-
quarter basis and become more restrictive on an annual basis. For each of the four fiscal quarters of our 2008 fiscal year, the Credit Agreement
covenants require a maximum Total Guaranteed Leverage Ratio of 9.00 to l.00 and a minimum Interest Coverage Ratio of l.15 to l.OO. For each of the
four fiscal quarters of our 2009 fiscal year, the maximum Total Guaranteed Leverage Ratio required by the covenants will be reduced to 8.75 to l.00 and
the minimum |nterest Coverage Ratio will be increased to l.20 to 1.00.

For the four fiscal quarters ended Sept. 28, 2008, we were in compliance with both the Total Guaranteed Leverage Ratio and |nterest Coverage Ratio
financial covenants Our ability to maintain compliance with these financial covenants is dependent, however, on various factors, certain of which are
outside of our control. Such factors include our ability to generate sufficient revenues and earnings from our operations, our ability to achieve
reductions in our outstanding indebtedness7 changes in interest rates and the impact on our earnings, cash flow or indebtedness from sale, purchase, joint
venture or similar transactions involving our assets, investments and liabilities

Given the disruptions in the credit and financial markets in recent months, and the continuing impact of adverse economic, Hnancial and industry
conditions on the demand for advertising, uncertainty exists as to whether we will be able to generate results from operations or consummate
transactions sufficient to enable us to remain in compliance with our financial covenants for the four quarters ending Dec. 28, 2008 or subsequent
periods

The disruptions in the credit and financial markets have also limited access to capital and credit for many companies We rely on a number of
iinancial institutions and the credit and linancial markets to meet our financial commitments and short-term liquidity needs if internal funds are not
available, and to execute transactions Continuing instability or disruptions of these markets could prohibit or make it more difficult for us to
access new capital, significantly increase the cost of capital or limit our ability to refinance existing indebtedness or effect transactions

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ITEM 6. EXHlBlTS.
(a) Exhibits.

Exhibits marked with an asterisk (*) are incorporated by reference to the documents previously filed by Tribune Company with the
Securities and Exchange Commission, as indicated All other documents are filed with this Report.

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Rule 133-14 Certit‘\cation ot`Chief Executive Ot`f`lcer

Rule 13a-14 Cenif`xcation ot`ChiefFinancial ()fT`icer

Section 1350 Cenit`ication ot`Chief Executive Of`i'lcer

Section 1350 Cenit`ication quhiet" Financial Off`lcer

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SIGNATURE

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.

Date: November lO, 2008

TRIBUNE COMPANY
(Registrant)

By: /s/ Brian Litman
Bn`an Litman
Vice President and Controller
(on behalf of the registrant
and as Chief Accounting Off`lcer)

 

 

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EX-3l.l 2 exhibit3 lzell.htm FORM lO-Q CERTlFICATlON - SAMUEL ZELL
EXHlBlT 31.1

FORM l0-Q CERTlFICATION

I, Samuel Zell, certify that:

l. l have reviewed this quarterly report on Form IO~Q of Tribune Company;

2. Based on my knowledge, this quarterly report does not contain any untme statement of a material factor omit to state a material fact necessary
to make the statements made. in light of the circumstances under which such statements were made, not misleading with respect to the period
covered by this quarterly report;

3. Based on my knowledge, the financial statements, and other financial information included in this quarterly report, fairly present, in all material
respects. the financial condition, results of operations and cash flows of Tribune Company as of, and for, the periods presented in this quarterly
report;

4. Tribune Company’s other certifying officer and I are responsible for establishing and maintaining disclosure controls and procedures (as

defined in Exchange Act Rules lBa-l$(e) and l5d-l5(e)) and internal control over financial reporting (as defined in Exchange Act Rules l3a~
l5(f) and l5d-15(f)) for Tribune Company and have:

a) Designed such disclosure controls and procedures, or caused such disclosure controls and procedures to be designed under our supervision,
to ensure that material information relating to Tribune Company, including its consolidated subsidiaries, is made known to us by others
within those entities, particularly during the period in which this quarterly report is being prepared;

b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our
supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for
external purposes in accordance with generally accepted accounting principles;

c) Evaluated the effectiveness of Tribune Company’s disclosure controls and procedures and presented in this quarterly report our conclusions

about the effectiveness of the disclosure controls and procedures, as of the end of the period covered by this quarterly report based on such
evaluation; and

d) Disclosed in this quarterly report any change in Tribune Company’s internal control over financial reporting that occurred during Tribune
Company’s most recent fiscal quarter (Tribune Company’s fourth fiscal quarter in the case of an annual report) that has materially affected,
or is reasonably likely to materially affect, Tribune Company‘s internal control over financial reporting; and

5. Tribune Company’s other certifying officer and l have disclosed. based on our most recent evaluation of internal control over financial
reporting, to Tribune Company’s auditors and the audit committee of Tribune Company’s board of directors:

a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are
reasonably likely to adversely affect Tribune Company’s ability to record, process, summarize and report financial information; and

b) Any fraud, whether or not material, that involves management or other employees who have a significant role in Tribune Company’s internal
control over financial reporting

Date: November l0, 2008 By: /s/ Samuel Zell

 

Samuel Zell
Chairman, President and
Chief Executive Officer

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EX-3l.2 3 exhibit3 lbigelow.htm FORM lO‘Q CERTlFICATION - CHANDLER BIGELOW
EXH|BIT 31.2
FORM lO-Q CERT|FICATION
l, Chandler Bigelow, certify that;

l. l have reviewed this quarterly report on Form lO»Q ofTribune Company;

Based on my knowledge, this quarterly report does not contain any untrue statement of a material factor omit to state a material fact necessary

to make the statements made, in light of the circumstances under which such statements were made, not misleading with respect to the period
covered by this quarterly report;

Based on my knowledge, the financial statements, and other financial information included in this quarterly report, fairly present, in all material

rcspects, the financial condition, results of operations and cash fiows of Tribune Company as of, and for, the periods presented in this quarterly
report;

Tribune Company’s other certifying officer and l are responsible for establishing and maintaining disclosure controls and procedures (as defined

in Exchange Act Rules 13a-15(e) and lSd-l5(e)) and internal control over financial reporting (as defined in Exchange Act Rules 13a-15(f) and
15d< l$(f`)) for Tribune Company and have:

a) Designed such disclosure controls and procedures. or caused such disclosure controls and procedures to be designed under our supervision,
to ensure that material information relating to Tribune Company, including its consolidated subsidiaries, is made known to us by others
within those entities, particularly during the period in which this quarterly report is being prepared;

b) Designed such internal control over financial reporting, or caused such internal control over financial reporting to be designed under our
supervision, to provide reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements for
external purposes in accordance with generally accepted accounting principles;

c) Evaluated the effectiveness of Tribune Company’s disclosure controls and procedures and presented in this quarterly report our conclusions

about the effectiveness of the disclosure controls and procedures, as of the end of the period covered by this quarterly report based on such
evaluation; and

d) Disclosed in this quarterly report any change in Tribune Company’s internal control over financial reporting that occurred during Tribune
Company’s most recent fiscal quarter (Tribune Company’s fourth fiscal quarter in the case of an annual report) that has materially affected,
or is reasonably likely to materially affect, Tribune Company’s internal control over financial reporting; and

5. Tribune Company’s other certifying officer and l have disclosed, based on our most recent evaluation of internal control over financial reporting,

to Tribune Company’s auditors and the audit committee of Tribune Company’s board of directors:

a) All significant deficiencies and material weaknesses in the design or operation of internal control over financial reporting which are
reasonably likely to adversely affect Tribune Company’s ability to record, process, summarize and report financial information; and

b) Any fraud, whether or not material, that involves management or other employees who have a significant role in Tribune Company’s
internal control over financial reporting,

Date: November lO, 2008 By: /s/ Chandler Bigelow

Chandler Bigelow
Senior Vice President and
Chief Financial Officer

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EX~}Z.I 4 exhibit32zell.htm FORM lO-Q SARBANES-OXLEY - SAMUEL ZELL
EXHIBIT 32.1

CERT|FICAT[ON PURSUANT TO
18 UNITED STATES CODE SECTION 1350.,
AS AD()PTED PURSUANT T()
SECTION 906 OF THE SARBANES~OXLEY ACT OF 2002

l, Samuel Zell, the Chairman, President and Chief Executive Officer of Tribune Company, certify that (i) Tribune Company’s Form lO-Q for the
quarter ended Sept. 28, 2008 fully complies with the requirements of Section l3(a) or l5(d) of the Securities Exchange Act of 1934 and (ii) the
information contained in the Form lO-Q for the quarter ended Sept. 28, 2008 fairly presents, in all material respects, the financial condition and the
results of operations of Tribune Company.

By: /s/ Samuel Zell
Samuel Zell

Chairman, President and
Chief Executive Officer

November lO, 2008

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EX-32.2 5 exhibit32bigel0w.htm FORM lO-Q SARBANES-OXLEY ~ CHANDLER BlGELOW
EXHIBIT 32.2

CERT|F|CATION PURSUANT TO
l8 UNITED STATES CODE SECTION 1350,
AS ADOPTED PURSUANT TO
SECTlON 906 OF THE SARBANES-()XLEY ACT OF 2002

l, Chandler Bigelow, the Senior Vice President and ChiefFinancial Officer ofTribune Company, certify that (i) Tribune Company’s Form lO-Q for
the quarter ended Septt 28, 2008 fully complies with the requirements of Section l3(a) or l5(d) of the Securities Exchange Act of l934 and (ii) the

information contained in the Form lO-Q for the quarter ended Sept. 28, 2008 fairly presents, in all material respects, the financial condition and the
results of operations of Tribune Company.

By: /s/ Chandler Bigelow
Chandler Bigelow
Senior Vice President and
Chief Financial Of`ficer

November lO, 2008

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